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                          EXHIBIT E
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       Community Planning & Permitting
       Courthouse Annex • 2045 13th Street • Boulder, Colorado 80302 • Tel: 303.441.3930
       Mailing Address: P.O. Box 471 • Boulder, Colorado 80306 • www.bouldercounty.org


       December 17, 2020

       To:   Denver Water
       From: Summer Frederick, AICP – Planning Division Manager
       Re:   Docket SI-20-0003: Gross Reservoir & Dam Expansion

       Per Article 8-508.C.12 of the Boulder County Land Use Code, the Community Planning &
       Permitting (formerly Land Use) staff is charged with reviewing application materials required in
       Article 8-507 for compliance with the Comprehensive Plan, SXUSRVHDQGLQWHQWRI$UWLFOHcriteria
       found in Article 8-511, sound planning, and comments from referral agencies and individuals.
       Community Planning & Permitting (CP&P) staff recognizes that the originally submitted materials
       generally address the application requirements of Article 8-507, however, staff finds that additional
       information is needed to understand the proposed project’s specifics and to perform a thorough and
       complete review and analysis of the proposed project’s land use impacts.

       Staff recognizes that the nature and extent of the proposed project involves the potential for
       significant potential for environmental damage (i.e., loss of natural resources, DOWHUDWLRQRIwildlife
       habitat, changes to groundwater, increased disturbance along roadways, etc.) and so requires
       Denver Water provide specifics related to less environmentally damaging alternatives. Such
       alternative might include information related to significantly increased conservation measures to be
       implemented by Denver Water, smaller infrastructure improvements at a number of locations
       throughout Denver Water’s supply network, various fee structures to incentivize conservation or
       fine for overuse.

       The inconsistent information, out-of-date data, and lack of information contained in the application
       related is insufficient for staff to conduct a comprehensive review and analysis of the code criteria.
       Staff understands Denver Water’s application materials rely heavily on materials submitted for
       federal permitting processes but points out that the Boulder County land use application and review
       process is significantly different from those federal processes. Based on reviews conducted in the
       initial referral period staff finds significant additional information is necessary before the
       application can be considered complete. As you revise the application materials you should review
       the application requirements (8-507), purpose and intent section (8-202), and the standards for
       approval (8-511) found in Article 8 of the Boulder County Land Use Code. Denver Water should
       then submit a response based on the above requirements addressing all issues raised in these referral
       comments.

       In reviewing the 16,000+ pages of application materials submitted, staff identified inconsistencies
       of information, these include but are not limited to:
            x Discrepancies in listing the number served by Denver Water – materials list number of
               people dependent on Denver Water for their water needs both as 1.5 million and 1.3 million.
            x References within plan sheets sets – within various plan sets there are sheets that are
               provided but not listed on the overall Key Map (e.g., C8.404 not shown on “Area 8
               Miramonte Multi-Use Trail Key Map Figure 26-2”, areas labeled as Staging Areas on one
               map are labeled as Stockpile Areas on a different map.
            x Overall grading calculations are listed in the FERC document as 1.6 million cubic yards
               while the Air Quality Impact Study attributes approximately 1.23 million cubic yards to the
               batch plant alone.
            x Number of trees proposed to be removed in the FEIS is 200,000 while application materials
               state 650,000 trees are to be removed.
       Deb Gardner County Commissioner      Elise Jones County Commissioner      Matt Jones County Commissioner
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       In order to ensure staff is reviewing the complete and accurate proposal, the applicant must review
       application materials thoroughly to identify inconsistent information and data throughout, edit
       materials accordingly to provide clear and precise information and data, and provide updated
       materials for review.

       Throughout the document various Plans are discussed, but specific information related to these Plans
       were not provided. In order to analyze land use impacts that might result through such Plans,
       complete drafts of Plans discussed are needed. Information included in Plans should include, but is
       not limited to the following:
           x Specifics related to routes to be used outside of the project area is crucial to analyzing on-
               going traffic impacts to state and county roads, as well as roads located in other jurisdictions,
               DQG potential traffic impacts to residents. This should include demarcation for allstaging
               and activity areas related to the project.
           x Information related to mitigation measures to address potential air pollution from activities
               such as truck traffic (fugitive dust), operation of numerous diesel engines at the proposed
               batch plantDQGTXDUU\RSHUDWLRQ.
           x Information related to mitigation measures to address potential noise pollution from
               activities such as batch plant and quarry operations, truck traffic, overall construction and
               road improvements. The Table of Contents of the provided Noise Study (Exhibit 15) lists
               “Mitigation Recommendations and Discussion” as being Section 7 of thedocument.
               However, within Section 7 of the document staff finds no discussion of specificmitigation
               measures.
           x Construction timing – application materials discuss different phases of the proposed project
               spanning the project’s projected seven-year construction timeline. Specifics such as but not
               limited to type of construction activities, anticipated hours of operation, amount of average
               daily trips, natural resource impacts (e.g., water quality, habitat removal, tree clearing, etc.)
               IRUHDFKSKDVHare needed.
           x Application materials include a single rending of the project area after proposed construction
               is complete and the reservoir is full, but additional discussion and depiction is needed of
               visual impacts related to ultimate dam height, increased water area, completed reservoir area
               at less than full capacity, quarry operation site scar, on-going staging areas, all lighting
               associated with project, construction signage, anticipated fencing.

       The out-of-date nature of the data and information used for the applicant’s analysis presented in
       application materials does not allow staff to conduct a thorough review and analysis of the proposed
       project. For example:

           x   The data used to establish the need for the proposed project in the Integrated Water Plan is
               from 2002, almost 18 years ago. While this data was examined and verified prior to review
               in 2010 - more than 10 years ago - by the U.S. Army Corps of Engineers (the Corps), the
               data remains outdated.
           x   $pplication materials indicate the Corps eliminated Denver Water’s alternatives 6 and7,
               Indirect Potable Reuse Project and Reusable Water respectively, KRZHYHUCP&P staff
               believessignificant additional information and discussion is required as part of the
               application inorder to address Article 8-202.B.10: Require that municipal and industrial
               water projectsshall emphasize the most efficient use of water, including, to the extent
               permissible underexisting law, the recycling and reuse of water.
           x   Information and data related to other aspects of the project are also significantly outdated,
               evidenced in information such as conservation measures implemented by Denver Water –
               statement that 29,000 AF/yr conservation between 1980 and 2000, wildlife populations – elk
               herd post-hunt population numbers from 2009 and mountain lion and black bear data from
               1994, and reliance on floodplain mapping that is not the most accurate available (CHAMP
               mapping provided to FEMA in 2018).
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       Application materials also lack information related to the proposed project’s potential impacts on
       climate change. Climate change is an issue identified by Boulder County elected officials as one that
       is significant. County Commissions have consistently instructed staff to review applications with an
       eye on proposed projects’ potential impact on climate change and to recommend conditions of
       approval intended to mitigate any potential negative impacts. Denver Water’s application materials
       do not address this issue in any detail, and staff requests additional, detailed information related to
       the potential impacts of the Dam and Reservoir Expansion project on climate change. For example,
       the proposed removal of 650,000 trees represents a significant loss of biomass, how is this proposed
       to be offset? The proposed preservation of the Toll Property ensures biomass located on those acres
       will not be lost but does not address the loss of the biomass located within the proposed project area.

       Community Planning & Permitting staff anticipates additional questions and discussions will result
       after the review of any revised or additional information submitted by the applicant and looks
       forward to collaborating with Denver Water during this process.
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                  Permit Unit – Traffic & Safety
                  2829 W. Howard Place
                  Denver, CO 80204

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MEMORANDUM
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CDOT Oversize-Overweight Office

      x Truck configurations. Namely weight and dimensions. - Details Needed
      x “No Hauling in City of Boulder” - that was listed under "Tree Removal Operations" only. The
         opportunity appears to still be there for other movements. Need clarity if all loads - makes
         sense not to utilize due to mileage.
      x Use of US 6 (Clear Creek Canyon) - Do not recommend due to road dynamics - traffic and
         dimensions.
      x Use of SH 119 through Black Hawk - 36 loads. (Possible timed restriction for movement)
      x Bullet items #2 & #4 are linked due to traffic concerns through the casino area (#4) and then
         through Nederland and Boulder/Boulder Canyon.

CDOT Environmental Unit

Biologist

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               Community Planning & Permitting
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       Public Works

                                                                                                                       
       November 11, 2020

                     To:         Summer Frederick, Current Planning Division

                  From:          Mike Thomas, P.E., County Engineer

               Subject:          SI-20-0003, Gross Reservoir and Dam Expansion – Comments and
                                 Requirements

       I have reviewed this docket and offer the following comments:

           1. The Application Letter, P. 2, states that the FERC 7/16/2020 order amends the
               hydropower license and requires construction of the project according to specified
               deadlines and milestones. The applicant needs to provide a concise schedule for
               review prior to approval of the 1041 Permit.
           2. As part of approval of this 1041 permit, Boulder County shall be party to any road
               maintenance, tree hauling or other road use plans and agreements with the US
               Forest Service, including route approval and maintenance methods for all county
               owned or maintained roads in the current tree hauling plan prior to implementation
               of the work under this permit. These roads include Lazy Z Road/CR 97 and Magnolia
               Road.
           3. As part of approval of this 1041 permit, and similar to the aforementioned
               maintenance agreement with the US Forest Service, the applicant will also be
               required to enter into a Road Maintenance Agreement for Gross Dam Road/CR 77S
               for the duration of the project.
           4. Boulder County must approve the tree removal plan prior to 1041 permit approval.
           5. A Traffic Impact Analysis (TIA), 60% Design Memorandum, included with the
               application materials, was reviewed by staff. The County does not recognize the “in-
               process “60%” TIA. In order for staff to evaluate traffic impacts for the proposed
               development, a Final Design Memorandum must be submitted for review and
               approval by staff prior to 1041 Permit approval.
           6. Given the recommendation in the submitted 60% DM to not improve the Magnolia
               Road / SH 119 Intersection, the applicant is required to demonstrate the ability to
               meet design standards at this intersection. This includes corner radii, approach
               grades, auxiliary lanes, and any other roadway geometry utilizing similar vehicle
               turning templates and traffic volume data as on other roads and intersections in
               this project.
           7. As part of approval of the 1041 permit, the applicant will be required to make
               improvements to Lazy Z and Magnolia as required by log hauling truck usage as
               specified in the application materials, similar to Gross Dam Road (CR 77S). All

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              curves, road widths and clearances shall be measured and documented and
              submitted to Boulder County for review prior to project use. The County will have
              14 days to review road improvement plans for all county roads submitted for
              approval prior to implementation, and no work shall commence until plans and
              specifications are approved by the county. Each timeframe for submittal for
              approval will require 14 days to review. The applicant will make all required
              improvements at their cost and within the timeframe specified by the permit, but
              no later than 30 days prior to use of the roadway by the project.
          8. The county would need to inspect and approve the improvements to Gross Dam (CR
              77S), Lazy Z, and Magnolia Roads as prescribed in the FDM, including, without
              limitation:
                  a. Gravel depth
                  b. Side slopes
                  c. Compaction
                  d. Drainage structures
                  e. Erosion control
                  f. Dust control
          9. As stated in the TIA, all signing and other Traffic Control Devices necessary for the
              project will be proposed to and approved by Boulder County prior to placement.
          10.Page 2-1 of the 60%DM indicates that truck traffic will not be expected to travel
              through the city of Boulder. However, p. 3-4 of the 60%DM states the route of truck
              traffic for tree removal is expected to travel on SH 93 in order to reach the city of
              Longmont as its final destination. As such, travel through the city of Boulder would
              be unavoidable. The applicant shall better define the truck route for travel from
              Gross Reservoir to Longmont if staying out of the city of Boulder is expected. The
              tree hauling routes would potentially be all on State Highways. The county requires
              Denver Water to be part of a discussion with the county, CDOT, Jefferson and Gilpin
              Counties, Colorado State Patrol, and any other local agency expected to be
              impacted by tree hauling operations within their jurisdictions. The routing must be
              approved by Boulder County prior to approval of the 1041 permit.
          11.The applicant will be required to obtain any and all necessary permits required by
              the appropriate roadway and highway authorities for tree haling and raw cement
              material deliveries as part of the 1041 approval.
          12.Prior to commencement of the project, signing shall be placed westbound in
              advance of and at the intersection of Gross Dam Road (CR 77S) with Crescent Park
              Drive to direct trucks to stay on CR 77S to its intersection with SH 72.
          13.As has been discussed in the past, Denver Water is required to submit an Access
              Permit application to Colorado Department of Transportation (CDOT), Region 1 for
              the proposed realignment of the SH 72 / CR 77S intersection. CDOT has stated that
              Boulder County is to be the applicant on that Permit. While Denver Water will act as
              the agent in that application, Boulder County must approve all plans, specifications,
              requirements and other documentation prior to access permit application
              submittal. Further, Boulder County will not sign the application until final 1041
              permit approval has been granted by the Boulder County Board of Commissioners.
          14.The Field Inspection Review (FIR) level design plans for the intersection of Gross
              Dam Road/CR 77S and SH 72 appear to be adequate for showing the proposed basic
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                alignment and accessibility. The alignment appears reasonable given the expected
                need of the projected turning truck traffic and construction ingress/egress at this
                location. However, given the challenging topographic constraints, Boulder County
                cannot consent to the final intersection alignment until Denver Water has
                progressed design to a point where constraints are identified, and mitigation is
                proposed and designed.
            15.The plan sets for roadway improvements along CR 77S must be completed as part
                of the 1041 approval. The current level of plan completion is not adequate.
            16.Approval of this 1041 permit application does not constitute approval of future
                permanent access points on Boulder County Roads.
            17.A Storm Water Quality Permit (SWQP) is required to be obtained from Boulder
                County, in addition to any other Stormwater Permitting required from the State of
                Colorado or any other local, state or federal agency. Since additional staffing or
                consultant services are needed by Boulder County to monitor the SWQP for this
                project, the applicant will be required to procure the services of a project overseer
                to administer, process, inspect, monitor, and closeout the SWQP activities. The
                overseer selected for this effort will be approved by Boulder County Public Works
                prior to application for the SWQP for this project. Administration, processing,
                inspection, monitoring and closeout of the SWQP is expected to be required for a
                minimum of five years. This overseer shall be both independent of the primary
                construction contractor and project engineer and have the authority to alter, direct
                and/or stop any activity that will result in adverse environmental or safety
                conditions or violates the conditions of the permit(s), county approval, or accepted
                construction standards. The project overseer/inspector shall provide reports to the
                Public Works Department on a weekly basis during construction activity. Weekly
                reports shall consist of a diary of observations throughout the construction process
                and progress. This overseer is in addition to any other overseer required for the
                project.


       Let me know if you have any questions. This concludes our comments at this time.


       C:      Amelia Willits, Boulder County Community Planning & Permitting, Engineering Review
               Jennifer Severson, Boulder County Community Planning & Permitting, Engineering Review

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                                       Building Safety & Inspection Services Team

                                                               MEMO

           TO:               Summer Frederick, AICP, Planning Division Manager
           FROM:             Michelle Huebner, Plans Examiner Supervisor
           DATE:             October 19, 2020

           RE:               Referral Response, Docket SI-20-0003: Gross Reservoir & Dam Expansion.

                             Areas and Activities of State Interest (1041) review for the expansion of
                             Gross Dam and Reservoir to store an additional 77,000 acre-feet total of
                             water, which includes increasing the dam height by approximately 131 feet,
                             the dam length by approximately 790 feet, and the spillway elevation by
                             approximately 126 feet; quarry operations to obtain aggregate required for
                             construction; construction of a temporary concrete batch/production plant
                             and an aggregate processing plant; permanent road improvements to Gross
                             Dam Road from State Highway 72 to the Gross Reservoir; temporary road
                             improvements to FS35 (Winiger Ridge Road) and FS 97 (Lazy Z Road); and
                             the relocation of the Miramounte Multi-Use Trail.

                             Location: 3817 Gross Dam Road, at parcel 157928000006, north end of
                             Gross Dam Road approximately 5 miles north of its intersection with State
                             Highway 72, in Section 28, Township 1S, Range 71W.

           Thank you for the referral. We have reviewed the proposal and have the following
           comments for the applicants:

                 1. Building Permits. Separate building permits, plan reviews and inspection approvals
                     are required for all; temporary structures, permanent structures and electrical
                     equipment that are part of this proposal. This includes but is not limited to;
                            the dam control building, the quarry operations, construction of a
                            temporary concrete batch/production plant, aggregate processing plant,
                            batch plant offices, crusher office, pump station building, relocated or
                            reconstructed maintenance building, powerhouse, testing lab building,
                            receiving office trailer, office complex trailers, staging area trailers, shop
                            trailers, storage area trailers, all recreation facilities, any retaining walls
                            greater than four feet (measured from the bottom of the footing to the top
                            of the wall), and fences greater than 6 feet tall.


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             For a complete list of when building permits are required, please refer to the
             county’s adopted 2015 editions of the International Codes and code amendments,
             which can be found via the internet under the link:

             2015 Building Code Adoption & Amendments, at the following URL:
             http://www.bouldercounty.org/dept/landuse/pages/default.aspx

             The Commercial Plan Submittal Checklist:
             http://www.bouldercounty.org/doc/landuse/b70commercialplanchecklist.pdf


          2. Grading Permits. Grading permits are required for trails and roads and any other
              grading that is in excess of 50 cubic yards. Plan review and inspection approvals are
              required for the proposed work.

             Please refer to the county’s adopted 2015 editions of the International Codes and
             code amendments, including the most applicable portion, Appendix J (grading) of
             the International Building Code (“IBC”), which can be found via the internet under
             the link:

          3. Engineering Observations. Observation reports from the design engineer or
              another qualified engineer stating that the grading work has been accomplished in
              substantial conformance with the approved grading plans will be required to be
              submitted to Building Safety & Inspection Services for review and approval prior to
              final approval of the work covered by the grading permit.

          4. Ignition-Resistant Construction and Defensible Space. Please refer to Section R327
              of the Boulder County Building Code for wildfire hazard mitigation requirements,
              including ignition-resistant construction and defensible space. A separate referral
              response will be forthcoming from one of the county’s wildfire mitigation
              specialists. Wildfire mitigation in the area surrounding all structures will be
              required.

          5. Minimum Plumbing Fixtures for the recreation facilities and permanent
              structures. The plumbing fixtures count needs to meet or exceed the requirements
              of IBC Chapter 29, including the need for accessible restrooms and fixtures.

          6. Accessibility For the recreation facilities and permanent structures where
              applicable. Chapter 11 of the IBC and referenced standard ICC A117.1-09 provide
              for accessibility for persons with disabilities. Any building permit submittals are to
              include any applicable accessibility requirements, including accessible parking,
              signage, accessible routes and accessible fixtures and features.
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          7. Design Wind and Snow Loads. The current design wind and snow loads for the
              property are approximately 170 mph (Vult) and 50 psf (ground), respectively.

          8. Plan Review. The items listed above are a general summary of some of the
              county’s building code requirements. A much more detailed plan review will be
              performed at the time of building permit(s) application, when full details are
              available for review, to assure that all applicable minimum building codes
              requirements are to be met. Building Safety forms, handouts and other
              publications can be found at:
              http://www.bouldercounty.org/property/build/pages/bldingdf.aspx

          9. Meeting. When you are ready to review construction drawings with the plan review
              team. Please contact our Plans Examiner Supervisor Michelle Huebner to make an
              appointment. mhuebner@bouldercounty.org 720-564-2616.


       If the applicants should have questions or need additional information, we’d be happy to
       work with them toward solutions that meet minimum building code requirements. We can
       be reached at (720) 564-2640 or via e-mail at building_official@bouldercounty.org.
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       PDWHULDOVDFFRUGLQJO\WRSURYLGHFOHDUDQGSUHFLVHLQIRUPDWLRQDQGGDWDDQGSURYLGHXSGDWHG
       PDWHULDOVIRUUHYLHZ

       7KURXJKRXWWKHGRFXPHQWYDULRXV3ODQVDUHGLVFXVVHGEXWVSHFLILFLQIRUPDWLRQUHODWHGWRWKHVH3ODQV
       ZHUHQRWSURYLGHG,QRUGHUWRDQDO\]HODQGXVHLPSDFWVWKDWPLJKWUHVXOWWKURXJKVXFK3ODQV
       FRPSOHWHGUDIWVRI3ODQVGLVFXVVHGDUHQHHGHG,QIRUPDWLRQLQFOXGHGLQ3ODQVVKRXOGLQFOXGHEXWLV
       QRWOLPLWHGWRWKHIROORZLQJ
           x 6SHFLILFVUHODWHGWRURXWHVWREHXVHGRXWVLGHRIWKHSURMHFWDUHDLVFUXFLDOWRDQDO\]LQJRQ
               JRLQJWUDIILFLPSDFWVWRVWDWHDQGFRXQW\URDGVDVZHOODVURDGVORFDWHGLQRWKHUMXULVGLFWLRQV
               DQGSRWHQWLDOWUDIILFLPSDFWVWRUHVLGHQWV7KLVVKRXOGLQFOXGHGHPDUFDWLRQIRUDOOVWDJLQJ
               DQGDFWLYLW\DUHDVUHODWHGWRWKHSURMHFW
           x ,QIRUPDWLRQUHODWHGWRPLWLJDWLRQPHDVXUHVWRDGGUHVVSRWHQWLDODLUSROOXWLRQIURPDFWLYLWLHV
               VXFKDVWUXFNWUDIILF IXJLWLYHGXVW RSHUDWLRQRIQXPHURXVGLHVHOHQJLQHVDWWKHSURSRVHG
               EDWFKSODQWDQGTXDUU\RSHUDWLRQ
           x ,QIRUPDWLRQUHODWHGWRPLWLJDWLRQPHDVXUHVWRDGGUHVVSRWHQWLDOQRLVHSROOXWLRQIURP
               DFWLYLWLHVVXFKDVEDWFKSODQWDQGTXDUU\RSHUDWLRQVWUXFNWUDIILFRYHUDOOFRQVWUXFWLRQDQG
               URDGLPSURYHPHQWV7KH7DEOHRI&RQWHQWVRIWKHSURYLGHG1RLVH6WXG\ ([KLELW OLVWV
               ³0LWLJDWLRQ5HFRPPHQGDWLRQVDQG'LVFXVVLRQ´DVEHLQJ6HFWLRQRIWKHGRFXPHQW
               +RZHYHUZLWKLQ6HFWLRQRIWKHGRFXPHQWVWDIIILQGVQRGLVFXVVLRQRIVSHFLILFPLWLJDWLRQ
               PHDVXUHV
           x &RQVWUXFWLRQWLPLQJ±DSSOLFDWLRQPDWHULDOVGLVFXVVGLIIHUHQWSKDVHVRIWKHSURSRVHGSURMHFW
               VSDQQLQJWKHSURMHFW¶VSURMHFWHGVHYHQ\HDUFRQVWUXFWLRQWLPHOLQH6SHFLILFVVXFKDVEXWQRW
               OLPLWHGWRW\SHRIFRQVWUXFWLRQDFWLYLWLHVDQWLFLSDWHGKRXUVRIRSHUDWLRQDPRXQWRIDYHUDJH
               GDLO\WULSVQDWXUDOUHVRXUFHLPSDFWV HJZDWHUTXDOLW\KDELWDWUHPRYDOWUHHFOHDULQJHWF 
               IRUHDFKSKDVHDUHQHHGHG
           x $SSOLFDWLRQPDWHULDOVLQFOXGHDVLQJOHUHQGLQJRIWKHSURMHFWDUHDDIWHUSURSRVHGFRQVWUXFWLRQ
               LVFRPSOHWHDQGWKHUHVHUYRLULVIXOOEXWDGGLWLRQDOGLVFXVVLRQDQGGHSLFWLRQLVQHHGHGRI
               YLVXDOLPSDFWVUHODWHGWRXOWLPDWHGDPKHLJKWLQFUHDVHGZDWHUDUHDFRPSOHWHGUHVHUYRLUDUHD
               DWOHVVWKDQIXOOFDSDFLW\TXDUU\RSHUDWLRQVLWHVFDURQJRLQJVWDJLQJDUHDVDOOOLJKWLQJ
               DVVRFLDWHGZLWKSURMHFWFRQVWUXFWLRQVLJQDJHDQWLFLSDWHGIHQFLQJ

       7KHRXWRIGDWHQDWXUHRIWKHGDWDDQGLQIRUPDWLRQXVHGIRUWKHDSSOLFDQW¶VDQDO\VLVSUHVHQWHGLQ
       DSSOLFDWLRQPDWHULDOVGRHVQRWDOORZVWDIIWRFRQGXFWDWKRURXJKUHYLHZDQGDQDO\VLVRIWKHSURSRVHG
       SURMHFW)RUH[DPSOH

           x   7KHGDWDXVHGWRHVWDEOLVKWKHQHHGIRUWKHSURSRVHGSURMHFWLQWKH,QWHJUDWHG:DWHU3ODQLV
               IURPDOPRVW\HDUVDJR:KLOHWKLVGDWDZDVH[DPLQHGDQGYHULILHGSULRUWRUHYLHZ
               LQPRUHWKDQ\HDUVDJRE\WKH86$UP\&RUSVRI(QJLQHHUV WKH&RUSV WKH
               GDWDUHPDLQVRXWGDWHG
           x   $SSOLFDWLRQPDWHULDOVLQGLFDWHWKH&RUSVHOLPLQDWHG'HQYHU:DWHU¶VDOWHUQDWLYHVDQG
               ,QGLUHFW3RWDEOH5HXVH3URMHFWDQG5HXVDEOH:DWHUUHVSHFWLYHO\KRZHYHU&3 3VWDII
               EHOLHYHVVLJQLILFDQWDGGLWLRQDOLQIRUPDWLRQDQGGLVFXVVLRQLVUHTXLUHGDVSDUWRIWKH
               DSSOLFDWLRQLQRUGHUWRDGGUHVV$UWLFOH%Require that municipal and industrial
               water projectsshall emphasize the most efficient use of water, including, to the extent
               permissible underexisting law, the recycling and reuse of water.
           x   ,QIRUPDWLRQDQGGDWDUHODWHGWRRWKHUDVSHFWVRIWKHSURMHFWDUHDOVRVLJQLILFDQWO\RXWGDWHG
               HYLGHQFHGLQLQIRUPDWLRQVXFKDVFRQVHUYDWLRQPHDVXUHVLPSOHPHQWHGE\'HQYHU:DWHU±
               VWDWHPHQWWKDW$)\UFRQVHUYDWLRQEHWZHHQDQGZLOGOLIHSRSXODWLRQV±HON
               KHUGSRVWKXQWSRSXODWLRQQXPEHUVIURPDQGPRXQWDLQOLRQDQGEODFNEHDUGDWDIURP
               DQGUHOLDQFHRQIORRGSODLQPDSSLQJWKDWLVQRWWKHPRVWDFFXUDWHDYDLODEOH &+$03
               PDSSLQJSURYLGHGWR)(0$LQ 
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       $SSOLFDWLRQPDWHULDOVDOVRODFNLQIRUPDWLRQUHODWHGWRWKHSURSRVHGSURMHFW¶VSRWHQWLDOLPSDFWVRQ
       FOLPDWHFKDQJH&OLPDWHFKDQJHLVDQLVVXHLGHQWLILHGE\%RXOGHU&RXQW\HOHFWHGRIILFLDOVDVRQHWKDW
       LVVLJQLILFDQW&RXQW\&RPPLVVLRQVKDYHFRQVLVWHQWO\LQVWUXFWHGVWDIIWRUHYLHZDSSOLFDWLRQVZLWKDQ
       H\HRQSURSRVHGSURMHFWV¶SRWHQWLDOLPSDFWRQFOLPDWHFKDQJHDQGWRUHFRPPHQGFRQGLWLRQVRI
       DSSURYDOLQWHQGHGWRPLWLJDWHDQ\SRWHQWLDOQHJDWLYHLPSDFWV'HQYHU:DWHU¶VDSSOLFDWLRQPDWHULDOV
       GRQRWDGGUHVVWKLVLVVXHLQDQ\GHWDLODQGVWDIIUHTXHVWVDGGLWLRQDOGHWDLOHGLQIRUPDWLRQUHODWHGWR
       WKHSRWHQWLDOLPSDFWVRIWKH'DPDQG5HVHUYRLU([SDQVLRQSURMHFWRQFOLPDWHFKDQJH)RUH[DPSOH
       WKHSURSRVHGUHPRYDORIWUHHVUHSUHVHQWVDVLJQLILFDQWORVVRIELRPDVVKRZLVWKLVSURSRVHG
       WREHRIIVHW"7KHSURSRVHGSUHVHUYDWLRQRIWKH7ROO3URSHUW\HQVXUHVELRPDVVORFDWHGRQWKRVHDFUHV
       ZLOOQRWEHORVWEXWGRHVQRWDGGUHVVWKHORVVRIWKHELRPDVVORFDWHGZLWKLQWKHSURSRVHGSURMHFWDUHD

       &RPPXQLW\3ODQQLQJ 3HUPLWWLQJVWDIIDQWLFLSDWHVDGGLWLRQDOTXHVWLRQVDQGGLVFXVVLRQVZLOOUHVXOW
       DIWHUWKHUHYLHZRIDQ\UHYLVHGRUDGGLWLRQDOLQIRUPDWLRQVXEPLWWHGE\WKHDSSOLFDQWDQGORRNV
       IRUZDUGWRFROODERUDWLQJZLWK'HQYHU:DWHUGXULQJWKLVSURFHVV
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               Community Planning & Permitting
               &RXUWKRXVH$QQH[WK6WUHHW%RXOGHU&RORUDGR7HO
              Mailing Address:32%R[%RXOGHU&RORUDGRwww.bouldercounty.org
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               1RYHPEHU

                   72               6XPPHU)UHGHULFN3ODQQLQJ'LYLVLRQ0DQDJHU&RPPXQLW\3ODQQLQJ 3HUPLWWLQJ
                                      'HYHORSPHQW5HYLHZ7HDP=RQLQJ       

                   )520             $PHOLD:LOOLWV(QJLQHHULQJ'HYHORSPHQW5HYLHZ3ODQQHU,,&RPPXQLW\3ODQQLQJ
                                       3HUPLWWLQJ'HYHORSPHQW5HYLHZ7HDP(QJLQHHULQJ

                   68%-(&7          'RFNHW6,*URVV5HVHUYRLU 'DP([SDQVLRQ

                                     *URVV'DP5RDGDWSDUFHOQXPEHU

               7KH'HYHORSPHQW5HYLHZ(QJLQHHULQJ7HDPKDVUHYLHZHGWKHDERYHUHIHUHQFHGGRFNHWDQGKDVWKH
               IROORZLQJFRPPHQWV3OHDVHQRWHWKHVHUHIHUUDOFRPPHQWVDUHLQDGGLWLRQWRWKRVHSURYLGHGE\0LNH
               7KRPDV3(&RXQW\(QJLQHHUXQGHUVHSDUDWHFRYHU

               /HJDO$FFHVV

                    7KHVXEMHFWSURSHUW\LVDFFHVVHGYLD*URVV'DP5RDGDJUDYHOVXUIDFHG%RXOGHU&RXQW\RZQHG
                       DQGPDLQWDLQHGULJKWRIZD\ 52: ZLWKD)XQFWLRQDO&ODVVLILFDWLRQRI&ROOHFWRUIURPWKHSRLQW
                       DWZKLFKLWGHSDUWVIURP6WDWH+LJKZD\ DOVRNQRZQDV&RDO&UHHN&DQ\RQ'ULYH D&RORUDGR
                       'HSDUWPHQWRI7UDQVSRUWDWLRQ &'27 52:WRWKH8QLRQ3DFLILF5DLOURDGWUDFNVWKLVSRUWLRQRI
                       *URVV'DP5RDGLVDOVRNQRZQDV&RXQW\5RDG6)URPWKH8QLRQ3DFLILF5DLOURDGWUDFNV
                       H[WHQGLQJWR)ODJVWDII5RDG D%RXOGHU&RXQW\RZQHGDQGPDLQWDLQHG52:ZLWKD)XQFWLRQDO
                       &ODVVLILFDWLRQRI&ROOHFWRU *URVV'DP5RDGLVRZQHGDQGPDLQWDLQHGE\'HQYHU:DWHU/HJDO
                       DFFHVVKDVEHHQGHPRQVWUDWHGYLDDGMDFHQF\WRWKHLGHQWLILHGSXEOLF52:V

                    3RUWLRQVRISULYDWHSURSHUW\H[LVWDGMDFHQWWR*URVV'DP5RDGDORQJVHFWLRQVWKDWWKHDSSOLFDQW
                       KDVLGHQWLILHGIRUURDGLPSURYHPHQWV'HQYHU:DWHUVKDOOSURYLGHGRFXPHQWDWLRQRIDOOURDGZD\
                       HDVHPHQWVDQGIHHULJKWVRIZD\SURFXUHGIRUWKHSURMHFWZKHUHUHTXLUHGE\URDGZD\
                       LPSURYHPHQWVRUUHDOLJQPHQWVDVDUHVXOWRIWKLVSURMHFW5RDGZD\,PSURYHPHQW3ODQVPXVW
                       LGHQWLI\DGMDFHQWSURSHUW\RZQHUV

               7UDIILF,PSDFWV

                    $7UDIILF,PSDFW$QDO\VLV 7,$ 'HVLJQ0HPRUDQGXPFRPSOHWHGE\6WDQWHF&RQVXOWLQJ
                       6HUYLFHV6HSWHPEHULQFOXGHGZLWKWKHDSSOLFDWLRQPDWHULDOVZDVUHYLHZHGE\VWDII7KH
                       &RXQW\GRHVQRWUHFRJQL]HWKH³LQSURFHVV³7,$,QRUGHUIRUVWDIIWRHYDOXDWHWUDIILFLPSDFWV
                       IRUWKHSURSRVHGGHYHORSPHQWD)LQDO'HVLJQ0HPRUDQGXPPXVWEHVXEPLWWHGIRUUHYLHZDQG
                       DSSURYDOE\VWDII
                       
                    :LWKWKHVXEPLVVLRQRIWKH)LQDO'HVLJQ0HPRUDQGXPDGGLWLRQDOFODULILFDWLRQRIWKHIROORZLQJ
                       FRPSRQHQWVLVUHTXLUHG
                       
                            D 7UHHUHPRYDOWUXFNHVWLPDWLRQVDUHSURYLGHGIRUDOOSKDVHVRIWKHSURMHFWLQDYHUDJHSHU
                                GD\SHUKRXU7KHDSSOLFDQWPXVWDOVRSURYLGHWKHVHQXPEHUVLQDYHUDJHGDLO\WUDIILF
                                 $'7 IROORZLQJLQGXVWU\VWDQGDUGIRUDFFXUDWHFRPSDULVRQDQGXQGHUVWDQGLQJRI
                                LPSDFWVWRWKHH[LVWLQJWUDIILFV\VWHP

               Deb Gardner&RXQW\&RPPLVVLRQHUElise Jones&RXQW\&RPPLVVLRQHUMatt Jones&RXQW\&RPPLVVLRQHU
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                   E $V\VWHPRIVKXWWOHVIRUZRUNHUVZDVEULHIO\SURSRVHGLQWKH7,$ZLWKOLPLWHG
                       GHWDLO$GHWDLOHGVKXWWOHSODQIRUZRUNHUVPXVWEHLQFOXGHGLQWKH)LQDO'HVLJQ
                       0HPRUDQGXP
                   F )RUFRQVWUXFWLRQJHQHUDWHGWUDIILFWKHUHSRUWXVHGWKHDVVXPSWLRQRISDVVHQJHUFDU
                       HTXLYDOHQF\IDFWRUIRUWUDLOHUWUXFNV6WDIIEHOLHYHVWKDWWKHPRUHDSSURSULDWHHTXLYDOHQF\
                       QXPEHULVSDVVHQJHUFDUVWRWUDLOHUWUXFNV7KHDSSOLFDQWPXVWH[SODLQWKHLU
                       DVVXPSWLRQLQWKH)LQDO'HVLJQ0HPRUDQGXP
                   G 7KHDSSOLFDQWLVUHTXLUHGWRLPSOHPHQW7UDQVSRUWDWLRQ'HPDQG0DQDJHPHQWVWUDWHJLHVWR
                       UHGXFHWKHQXPEHURIWULSVWRWKHVLWH&DUSRROLQJYDQSRROLQJRUVKXWWOHVZLWKDQRIIVLWH
                       SDUNLQJDUHDIRUZRUNHUVRQWKHSURMHFWDUHWZRSRVVLEOHVWUDWHJ\H[DPSOHV
                   H 5HFUHDWLRQDOWUDIILFHVWLPDWHVPXVWUHIOHFWDFWXDOFRQGLWLRQVPRUHVRWKDQRXWOLQHGLQWKH
                       7,$ZKLFKLQFOXGHGDWUDIILFFRXQWFRQGXFWHGLQ'HFHPEHUDQGZHUHDGMXVWHG
                       E\WULSVWRDQGWULSVIURPWKHVLWHWRDFFRXQWIRUVHDVRQDOGLIIHUHQFHV6WDIIGRHVQRW
                       IHHOWKDWWKHUHFUHDWLRQDOWUDIILFHVWLPDWHVDFFXUDWHO\UHIOHFWWKHFXUUHQWFRQGLWLRQVQRUWKH
                       SHDNUHFUHDWLRQDOWUDIILFGXULQJWKHVXPPHUPRQWKVDQGPXVWEHXSGDWHG
                       
            $GGLWLRQDOFRPPHQWVDQGUHTXLUHPHQWVIRUWUDIILFLPSDFWVDUHRXWOLQHGLQWKHUHIHUUDOUHVSRQVH
               SURYLGHGE\WKH&RXQW\(QJLQHHU

            7KHDSSOLFDQWPXVWDOVRGHYHORSD7UDQVSRUWDWLRQ0DQDJHPHQW3ODQ 703 ZKLFKPXVWDOVREH
               DSSURYHGE\WKH%RXOGHU&RXQW\3XEOLF:RUNV'HSDUWPHQWDQGWKH&RPPXQLW\3ODQQLQJ 
               3HUPLWWLQJ'HSDUWPHQWSULRUWREXLOGLQJSHUPLWRU5RDGZD\&RQVWUXFWLRQ3HUPLWLVVXDQFH
               
                    D $7UDQVSRUWDWLRQ0DQDJHPHQW3ODQ 703 LVDGRFXPHQWHGVHWRIFRRUGLQDWHG
                        WUDQVSRUWDWLRQPDQDJHPHQWVWUDWHJLHVXVHGWRPDQDJHWKHLPSDFWVRIFRQVWUXFWLRQ
                        SURMHFWV7KHSXUSRVHRID703LVWRPLQLPL]HGLVUXSWLRQVWRPRWRULVWVHPHUJHQF\
                        UHVSRQVHYHKLFOHVF\FOLVWVSHGHVWULDQVDQGFRPPXQLWLHVZLWKRXWFRPSURPLVLQJSXEOLFRU
                        ZRUNHUVDIHW\RUWKHTXDOLW\RIZRUNEHLQJSHUIRUPHG
                    E %RXOGHU&RXQW\KDVD703*XLGDQFHGRFXPHQWDQG703WHPSODWHZKLFKZLOODOORZWKH
                        DSSOLFDQWWRGHYHORSD703WKDWLVFRPSUHKHQVLYHLQQDWXUH7KHWHPSODWHLVDWWDFKHGWR
                        WKLVUHIHUUDO
       3ODQV
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            0XOWLSOHSKDVHVRIFRQVWUXFWLRQDUHSURSRVHGE\WKHDSSOLFDQW8SGDWHGSODQVPXVWEHSURYLGHGDV
               SDUWRIWKHDSSURYDORIWKLVSHUPLWZKLFKUHIOHFWVDFWLYLWLHVDVVRFLDWHGZLWKHDFKSKDVHRI
               FRQVWUXFWLRQLQFOXGLQJEXWQRWOLPLWHGWRWUDIILFLPSDFWVWUDLOFRQVWUXFWLRQFRQVWUXFWLRQVWDJLQJ
               DQGSDUNLQJVWDJLQJORFDWLRQVHURVLRQFRQWURODQGVWDELOL]DWLRQRIGLVWXUEHGHDUWKFXWDQGILOO
               ORFDWLRQVIRUHDUWKZRUNJUDGLQJDQGGUDLQDJHSODQV
               
            &XWDQGILOOORFDWLRQVPXVWEHLGHQWLILHGIRUHDFKSKDVHDQGPXVWDOVRGHPRQVWUDWHWKHSUR[LPLW\
               WRWKHUHVHUYRLUDQGWRSULYDWHSURSHUW\1HZWUDLOFRQVWUXFWLRQPXVWDOVREHUHIOHFWHGLQFXWILOO
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            ,QWHULRUKDXOURDGVPXVWEHGHVLJQHGDQGFRQVWUXFWHGWR%RXOGHU&RXQW\0XOWLPRGDO
               7UDQVSRUWDWLRQ6WDQGDUGV WKH6WDQGDUGV 8SGDWHGSODQVPXVWEHVXEPLWWHGWKDWLGHQWLI\WKH
               ORFDWLRQRIDOOKDXOURDGVWREHFRQVWUXFWHGDQGGHPRQVWUDWHFRPSOLDQFHZLWKWKH6WDQGDUGV
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            6SRLOVDUHDVDUHLQGLFDWHGRQWKHSUHOLPLQDU\SODQV8SGDWHGSODQVPXVWLQGLFDWHZKDWHURVLRQ
               FRQWUROPHWKRGVDUHSODQQHGDQGZKHUHWKRVHPHWKRGVZLOOEHLQVWDOOHG(URVLRQFRQWUROSODQV
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               PXVWDOVRLQGLFDWHKRZDQGZKHQWKHVSRLOVDUHDVZLOOEHUHYHJHWDWHGDQGUHVWRUHGXSRQ
               FRPSOHWLRQRIFRQVWUXFWLRQDFWLYLWLHV
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            $Q\VWDJLQJDUHDVQHDUWKHUHVHUYRLUZLOOUHTXLUHVORSHVWDELOLW\DQGVWRUPZDWHUFRQWUROVWRHQVXUH
               WKDWVWRUPIORZVGRQRWQHJDWLYHO\LPSDFWQHDUE\ZDWHUZD\VRUWKHUHVHUYRLU7KHVWRUPZDWHU
               FRQWUROVPXVWEHLQGLFDWHGRQXSGDWHGSODQV
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            6HYHUDOGLVFUHSDQFLHVZHUHLGHQWLILHGEHWZHHQSODQVKHHWVSURYLGHGLQWKHDSSOLFDWLRQPDWHULDOV
               VXFKDV6WDJLQJ$UHDDVLGHQWLILHGRQSDJHRI([KLELW)LJXUHVDQG'HVLJQ'UDZLQJV
               ODEHOHGDVDVWRFNSLOHDUHDRQSDJH6WDJLQJ$UHDVDUHDLGHQWLILHGRQVHYHUDO
               ILJXUHV±VWDIIZDVXQFHUWDLQLIDQ\VWDJLQJDUHDVZHUHRPLWWHGVXFKDVRUHWF8SGDWHG
               SODQVVXEPLWWHGIRUUHYLHZPXVWEHFRQVLVWHQWZLWKODEHOLQJDQGPXVWDJUHHZLWKRQHDQRWKHU
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            )LQDOJUDGHFXWVDQGILOOVVKDOOQRWEHVWHHSHUWKDQDWRVORSH*UDGHVVWHHSHUWKDQDòWR
               VORSHZLOOQHHGWREHVXSSRUWHGE\DUHWDLQLQJZDOO5HWDLQLQJZDOOVRUVHULHVRIZDOOVJUHDWHUWKDQ
               IRXUIHHWLQKHLJKWPHDVXUHGIURPWKHERWWRPRIWKHIRRWHUWRWKHWRSRIWKHZDOOUHTXLUHEXLOGLQJ
               SHUPLWVIRUFRQVWUXFWLRQ&DOFXODWLRQVVKDOOEHVXEPLWWHGIRUDOOUHWDLQLQJZDOOKHLJKWVRYHUIHHW
               LQKHLJKW

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           7KHDSSOLFDQWSURYLGHGSODQVIRULPSURYHPHQWVDORQJSRUWLRQVRI*URVV'DP8SGDWHGSODQV
              PXVWEHVXEPLWWHGDVSDUWRIWKHDSSURYDORIWKLVSHUPLWZKLFKLQFOXGH
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                  D ([LVWLQJDQGSURSRVHGURDGZLGWKVPXVWEHLQFOXGHGRQWKHSODQVIRUDOODUHDVWKDWDUH
                      SURSRVHGWREHLPSURYHG6WDIIUHTXLUHVWKLVLQIRUPDWLRQWRHQVXUHWKDWWKHLPSURYHG
                      DUHDVPHHWWKH6WDQGDUGVIRUZLGWK
                  E &XUYHUDGLLPXVWEHLQFOXGHGRQXSGDWHGSODQVWRGHPRQVWUDWHWKDWWKHLPSURYHPHQWVZLOO
                      DFFRPPRGDWHWKHDQWLFLSDWHGKHDY\WUXFNWUDIILF
                  F 6ORSHVDWDUDWLRDUHDOORZHGRQO\LQDUHDVRIFXWLQFRPSHWHQWEHGURFNILOOVORSHV
                      PD\QRWH[FHHGVORSHV$JHRWHFKQLFDOUHSRUWZLOOEHUHTXLUHGIRUDQ\VORSHVWKDW
                      H[FHHGWKRVHOLVWHGDERYH7KHJHRWHFKQLFDOUHSRUWPXVWEHVXEPLWWHGWRWKH&RPPXQLW\
                      3ODQQLQJ 3HUPLWWLQJ'HSDUWPHQWIRUUHYLHZDQGDSSURYDODORQJZLWKWKHXSGDWHGSODQV
                  G $OOURDGLPSURYHPHQWSODQVPXVWGHPRQVWUDWHSRVLWLYHGUDLQDJHHOHPHQWVWKDWPHHWWKH
                      6WDQGDUGV
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           7KHDSSOLFDQWPXVWSURYLGHGHWDLOHGSODQVIRUWKHURDGVLGHQWLILHGRQ)LJXUH*URVV5HVHUYRLU
              &RPSRQHQWVIRUUHORFDWLRQQRSODQVZHUHLQFOXGHGZLWKWKHDSSOLFDWLRQPDWHULDOV$OOQHZURDGV
              PXVWGHPRQVWUDWHWKDWWKH\PHHWWKH6WDQGDUGVIRUERWKGHVLJQDQGDSSURSULDWHGUDLQDJH
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           7KHDSSOLFDQWPXVWSURYLGHGHWDLOHGSODQVIRUWKHURDGVWKDWZLOOEHDEDQGRQHGLIWKRVHVHFWLRQV
              RIURDGZLOOUHPDLQXQLQXQGDWHGE\WKHQHZKLJKZDWHUOHYHO7KHSODQVPXVWGHPRQVWUDWHKRZ
              WKHURDGVZLOOEHUHYHJHWDWHGDQGUHVWRUHG

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               PDWHULDOLVUHTXLUHGIRUWKHFRQVWUXFWLRQRIWKHGDP/DQJXDJHLQFOXGHGLQWKH([KLELW$LU
               4XDOLW\,PSDFW6WXG\VWDWHVWKDWWRWDOTXDUU\GHVLJQSURGXFWLRQLVJLYHQDVFXELF\DUGV
               6WDIIUHTXHVWVWKDWWKHDSSOLFDQWFODULI\DQGFRPSDUHWKHVHQXPEHUVDJDLQVWWRWDOHDUWKZRUN
               FDOFXODWLRQVDQGYHULI\WKHTXDQWLW\RIPDWHULDOWKDWZLOOEHUHPRYHGIURPRQVLWHTXDUULHV
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           7KHSODQVVXEPLWWHGZLWKWKHDSSOLFDWLRQLQFOXGHGORFDWLRQVDQGTXDQWLWLHVRIUHORFDWHGSXEOLF
               SDUNLQJDUHDVEXWWKHSODQVLQFOXGHGOLWWOHGHWDLOIRUWKHLUFRQVWUXFWLRQ8SGDWHGSDUNLQJSODQV
               PXVWEHVXEPLWWHGWRVWDIIZKLFKGHPRQVWUDWHKRZWKHUHORFDWHGORWVZLOOEHGHVLJQHGWRFRPSO\
               ZLWK6HFWLRQRIWKH%RXOGHU&RXQW\0XOWLPRGDO7UDQVSRUWDWLRQ6WDQGDUGV ³0076´ IRU
               3DUNLQJ/RW'HVLJQDQGWKH%RXOGHU&RXQW\/DQG8VH&RGH /8& $UWLFOH'IRUD
               0XOWLPRGDO3DUNLQJ)DFLOLW\E\LQFOXGLQJGLPHQVLRQVIRUSDUNLQJVSDFHVDQGWKHPDQQHULQ
               ZKLFKWKHORWVZLOOEHFRQVWUXFWHGWRHQVXUHWKHILQDOQXPEHURIVSDFHVFRQVWUXFWHGPHHWWKH
               VWDQGDUGVLQFOXGLQJGLPHQVLRQVIRU$'$DFFHVVLEOHSDUNLQJVSDFHVDQGORFDWLRQDQGTXDQWLWLHVRI
               ELF\FOHSDUNLQJ
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           ,QRUGHUIRUVWDIIWRHYDOXDWHWKHLPSDFWVWRUHFUHDWLRQDODQGSXEOLFSDUNLQJWKHDSSOLFDQWPXVW
               SURYLGHLQIRUPDWLRQRQWKHQXPEHURISDUNLQJVSDFHVWKDWZLOOEHORVWGXHWRWKHH[SDQVLRQRIWKH
               UHVHUYRLU7KHDSSOLFDQWPXVWSURYLGHLQIRUPDWLRQDVWRZKHWKHUSDUNLQJZLOOEHUHSODFHGDWD
               UDWLRRULIWKHWRWDOQXPEHURIUHFUHDWLRQDODQGSXEOLFSDUNLQJVSDFHVZLOOEHGLIIHUHQWWKDQ
               H[LVWLQJTXDQWLWLHV

       &RQVWUXFWLRQ
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           $SUHFRQVWUXFWLRQPHHWLQJZLWK3XEOLF:RUNVDQG&RPPXQLW\3ODQQLQJDQG3HUPLWWLQJVWDIILV
              UHTXLUHGSULRUWRWKHFRPPHQFHPHQWRIFRQVWUXFWLRQDFWLYLWLHV$WWKLVPHHWLQJWKHKRXUVRI
              ZRUNDFFHVVSRLQWVVQRZUHPRYDOLQWKHFRQVWUXFWLRQ]RQHWUDIILFPDQDJHPHQWDQGWUDIILF
              FRQWURODQGFRQVWUXFWLRQDQGLQVSHFWLRQVFKHGXOHVZLOOEHGLVFXVVHG
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           $Q\DFFHVVEORFNDJHRUFORVXUHWRWKHSXEOLF52:RUSULYDWHGULYHZD\VPXVWEHRSHQHGE\WKH
              HQGRIWKHZRUNGD\$PLQLPXPRIKRXUV¶QRWLFHPXVWEHJLYHQWRDOOSURSHUW\RZQHUVDVZHOO
              DVWKH&RXQW\3XEOLF:RUNV7UDIILF2SHUDWLRQV(QJLQHHUSULRUWRDQ\URDGRUGULYHZD\EORFNDJH
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           7KH%RXOGHU&RXQW\3XEOLF:RUNV'HSDUWPHQWUHTXLUHVWKDWWKHDSSOLFDQWLQFOXGHLQWKHLUVFRSH
              RIZRUNDSURMHFWRYHUVHHUDSSURYHGE\WKH&RXQW\(QJLQHHUWRPRQLWRUDQGLQVSHFWWKHSURMHFW
              DQGHQVXUHFRPSOLDQFHZLWK5RDGZD\&RQVWUXFWLRQ3HUPLWFRQGLWLRQVDQGDOORWKHUFRXQW\
              UHTXLUHPHQWVVSHFLILFWRWKH3XEOLF:RUN¶V'HSDUWPHQW¶VLVVXHVDQGFRQFHUQVDVGRFXPHQWHG
              KHUHDQGLQVXEVHTXHQWUHYLHZDFWLYLWLHV7KLVRYHUVHHUVKDOOEHERWKLQGHSHQGHQWRIWKHSULPDU\
              FRQVWUXFWLRQFRQWUDFWRUDQGSURMHFWHQJLQHHUDQGKDYHWKHDXWKRULW\WRDOWHUGLUHFWDQGRUVWRSDQ\
              DFWLYLW\WKDWZLOOUHVXOWLQDGYHUVHHQYLURQPHQWDORUVDIHW\FRQGLWLRQVRUYLRODWHVWKHFRQGLWLRQVRI
              WKHSHUPLW V FRXQW\DSSURYDORUDFFHSWHGFRQVWUXFWLRQVWDQGDUGV7KHSURMHFW
              RYHUVHHULQVSHFWRUVKDOOSURYLGHUHSRUWVWRWKH3XEOLF:RUNV'HSDUWPHQWRQDZHHNO\EDVLVGXULQJ
              FRQVWUXFWLRQDFWLYLW\:HHNO\UHSRUWVVKDOOFRQVLVWRIDGLDU\RIREVHUYDWLRQVWKURXJKRXWWKH
              FRQVWUXFWLRQSURFHVVDQGSURJUHVV7KLVRYHUVHHULVLQDGGLWLRQWRDQ\RWKHURYHUVHHUUHTXLUHGIRU
              WKHSURMHFW
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           7KHDSSOLFDQWPXVWFRRUGLQDWHZLWKWKH%RXOGHU&RXQW\&RPPXQLW\3ODQQLQJ 3HUPLWWLQJ
              &RPPXQLFDWLRQV6SHFLDOLVWIRUVLJQDJHDQGSXEOLFLQIRUPDWLRQGLVVHPLQDWLRQUHODWHGWRSURMHFW
              WLPHOLQHV
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           3ULRUWRSURMHFWFRPPHQFHPHQWWKHDSSOLFDQW¶VFRQWUDFWRUPXVWSKRWRGRFXPHQWWKHFRQGLWLRQVRI
              DOOFRXQW\URDGVWREHXVHGGXULQJFRQVWUXFWLRQ$OODIIHFWHGURDGZD\VPXVWEHUHVWRUHGWRSUH
              SURMHFWFRQGLWLRQVRUEHWWHU3KRWRGRFXPHQWDWLRQVKDOOEHVXEPLWWHGSULRUWRFRQVWUXFWLRQ

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       5HTXLUHG3HUPLWV
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       3HUPLWVWKDWDUHQHFHVVDU\IRUFRQVWUXFWLRQLQFOXGHEXWDUHQRWOLPLWHGWRWKHIROORZLQJ
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               WKH%RXOGHU&RXQW\52:7KHDSSOLFDQWVKDOODELGHE\WKH6WDQGDUGVDQGFRPSO\ZLWKWKH
               FRQGLWLRQVRIWKH5RDGZD\&RQVWUXFWLRQ3HUPLW7KHDSSOLFDQWVKRXOGDOVRQRWHWKDWZKHQ
               FRQVWUXFWLRQDFWLYLW\LVSDUDOOHOWR%RXOGHU&RXQW\ULJKWVRIZD\WKHULJKWVRIZD\VKDOOQRWEH
               XWLOL]HGIRUDQ\FRQVWUXFWLRQUHODWHGDFWLYLW\LQFOXGLQJEXWQRWOLPLWHGWRVWRFNSLOLQJRIPDWHULDO
               VWDJLQJFRQVWUXFWLRQPDWHULDOVSDUNLQJIRUZRUNHUVRUFRQVWUXFWLRQYHKLFOHV
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               1RWHWKDWDPRQJRWKHUWKLQJVKRXUVRIZRUNDUHUHJXODWHGE\WKH5RDGZD\&RQVWUXFWLRQ3HUPLW
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               $VDSDUWRI%RXOGHU&RXQW\¶VZDWHUTXDOLW\SURWHFWLRQDQGPXQLFLSDOVHSDUDWHVWRUPVHZHU
               V\VWHPFRQVWUXFWLRQSURJUDPDVWRUPZDWHUTXDOLW\SHUPLW 6:43 LVUHTXLUHGEHFDXVHWKHDUHDRI
               GLVWXUEDQFHRQWKHVXEMHFWSURSHUW\H[FHHGVRQHDFUHLQVL]H7KH6:43DSSOLFDWLRQZLOOQHHGWR
               EHVXEPLWWHGZLWKDQ\EXLOGLQJRUJUDGLQJSHUPLWDSSOLFDWLRQVDQGREWDLQHGSULRUWRDQ\ZRUN
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               +HDY\HTXLSPHQWWUDIILFLQFOXGLQJIRUZDWHUGHOLYHU\ZLOOEHVXEMHFWWRDQ\DQGDOOZHLJKWOLPLW
               UHVWULFWLRQVDORQJDGMDFHQWURDGZD\VDQGZLOOEHUHVSRQVLEOHIRUUHSDLURIWKHURDGVVKRXOGWKHUH
               EHDQ\GDPDJHDVLGHQWLILHGE\WKH&RXQW\(QJLQHHU,IQHFHVVDU\WKHDSSOLFDQWVKDOOREWDLQ
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               &RORUDGR'HZDWHULQJ3HUPLWKDVEHHQREWDLQHGLIQHFHVVDU\RUGRFXPHQWDWLRQWKDWLWLVQRW
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:RUN=RQH,PSDFW0DQDJHPHQW6WUDWHJLHV
7030RQLWRULQJ
     




     How to use this TMP
     7KHSXUSRVHRIWKLV7UDQVSRUWDWLRQ0DQDJHPHQW3ODQ 703 LVWRPLQLPL]HGLVUXSWLRQVWRPRWRULVWVWKH
     IUHLJKWLQGXVWU\DQGWKHFRPPXQLW\ZLWKRXWFRPSURPLVLQJSXEOLFRUZRUNHUVDIHW\RUWKHTXDOLW\RIZRUN
     EHLQJSHUIRUPHG
     7KLV703GHWDLOVWKHWUDQVSRUWDWLRQPDQDJHPHQWVWUDWHJLHVZKLFKVKDOOEHXVHGWRPDQDJHWKHZRUN]RQH
     LPSDFWVRIWKLVSURMHFW,WLVDOVRDUHIHUHQFHWRROWRDVVLVWLQWKHPRQLWRULQJDFWLYLWLHVUHTXLUHGE\WKLV
     703
     7KLVGRFXPHQWLV127D7UDIILF&RQWURO3ODQ 7&3 $7&3LVDFRPSRQHQWRIWKHRYHUDOO703DQG
     LQIRUPDWLRQZLWKLQWKH703KHOSVJXLGHWKHGHYHORSPHQWRIWKH7&3
     ,PSRUWDQW7KLV703PD\EHFKDQJHGWKURXJKRXWWKHSURMHFWWRHIIHFWLYHO\PDQDJHFRQGLWLRQV
     H[SHULHQFHGRQVLWHDQGRQWKHWUDQVSRUWDWLRQV\VWHP
     $FRS\RIWKHPRVWXSWRGDWH703PXVWEHRQVLWHDWDOOWLPHV



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BACKGROUND INFORMATION
    Summary
    7KLVVXPPDU\LVDQDWDJODQFHUHIHUHQFHIRUWKHORFDWLRQRIWKHSURMHFWDORQJZLWKOLPLWVRIWKHSURMHFW
    IRRWSULQWWKHZRUNWKDWZLOOEHGRQHRQWKHVLWHWKHUHDVRQIRUWKHZRUNDQGWKHSODQQHGWUDQVSRUWDWLRQ
    VWUDWHJLHVHPSOR\HGZLWKLQWKH703

                                                          6XPPDU\
    /RFDWLRQ/LPLWV         
    3URSRVHG                 
    ,PSURYHPHQWV
    *RDOV2EMHFWLYHVRI      
    703
    7HPSRUDU\7UDIILF            &RQVWUXFWLRQSKDVLQJVWDJLQJ                     2IIǦVLWHGHWRXUVDOWHUQDWHURXWHV
    &RQWUROVWUDWHJLHV           )XOOURDGFORVXUHV                               7HPSRUDU\VLJQV
    LQFOXGHGLQWKLVSODQ       /DQHVKLIWVRUFORVXUHV                          9DULDEOHPHVVDJHVLJQV
                                  2QHǦODQHWZRǦZD\RSHUDWLRQ                       )ODJJHUVDQGXQLIRUPHGWUDIILFFRQWURO
                                  1LJKWZHHNHQGZRUN                            RIILFHUV
                                  7HPSRUDU\SDYHPHQW                               &RQWUDFWLQJVWUDWHJLHV
                                  :RUNKRXUUHVWULFWLRQ                            3URMHFW&RRUGLQDWLRQ                     
                                  3HGHVWULDQELF\FOHDFFHVVLPSURYHPHQWV           ,QQRYDWLYHFRQVWUXFWLRQWHFKQLTXHV
                                  %XVLQHVVDFFHVVLPSURYHPHQWVFRRUGLQDWLRQ      SUHFDVWRUUDSLGFXUHPDWHULDOV 
                                                                                  2WKHU SOHDVHVSHFLI\ 
    7UDQVSRUWDWLRQ               7UDQVLWVHUYLFHLPSURYHPHQWV                     ,QWUXVLRQDODUPV       
    2SHUDWLRQVVWUDWHJLHV        6KXWWOHVHUYLFHV                                 :DUQLQJOLJKWV
    LQFOXGHGLQWKLVSODQ       6LJQDOWLPLQJFRRUGLQDWLRQLPSURYHPHQWV          703PRQLWRULQVSHFWLRQWHDP              
                                  7HPSRUDU\VLJQDOV IL[HGRUSRUWDEOH             0LOHSRVWPDUNHUV
                                  7XUQSDUNLQJUHVWULFWLRQV                       /RFDOGHWRXUURXWHV             
                                  7UXFNKHDY\YHKLFOHUHVWULFWLRQV                 ,QFLGHQWHPHUJHQF\PDQDJHPHQW
                                  3URMHFWFRRUGLQDWLRQ                          FRRUGLQDWLRQ
                                  &RQVWUXFWLRQVSHHG]RQH                          ,QFLGHQWHPHUJHQF\UHVSRQVHSODQ
                                  7HPSRUDU\RUPRYHDEOHWUDIILFEDUULHUV           3ROLFHSUHVHQFHHQIRUFHPHQW              
                                                                                      $XWRPDWHGHQIRUFHPHQW
                                  &UDVKFXVKLRQV       
                                                                                      ,QFUHDVHGSHQDOWLHV
                                  7HPSRUDU\UXPEOHVWULSV                          2WKHU SOHDVHVSHFLI\                   
    3XEOLF,QIRUPDWLRQ           %URFKXUHV0DLOHUV                                7HPSRUDU\PRWRULVWLQIRUPDWLRQVLJQ
    VWUDWHJLHVLQFOXGHGLQ       3UHVVUHOHDVHVPHGLDDOHUWV                     9DULDEOH'\QDPLFPHVVDJHVLJQV
    WKLVSODQ                    3DLGDGYHUWLVHPHQWV                             +LJKZD\LQIRUPDWLRQQHWZRUN
                                  3XEOLF,QIRUPDWLRQ&HQWHUV                      7UDYHOHULQIRUPDWLRQV\VWHPV
                                  7HOHSKRQHKRWOLQH                                3URMHFWLQIRUPDWLRQKRWOLQH
                                  3URMHFWZHEVLWH                                 (PDLODOHUWV
                                  &RRUGLQDWLRQZLWKVFKRROVEXVLQHVVHV           2WKHU SOHDVHVSHFLI\ 
                                HPHUJHQF\VHUYLFHV
                               9LVXDOLQIRUPDWLRQ




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    Project Description
    7KHSURMHFWGHVFULSWLRQSURYLGHVJUHDWHUGHWDLODERXWWKHSURMHFW,WDOVRSURYLGHVWKHWLPHOLQHWKDWWKHSURMHFWZLOOEH
    XQGHUZD\DQGDQ\FRQVWUDLQWVWKDWWKHSURMHFWPD\QHHGWRRSHUDWHXQGHU

                                                    3URMHFW'HVFULSWLRQ
    $SSOLFDQW                
    7\SHRI3URMHFW          
    &RUULGRU                 
    /RFDWLRQ/LPLWV          
    ([LVWLQJ&RQGLWLRQV      
    3URSRVHG                  
    ,PSURYHPHQWV
    6FKHGXOH7LPHOLQH        
    *RDOV                    
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    TMP Team—Roles and Responsibilities
    7KH 703 7HDP VHFWLRQ LQFOXGHV FRQWDFW LQIRUPDWLRQ DQG UROHV DQG UHVSRQVLELOLWLHV RI PDMRU SHUVRQQHO
    LQYROYHG LQ WKH WUDQVSRUWDWLRQ PDQDJHPHQW RI WKH SURMHFW 5HVSRQVLELOLWLHV IRU VSHFLILF VWUDWHJLHV DQG
    PRQLWRULQJDFWLYLWLHVDUHLGHQWLILHGLQWKHDSSURSULDWHVHFWLRQVRIWKLV703

                                       703,PSOHPHQWDWLRQ0RQLWRULQJ0DQDJHUV
                        &RQWUDFWRU                                                3URMHFW0DQDJHU
    1DPH7LWOH                                               1DPH7LWOH
    &RQWUDFWRU                                               $JHQF\
    3KRQH                                                    3KRQH
    (PDLO                                                    (PDLO
    5ROHVDQG5HVSRQVLELOLWLHV
    
                                           703,PSOHPHQWDWLRQ7DVN/HDGHUV
                         &RQWUDFWRU                                           7UDIILF&RQWURO6XSHUYLVRU
    1DPH7LWOH                                                   1DPH7LWOH
    &RQWUDFWRU                                                   &RQWUDFWRU
    3KRQH                                                        3KRQH
    (PDLO                                                        (PDLO
    5ROHVDQG5HVSRQVLELOLWLHV
    
                                              3XEOLF,QIRUPDWLRQ±/LDLVRQ
                    $JHQF\6WDII0HPEHU                                              &RQWUDFWRU
    1DPH7LWOH                                                   1DPH7LWOH
    $JHQF\                                                       &RQWUDFWRU
    3KRQH                                                        3KRQH
    (PDLO                                                        (PDLO
    5ROHVDQG5HVSRQVLELOLWLHV
    
                                              (PHUJHQF\6HUYLFH&RQWDFWV
         )LUHDQG(PHUJHQF\0HGLFDO6HUYLFHV )(06                                     6KHULII¶V2IILFH
    1DPH7LWOH                                                   1DPH7LWOH
    )3'                                                          
    3KRQH                                                        3KRQH
    (PDLO                                                        (PDLO
    

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    Existing Conditions
    7KLV VHFWLRQ LGHQWLILHV FKDUDFWHULVWLFV UHODWHG WR WKH FRUULGRU DQG JHQHUDO DUHD WKDW PD\ LPSDFW RU EH
    LPSDFWHGE\WKHSURMHFW

                               3URMHFW'DWD                                               ,QIRUPDWLRQ
    3URMHFW/LPLWV
    /RFDWLRQ                                                                     
    /LPLWV                                                                       
    /HQJWK                                                                       
    /RFDWLRQRI2WKHU3URMHFWV
    3URMHFW                                                                      
    7UDIILF'DWD
    $YHUDJH'DLO\7ULSV $'7                                                     
    5RDGZD\,QIRUPDWLRQ
    )XQFWLRQDO&ODVVLILFDWLRQRI5RDG                                            
    7HUUDLQ                                                                      
    6SHHG/LPLW                                                                  
    6LJKW'LVWDQFH                                                               
    3DYHPHQW7\SH                                                                
    5LJKWRI:D\:LGWK                                                           
    /DQG8VH
    8VHRI$GMDFHQW3URSHUW\ LHV                                                 
    7UDQVLW6HUYLFH
    7\SH                                                                         
    )UHTXHQF\                                                                    
    6SHFLDO(YHQWV
    6HUYLFH6FKRRO%XV5RXWHV
    (PHUJHQF\VHUYLFH                                                            
    %XVURXWH                                                                    
    0DLO6HUYLFH                                                                 
    7UDVK6HUYLFH                                                                
    

    PROJECT INFORMATION
    Work Zone Impact Assessment
    7KLVVHFWLRQLGHQWLILHVWKHSRWHQWLDOLPSDFWVWKHSURMHFWZLOOKDYHRQSXEOLFWUDIILFDQGRWKHUSURMHFWV

                :RUN=RQH,PSDFW$VVHVVPHQW                                               ,QIRUPDWLRQ
    5RDGFORVXUHV                                                               
    'HWRXUV                                                                      

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    )DFLOLW\&RQGLWLRQV                                  
    7LPH5HVWULFWLRQV                                    
    2WKHU3URMHFWVLQ&RUULGRURU5HJLRQ                 
    $FFHVV1HHGV                                         
    0DWHULDO+DXO5RXWHV                                 
    2WKHU7UDIILF,VVXHV                                 
    

    Work Zone Impact Management Strategies
    7KLV VHFWLRQ GLVFXVVHV RXWOLQHV WKH VSHFLILF VWUDWHJLHV DORQJ ZLWK WKH UHVSRQVLEOH SDUWLHV DQG DVVRFLDWHG
    FRQGLWLRQVWKDWHDFKVWUDWHJ\PXVWDGKHUHWR
    7(0325$5<75$)),&&21752/
    %HORZ DUH OLVWHG WKH WHPSRUDU\ WUDIILF FRQWURO VWUDWHJLHV UHTXLUHG IRU WKH SURMHFW 6WUDWHJLHV PD\ EH
    FKHFNHGRIDVWKH\DUHLPSOHPHQWHG

             7HPSRUDU\7UDIILF&RQWURO                       5HVSRQVLEOH               ,QIRUPDWLRQ                      ¥
                                                                 3DUW\
    &RQWURO6WUDWHJLHV                                                                                             
    &RQVWUXFWLRQSKDVLQJVWDJLQJ                                                                                             
    :RUNKRXUUHVWULFWLRQVIRUSHDNWUDYHO                                                                                   
    3HGHVWULDQELF\FOHDFFHVVLPSURYHPHQWV                                                                                   
    7UDIILF&RQWURO'HYLFHV                                                                                         
    7HPSRUDU\VLJQV                                                                                                         
    9DULDEOHPHVVDJHVLJQV 906                                                                                              
    )ODJJHUVDQGXQLIRUPHGWUDIILFFRQWURORIILFHUV                                                                          
    3URMHFW&RRUGLQDWLRQ6WUDWHJLHV                                                                                 
    2WKHUDUHDSURMHFWV                                                                                                     
    2WKHUWUDQVSRUWDWLRQLQIUDVWUXFWXUH                                                                                     
    
    75$)),&23(5$7,21
    %HORZDUHOLVWHGWKHWUDIILFRSHUDWLRQVWUDWHJLHVUHTXLUHGE\WKHSURMHFW6WUDWHJLHVPD\EHFKHFNHGRIDV
    WKH\DUHLPSOHPHQWHG

              7UDQVSRUWDWLRQ2SHUDWLRQV                5HVSRQVLEOH3DUW\               ,QIRUPDWLRQ                  ¥
    'HPDQG0DQDJHPHQW6WUDWHJLHV                                                                                    
    6KXWWOHVHUYLFHV                                                                                                    
    &RUULGRU1HWZRUN0DQDJHPHQW6WUDWHJLHV                                                                         
    3DUNLQJUHVWULFWLRQV                                                                                               
    &RRUGLQDWLRQZLWKDGMDFHQWFRQVWUXFWLRQVLWH V                                                                       
    :RUN=RQH6DIHW\0DQDJHPHQW6WUDWHJLHV                                                                          
    703PRQLWRULQVSHFWLRQWHDP                                                                                         

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    38%/,&,1)250$7,21
    %HORZDUHOLVWHGWKHWUDIILFRSHUDWLRQVWUDWHJLHVUHTXLUHGE\WKHSURMHFW6WUDWHJLHVPD\EHFKHFNHGRIDV
    WKH\DUHLPSOHPHQWHG

           3XEOLF,QIRUPDWLRQDQG2XWUHDFK                    5HVSRQVLEOH           ,QIRUPDWLRQ        ¥
                                                                  3DUW\
    3XEOLF$ZDUHQHVV6WUDWHJLHV                                                                       
    %URFKXUHVDQGPDLOHUV                                                                                  
    3UHVVUHOHDVHVPHGLDDOHUWV                                                                             
    7HOHSKRQHKRWOLQH                                                                                       
    3URMHFWZHEVLWH                                                                                        
    &RRUGLQDWLRQZLWKVFKRROVHPHUJHQF\VHUYLFHV                                                            
    9LVXDOLQIRUPDWLRQ                                                                                     
    0RWRULVW,QIRUPDWLRQ6WUDWHJLHV                                                                   
    9DULDEOHPHVVDJHVLJQV                                                                                 
    7HPSRUDU\PRWRULVWLQIRUPDWLRQVLJQV                                                                   

    TMP Monitoring
    7KHSURMHFWPDQDJHPHQWVWDIILQFRQMXQFWLRQZLWKWKHWUDIILFFRQWUROVXSHUYLVRU 7&6 PXVWPRQLWRUWKH
    ZRUN]RQHDQG703$Q\FKDQJHVWRWKHZRUN]RQHRU703VKRXOGEHFRQVLVWHQWZLWKWKHGHFLVLRQVPDGH
    LQWKHRULJLQDO703DQGLQYROYHWKH7&6$OOFKDQJHVWRWKHZRUN]RQHDQG703PXVWEHDSSURYHGE\
    WKH %RXOGHU &RXQW\ &RPPXQLW\ 3ODQQLQJ DQG 3HUPLWWLQJ 'HSDUWPHQW DQG PXVW EH GRFXPHQWHG LQ WKH
    703

                     7030RQLWRULQJ                                 ¥                 ,QIRUPDWLRQ
    3HUIRUPDQFH0RQLWRULQJ                                                  
    'RFXPHQWPRQLWRULQJDFWLYLWLHV                                          
    $UHTXHXHVZLWKLQDFFHSWDEOHOLPLWV"                                    
    $UHVSHHGOLPLWVEHLQJREVHUYHGWKURXJKZRUN                            
    ]RQH"
    $UH WKHUHDQ\ REYLRXV VDIHW\ LVVXHV UHODWHGWRWKH                 
    703 VXFK DV LQDGHTXDWH ODQH ZLGWKV WLJKW
    WXUQLQJUDGLLLQDGHTXDWHDGYDQFHZDUQLQJ"
    $UHFUDVKHVEHLQJGRFXPHQWHGDQGFRUUHFWLYH                             
    DFWLRQEHLQJWDNHQLIQHFHVVDU\"
    ,VWKHFRQVWUXFWLRQSURJUHVVLQJRQVFKHGXOH"                           
    $UHODQHFORVXUHKRXUVEHLQJREVHUYHG"                                  
    ,VSXEOLFIHHGEDFNEHLQJGRFXPHQWHG"                                    
    ,V WKH ZRUN ]RQH LQFLGHQW UHVSRQVHPDQDJHPHQW                      
    SODQ PHHWLQJ SUHHVWDEOLVKHG UHVSRQVH DQG
    FOHDUDQFHWLPHV"



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    +DV WKH SURMHFW FRQVWUXFWLRQ ]RQH DGYHUVHO\               
    LPSDFWHG DGMDFHQW FRQVWUXFWLRQ ]RQHV RU KDV LW
    EHHQLPSDFWHGE\RWKHUSURMHFWV"
    &KDQJHVWR703                                                
                                                                   
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SAMPLE DOOR HANGER LANGUAGE
A XXXXXXXXXXX project will take place in this area from Month Day, Year to Month Day, Year. Working
   hours are – XX:XX a.m. to XX:XX p.m., Monday through Friday. If you have any questions or comments,
   please contact
                                               Company
                                                  Name
                                              Phone Number
                                                  Email
The purpose of this project is to…
Thank you for your patience and understanding while we complete this work.
(PUT COMPANY LOGO ON BOTTOM OR REVERSE SIDE IF POSSIBLE)


SAMPLE LETTER
                                                                                                   DATE
Hello Resident,
A (INSERT PROJECT NAME) will take place in this area from Month Day, Year to Month Day, Year. Working
    hours are XX:XX a.m. to XX:XX p.m., Monday through Frriday.
The purpose of the project is to…
If you have questions, comments, or concerns, please contact NAME at PHONE NUMBER or EMAIL. You can
    also contact Boulder County Transportation at 303-441-3900 or transportation@bouldercounty.org.
Thank you for your patience and understanding while we complete this work.
Have a good day.
(COMPANY LOGO)


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                                  +DXO5RXWH




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                                                                   7DEOHRI&RQWHQWV
6HFWLRQ,,QWURGXFWLRQ
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     6XPPDU\
     3URMHFW'HVFULSWLRQ
     7037HDP²5ROHVDQG5HVSRQVLELOLWLHV
     ([LVWLQJ&RQGLWLRQV
     :RUN=RQH,PSDFW$VVHVVPHQW
     :RUN=RQH,PSDFW0DQDJHPHQW6WUDWHJLHV
      7HPSRUDU\7UDIILF&RQWURO
      7UDIILF2SHUDWLRQV
      3XEOLF,QIRUPDWLRQDQG2XWUHDFK
     7030RQLWRULQJ
      7033HUIRUPDQFH0HDVXUHVRI(IIHFWLYHQHVV
     6SHFLDO&RQVLGHUDWLRQV
     $WWDFKPHQWV
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     3RVVLEOH703RU%XLOGLQJ3HUPLW&RQGLWLRQV
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    Section I: Introduction
    $ 7UDQVSRUWDWLRQ 0DQDJHPHQW 3ODQ 703  LV D GRFXPHQWHG VHW RI FRRUGLQDWHG WUDQVSRUWDWLRQ PDQDJHPHQW
    VWUDWHJLHV XVHG WR PDQDJH WKH LPSDFWV RI FRQVWUXFWLRQ SURMHFWV  7KH SXUSRVH RI D 703 LV WR PLQLPL]H
    GLVUXSWLRQV WR PRWRULVWV HPHUJHQF\ UHVSRQVH YHKLFOHV F\FOLVWV SHGHVWULDQV WKH IUHLJKW LQGXVWU\ DQG
    FRPPXQLWLHVZLWKRXWFRPSURPLVLQJSXEOLFRUZRUNHUVDIHW\RUWKHTXDOLW\RIZRUNEHLQJSHUIRUPHG
    7KLV GRFXPHQW IRFXVHV RQWKH QHHGVIRUSURMHFWOHYHO703V DV WKDWLVWKHOHYHO RI SURMHFW WKDW LV PRVW RIWHQ
    HQFRXQWHUHGDQGIRUZKLFKGRFXPHQWDWLRQLVPRVWRIWHQQHHGHG'HVFULSWLRQVRIWKHYDULRXVW\SHVRI703VDUH
    SURYLGHGEHORZ
    7KHJRDORIWKHSURMHFWǦOHYHO703VZLOOEHWRDGGUHVVWKHWUDIILFUHODWHGLPSDFWVRIWKHFRQVWUXFWLRQSURMHFWVLQD
    FRVWǦHIIHFWLYH DQG WLPHO\ PDQQHU ZKLOH PLQLPL]LQJ LQWHUIHUHQFH WR WKH WUDYHOLQJ SXEOLF WKURXJK WKH HIIHFWLYH
    DSSOLFDWLRQ RI WUDGLWLRQDO DQG LQQRYDWLYH WUDIILF PLWLJDWLRQ VWUDWHJLHV 703V XVH PXOWLIDFHWHG DQG PXOWLǦ
    MXULVGLFWLRQDO SURJUDPV RI RSHUDWLRQDO FRPPXQLFDWLRQV DQG GHPDQG PDQDJHPHQW VWUDWHJLHV WR PDLQWDLQ
    DFFHSWDEOHOHYHOVRIWUDIILFIORZGXULQJSHULRGVRIFRQVWUXFWLRQDFWLYLWLHV
    6RPHRIWKHNH\EHQHILWVRID703DUHWRKHOS
       $GGUHVVWKHEURDGHUVDIHW\DQGPRELOLW\LPSDFWVRIZRUN]RQHVDWWKHFRUULGRUDQGQHWZRUNOHYHOV
       3URPRWH PRUH HIILFLHQW DQG HIIHFWLYH FRQVWUXFWLRQ SKDVLQJ DQG VWDJLQJ DQG PLQLPL]H GXUDWLRQ RI WKH
         SURMHFW
       ,PSURYHZRUN]RQHVDIHW\IRUFRQVWUXFWLRQZRUNHUVDQGWKHWUDYHOLQJSXEOLF
       0LQLPL]HWKHWUDIILFDQGPRELOLW\LPSDFWVRIDZRUN]RQH
       ,PSURYHSXEOLFDZDUHQHVV
       0LQLPL]HQHJDWLYHLPSDFWVWRWKHWUDYHOLQJSXEOLFDQGORFDOEXVLQHVVHVDQGFRPPXQLWLHV
       0LQLPL]HFLUFXODWLRQDFFHVVDQGPRELOLW\LPSDFWVWRORFDOFRPPXQLWLHVDQGEXVLQHVVHV
       ,PSURYHLQWUDDQGLQWHUDJHQF\FRRUGLQDWLRQ
       ,GHQWLI\UHVSRQVLELOLWLHVDQGDFWLRQV

         Types of TMPs
    6RPHSURMHFWVDUHOLNHO\WRKDYHPXFKJUHDWHUHIIHFWVRQWUDIILFFRQGLWLRQVLQDQGDURXQGWKHLUZRUN]RQHVWKDQ
    RWKHUSURMHFWVZLOO6RLWLVUHDVRQDEOHWRSD\PRUHDWWHQWLRQWRWKHHIIHFWVRIFHUWDLQSURMHFWVVXFKDVWKRVHWKDW
    ZH WKLQN ZLOO FDXVH JUHDWHU FRQJHVWLRQ FRPSURPLVH URDG VDIHW\ RU JUHDWO\ UHGXFH DFFHVV WR EXVLQHVVHV
    5HFRJQL]LQJWKDWQRWDOOSURMHFWVFDXVHWKHVDPHOHYHORIZRUN]RQHLPSDFWVWKLVJXLGHHVWDEOLVKHVDFDWHJRU\RI
    SURMHFWVFDOOHGVLJQLILFDQWSURMHFWV
    $VLJQLILFDQWSURMHFWLVGHILQHGDV
       ,WZLOODORQHRULQFRPELQDWLRQZLWKRWKHUFRQFXUUHQWSURMHFWVQHDUE\FDXVHVXVWDLQHGZRUN]RQHLPSDFWVDW
         DORFDWLRQIRUWKUHHRUPRUHFRQVHFXWLYHGD\VZLWKHLWKHULQWHUPLWWHQWRUFRQWLQXRXVODQHFORVXUHV
       ,WZLOOLPSDFWWKHWUDYHOLQJSXEOLFDWWKHORFDORUUHJLRQDOOHYHO
       ,WKDVDPRGHUDWHWRKLJKOHYHORISXEOLFLQWHUHVW
       ,WZLOOGLUHFWO\LPSDFWDPRGHUDWHWRODUJHQXPEHURIWUDYHOHUV
    703VIRU6LJQLILFDQW3URMHFWVPXVWLQFOXGH
       7HPSRUDU\7UDIILF&RQWURO3ODQ 77&3 
       7UDQVSRUWDWLRQ2SHUDWLRQV 72 VWUDWHJLHV
       3XEOLF,QIRUPDWLRQ 2XWUHDFK 3, VWUDWHJLHV

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    7KHOHYHORIGHWDLOUHTXLUHGIRUHDFKHDFKVHFWLRQGHSHQGVRQH[SHFWHGLPSDFWVDQGVFDODELOLW\RIWKHSURMHFW
    3URMHFWVWKDWDUHFODVVLILHGDVQRQVLJQLILFDQWPD\VWLOOUHTXLUHVRPHRUDOORIWKH703FRPSRQHQWVOLVWHGDERYH
    EXWWKH\ZLOOJHQHUDOO\LQFOXGHIHZHUDQGRUOHVVLQWHQVLYHVWUDWHJLHV



         How to Use this Guidance and Template
    7KLV GRFXPHQW SURYLGHV JXLGDQFH IRU WKH GHYHORSPHQW RI D 703  7KH WHPSODWH WKDW DFFRPSDQLHV WKLV
    GRFXPHQW KDV EHHQRIIHUHG DVD FRQYHQLHQWIRUPDWIRU D 703EXW LWLVQRW UHTXLUHGWKDWWKLVIRUPDW EH XVHG
    2WKHUIRUPDWVDUHDFFHSWDEOHDVORQJDVWKHHOHPHQWVLGHQWLILHGLQWKLVJXLGDQFHDUHDGGUHVVHG
    $ 703 PD\ EH GHYHORSHG E\ WKH DSSOLFDQW WKH FRQWUDFWRU RU %RXOGHU &RXQW\ &RPPXQLW\ 3ODQQLQJ DQG
    3HUPLWWLQJ 'HSDUWPHQW VWDII GHSHQGLQJ RQ WKH DJUHHPHQWV PDGH EHWZHHQ WKH DSSOLFDQW DQG WKH &RXQW\ E\
    FRQWUDFWRURWKHUZLVH
    %HORZLVDVWHSE\VWHSDSSURDFKWRGHYHORSLQJD703
           TMP Development
     &RPSLOH3URMHFW0DWHULDO

    703GHYHORSHUVVKRXOGEHJLQE\FRPSLOLQJDYDLODEOHSURMHFWPDWHULDOVVXFKDV

       3URMHFWGHILQLWLRQ SURMHFWVFRSHURDGZD\DQGWUDIILFFKDUDFWHULVWLFVRWKHUIDFWRUVVXFKDVSXEOLFRXWUHDFK
         FRPPXQLW\LQIRUPDWLRQHWF 
       &RQVWUXFWLRQSKDVLQJVWDJLQJDSSURDFKHVDQGSODQV
       3UHOLPLQDU\ZRUN]RQHPDQDJHPHQWVWUDWHJLHV ZKHQDYDLODEOH 
       ,QIRUPDWLRQ IURP RWKHU SURMHFWV LQ WKH FRUULGRU WR HYDOXDWH WKH FRPELQHG RU FXPXODWLYH LPSDFW RI WKH
         SURMHFWV
    ,QWKRVHFDVHVZKHUHFRQWUDFWRUVZLOOGHYHORS703VWKHSODQVDQGVSHFLILFDWLRQVRIWKHSURMHFWVKRXOGFRQWDLQ
    WKH VNHOHWRQ RI WKH 703 GHYHORSHG E\ WKH %RXOGHU &RXQW\ &RPPXQLW\ 3ODQQLQJ DQG 3HUPLWWLQJ 'HSDUWPHQW
    GXULQJ LWV SODQQLQJ DQG GHVLJQ SURFHVVHV DQG WKH SURYLVLRQV IRU FRPSOHWLQJ 703 GHYHORSPHQW XQGHU WKH
    FRQWUDFW
     'HWHUPLQH7031HHGV
    7KHFRPSRQHQWVRID703IRUDSURMHFWDUHEDVHGRQWKHH[SHFWHGZRUN]RQHLPSDFWVRIDSURMHFWDQGZKHWKHU
    WKHSURMHFWLVGHWHUPLQHGWREHVLJQLILFDQW7KHGHILQLWLRQIRUDVLJQLILFDQWSURMHFWLVIRXQGLQ6HFWLRQ,XQGHUWKH
    KHDGLQJTypes of TMPs
    703 GHYHORSHUV VKRXOG GHWHUPLQH LI WKH SURMHFW LV VLJQLILFDQW RU QRQVLJQLILFDQW LQ LPSDFWV  $GGLWLRQDOO\ D
    GHWHUPLQDWLRQRIZKLFKJHQHUDOFRPSRQHQWVZLOOEHLQFOXGHGLQWKH703VKRXOGEHPDGH
    *XLGDQFHIRU703FRPSRQHQWVFDQEHIRXQGLQ6HFWLRQ,RIWKLVGRFXPHQW
     'HYHORS703
    'HYHORSHUVVKRXOG
       ,GHQWLI\WHDPPHPEHUVUHVSRQVLEOHIRULPSOHPHQWLQJPRQLWRULQJDQGUHYLVLQJWKH703
       ,GHQWLI\H[LVWLQJZRUN]RQHFRQGLWLRQV
       $VVHVVZRUN]RQHLPSDFWV
       ,GHQWLI\703VWUDWHJLHV
       ,GHQWLI\PRQLWRULQJUHTXLUHPHQWV

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    *XLGDQFHIRU703UROHVZRUN]RQHFRQGLWLRQVVWUDWHJLHVDQGPRQLWRULQJUHTXLUHPHQWVFDQEHIRXQGLQ6HFWLRQ
    ,,RIWKLVGRFXPHQW
    7KH FRPSOHWHG 703 PXVW EH DSSURYHG E\ WKH %RXOGHU &RXQW\ &RPPXQLW\ 3ODQQLQJ DQG 3HUPLWWLQJ
    'HSDUWPHQWXQOHVVH[SOLFLWO\QRWHGRWKHUZLVH
           TMP Implementation
    7KH 703 ZLOO EH LPSOHPHQWHG GXULQJ FRQVWUXFWLRQ  7HDP PHPEHUV UHVSRQVLEOH IRU LPSOHPHQWDWLRQ RI WKH
    703 VKRXOG LGHQWLI\ ZKLFK HOHPHQWV PXVW EH LPSOHPHQWHG LQ DGYDQFH RI FRQVWUXFWLRQ HJ SXEOLF UHODWLRQV
    FDPSDLJQLPSURYHPHQWVWRGHWRXUURXWHVHWF DQGGHWHUPLQHWKHWLPLQJRIWKHLPSOHPHQWDWLRQWRHQVXUHWKH
    VWUDWHJ\JRDOVDUHPHW
    2WKHUVWUDWHJLHVVKRXOGEHSXWLQSODFHDVFRQVWUXFWLRQEHJLQV
           TMP Monitoring
    0RQLWRULQJWKHSHUIRUPDQFHRIWKHZRUN]RQHDQGWKDWRIWKH703GXULQJFRQVWUXFWLRQLVLPSRUWDQWWRVHHLIWKH
    SUHGLFWHG LPSDFWV FORVHO\ UHVHPEOH WKH DFWXDO FRQGLWLRQV LQ WKH ILHOG DQG LI WKH VWUDWHJLHV LQ WKH 703 DUH
    HIIHFWLYHLQPDQDJLQJWKHLPSDFWV
    7KH703VKRXOGLGHQWLI\PRQLWRULQJDQGSHUIRUPDQFHUHTXLUHPHQWVDVZHOODVWKHIUHTXHQF\IRUPRQLWRULQJ
    ,I SHUIRUPDQFH UHTXLUHPHQWV DUH QRW PHW WKH 703 VKRXOG EH UHYLVLWHG DQG DOWHUQDWH PDQDJHPHQW VWUDWHJLHV
    DQGRUSKDVLQJVWDJLQJDSSURDFK HV VKRXOGEHFRQVLGHUHG$Q\UHYLVLRQVWRWKH703PXVWEHDSSURYHGE\WKH
    %RXOGHU&RXQW\&RPPXQLW\3ODQQLQJDQG3HUPLWWLQJ'HSDUWPHQWXQOHVVH[SOLFLWO\QRWHGRWKHUZLVH

    Section II: TMP Components
    7KH LQIRUPDWLRQ EHORZ SURYLGHV DQ RYHUYLHZ RI WKH YDULRXV 703 FRPSRQHQWV ± ZKDW HDFK LV DQG ZKDW WKH
    LQWHQGHGIXQFWLRQRIHDFKFRPSRQHQWLV

         Summary
    7KHVXPPDU\VKRXOGSURYLGHDQDWDJODQFHRYHUYLHZRIWKHSURMHFWDQG703DQGVKRXOGLQFOXGH
       &HUWDLQ SURMHFW GHVFULSWLRQ HOHPHQWV  ,GHQWLI\ WKH ORFDWLRQ DQGRU OLPLWV RI WKH SURMHFW  ,QFOXGH D
         GHVFULSWLRQRILPSURYHPHQWVUHODWHGWRWKHSURMHFW
       7KHJRDOVRUREMHFWLYHVRIWKHSURMHFWDQG
       7KHVWUDWHJLHVLQFOXGHGLQWKH703
    $VWKLVVHFWLRQVKRXOGEHDRQHSDJHVXPPDU\RIWKH703LWVKRXOGEHWKHODVWVHFWLRQFRPSOHWHG7KH
    LQIRUPDWLRQQHHGHGWRSRSXODWHWKLVVHFWLRQFDQEHIRXQGLQODWHUVHFWLRQVRIWKH703

         Project Description
    7KHSURMHFWGHVFULSWLRQVHFWLRQSURYLGHVLQIRUPDWLRQDERXWWKHSURMHFWDQGLQFOXGHV
       $SSOLFDQW,QFOXGHDJHQF\QDPHQDPHRISRLQWRIFRQWDFWDQGFRQWDFWLQIRUPDWLRQ
       7\SHRISURMHFW0D\LQFOXGHVWDWHPHQWVVXFKDVURDGUHFRQVWUXFWLRQSURMHFWVWUHDPUHVWRUDWLRQSURMHFW
         EULGJHUHFRQVWUXFWLRQSURMHFWSULYDWHGHYHORSPHQWSURMHFWRURWKHUEULHIGHVFULSWLRQ
       &RUULGRU,GHQWLI\WKHFDQ\RQDQGRUURDGFRUULGRULQZKLFKWKHSURMHFWLVORFDWHG
       /RFDWLRQOLPLWV LQFOXGHDPDSVKRZLQJWKHOLPLWVRIWKHZRUN ,GHQWLI\WKHORFDWLRQRIWKHSURMHFWYLDDQ
         DGGUHVV HV RUPLOHPDUNHU)RUOLQHDUSURMHFWVLQFOXGHLQIRUPDWLRQUHJDUGLQJWKHOLPLWVRIWKHSURMHFWYLD
         GLVWDQFHVIURPORFDOIHDWXUHV
       ([LVWLQJFRQGLWLRQV%ULHIO\GHVFULEHWKHH[LVWLQJFRQGLWLRQVWKDWDUHSURPSWLQJWKHSURMHFW
       3URSRVHGLPSURYHPHQWV%ULHIO\GHVFULEHWKHLPSURYHPHQWVSODQQHG
                                                              
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       6FKHGXOHWLPHOLQH1RWHWKHH[SHFWHGVWDUWDQGHQGGDWHV1RWHVLJQLILFDQWPLOHVWRQHVIRUWKHSURMHFW7KLV
         PD\LQFOXGHVWUXFWXUHGHOLYHULHVFRQFUHWHSRXUVH[SHFWHGURDGFORVXUHGDWHVHWF
       *RDOV  %ULHIO\ GHVFULEH H[SHFWHG RXWFRPHV IRU SURMHFW  7KLV PD\ LQFOXGH VWDWHPHQWV VXFK DV FRPSOHWH
         SHUPDQHQWUHSDLUVWRURDGEULQJURDGLQWRFRPSOLDQFHZLWK7UDQVSRUWDWLRQ6WDQGDUGVLQFUHDVHUHVLOLHQF\WR
         VWUHDPFRUULGRUSURYLGHSHUPDQHQWDFFHVVWRSULYDWHSURSHUW\HWF
       &RQVWUDLQWV%ULHIO\GHVFULEHDQ\SK\VLFDOHQYLURQPHQWDORURWKHUFRQVWUDLQWVDIIHFWLQJWKHSURMHFW

         TMP Team—Roles and Responsibilities
    7KLVVHFWLRQLGHQWLILHVSULPDU\SHUVRQQHOLQYROYHGLQWKHSURMHFWDQGZKDWUROHVDQGUHVSRQVLELOLWLHVWKH\KDYH
    ZLWKUHJDUGWRWKH703DVZHOODVHPHUJHQF\FRQWDFWLQIRUPDWLRQ,WLQFOXGHV
       703 ,PSOHPHQWDWLRQ0RQLWRULQJ 0DQDJHUV  $JHQF\&RQWUDFWRU SHUVRQQHO ZKR KDYH SULPDU\
         UHVSRQVLELOLW\IRULPSOHPHQWLQJDQGPRQLWRULQJWKH703
       703 ,PSOHPHQWDWLRQ 7DVN /HDGHUV  5HVSRQVLEOH IRU PDQDJLQJ FRPSOHWLQJ RYHUVHHLQJ RU DVVLVWLQJ LQ
         VSHFLILFWUDQVSRUWDWLRQPDQDJHPHQWWDVNVGXULQJWKHZRUN
       3XEOLF,QIRUPDWLRQ2IILFHUV 5HVSRQVLEOHIRUHQVXULQJLQIRUPDWLRQLVFRPPXQLFDWHGWRWKHSXEOLFGXULQJ
         ZRUNDQGWKDWRXWUHDFKHIIRUWVDUHLPSOHPHQWHG
       (PHUJHQF\ &RQWDFWV  3XEOLF DQGVHPLSXEOLF DJHQFLHV VXFK DV KRVSLWDOVVFKRROV KHDOWK FOLQLFV WKH 86
         3RVWDO 6HUYLFH HPHUJHQF\ UHVSRQVH  HWF ZKR PXVW EH NHSW LQIRUPHG DERXW WKH ZRUN ]RQH DFWLYLWLHV
         HVSHFLDOO\LQFDVHRIDURDGFORVXUH

         Existing Conditions
    3ULRUWRGHYHORSLQJWKH703VWUDWHJLHVZRUN]RQHLQIRUPDWLRQVKRXOGEHFROOHFWHGDQGRUJDQL]HG2QO\LQFOXGH
    LQIRUPDWLRQWKDWLVGLUHFWO\DSSOLFDEOHWRWKH703&RQVLGHUWKHOLVWRISRVVLEOHZRUN]RQHLQIRUPDWLRQEHORZ
       3URMHFWOLPLWV3K\VLFDOORFDWLRQOLPLWVDQGOHQJWKRIWKHSURMHFW
       /RFDWLRQRIRWKHUFRQVWUXFWLRQSURMHFWV2WKHUSURMHFWVQHDUWKHZRUN]RQHLQFOXGLQJSURMHFWGXUDWLRQVWKDW
         PD\LPSDFWWKHWHPSRUDU\WUDIILFFRQWURO7\SLFDOO\XVHGWRGHWHUPLQHFRQIOLFWLQJSURMHFWV0D\QHHGWREH
         XSGDWHGDVRWKHUSURMHFWVDUHVWDUWHGLQWKHVDPHFRUULGRURUDUHD
       7UDIILF 'DWD 'DWD UHODWHG WR WKH PRYHPHQW RI YHKLFOHV SHGHVWULDQV ELNHV HWF RQ D URDGZD\ 7\SLFDO
         WUDIILFGDWDH[DPSOHVDUH$YHUDJHGDLO\WUDIILF $'7 YROXPHDQGDFFLGHQWGDWD
       5RDGZD\LQIRUPDWLRQ URDGZD\W\SHVFRQGLWLRQVFDSDFLW\HWF ,QIRUPDWLRQUHODWHGWRWKHURDGZD\SULVP
         DQGURDGZD\QHWZRUN5RDGZD\FODVVLILFDWLRQWHUUDLQVSHHGOLPLWVVLJKWGLVWDQFHSDYHPHQWW\SHJHQHUDO
         FOHDU]RQHLQIRUPDWLRQDQGULJKWRIZD\ZLGWKVDUHW\SLFDOURDGZD\FKDUDFWHULVWLFVH[SHFWHG$OVRQRWHWKH
         SUHVHQFHRIDGHVLJQDWHGELF\FOHDQGRUWUDQVLWURXWH
       /DQGXVH ORFDWLRQRIUHVLGHQFHVEXVLQHVVHVLQGXVWU\HWF +RZWKHODQGDGMDFHQWWRWKHSURMHFWLVEHLQJ
         XVHGDQGKRZWKDWLPSDFWVWKHSURMHFW0D\LQFOXGHURDGDSSURDFKHV
       ([LVWLQJ6L]H5HVWULFWLRQV:LGWKKHLJKWZHLJKWRURWKHUKLJKZD\UHVWULFWLRQVWKDWOLPLWYHKLFOHVWUDYHOOLQJ
         RQDKLJKZD\
       7UDQVLWVHUYLFHZLWKLQDUHD W\SHIUHTXHQF\HWF 3XEOLFWUDQVSRUWDWLRQIDFLOLWLHVORFDWHGRUVHUYLFHGZLWKLQ
         WKHZRUN]RQH7\SLFDOO\WKHVHVHUYLFHVKDYHWREHPDLQWDLQHGGXULQJWKHSURMHFW
       6SHFLDOHYHQWV/RFDORUUHJLRQDOHYHQWVWKDWPD\LPSDFWWKHWHPSRUDU\WUDIILFFRQWURORUEHLPSDFWHGE\WKH
         SURMHFW
       $'$3HGHVWULDQ DFFRPPRGDWLRQV ([LVWLQJ $'$SHGHVWULDQ IDFLOLWLHV ORFDWHG ZLWKLQ WKH ZRUN ]RQH
         $'$SHGHVWULDQDFFRPPRGDWLRQVKRXOGEHPDLQWDLQHGGXULQJWKHSURMHFW
       (PHUJHQF\6HUYLFHV6FKRRO%XV5RXWHV6HUYLFHVWKDWDUHPDLQWDLQHGWKURXJKWKHZRUN]RQH'HSHQGLQJ
         RQZKHWKHURUQRWWKHVHVHUYLFHVDUHGLVUXSWHGWKH77&VWUDWHJ\PD\QHHGWRDFFRPPRGDWHWKHVHVHUYLFHV
                                                              
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       6HDVRQDO UHVWULFWLRQV WUDIILF YDULDWLRQV ZHDWKHUǦUHODWHG ZRUN ZLQGRZV HWF  5HVWULFWLRQV WKDW RQO\ RFFXU
         GXULQJDFHUWDLQWLPHRI\HDU0D\LPSDFWWKH77&VWUDWHJ\
       'HOLYHU\VHUYLFHVVXFKDVPDLO836)HG([XWLOLWLHV

         Work Zone Impact Assessment
    7KHZRUN]RQHLPSDFWDVVHVVPHQWVKRXOGGLVFXVVRIWKHSRWHQWLDOLPSDFWVWKHSURMHFWZLOOKDYHRQSXEOLFWUDIILF
    DQGRWKHUSURMHFWV7KH,PSDFW$VVHVVPHQWLVTXDOLWDWLYHDQGJHQHUDOO\ZLOOLQYROYHDEULHIGLVFXVVLRQRQKRZ
    WKHSURMHFWLVH[SHFWHGWRLPSDFWSURMHFWXVHUV
    4XHVWLRQVWKDWVKRXOGEHSDUWRIWKHDVVHVVPHQWRIZRUN]RQHLPSDFWVLQFOXGH
       &ORVXUHV
            'RHVWKHSURMHFWLQFOXGHDORQJWHUPFORVXUHDQGRUH[WHQGHGZHHNHQGFORVXUH"
       'HWRXUV
            &DQWUDIILFEHGHWRXUHG"
            ,VWKHORFDODOWHUQDWHGHWRXUURXWHLQJRRGFRQGLWLRQ"
            :KRLVUHVSRQVLEOHWRPDLQWHQDQFHRIGHWRXUURXWH"
            :LOOWKHGHWRXUURXWHKDYHDGHWULPHQWDOLPSDFWRQHPHUJHQF\YHKLFOHVVFKRROEXVHVRURWKHUVHQVLWLYH
              WUDIILF"
            $UHWKHUHORDGOLPLWUHVWULFWLRQVRQWKHGHWRXU"
            $UHWKHUHEULGJHFXOYHUWKHLJKWRUZLGWKUHVWULFWLRQVRQWKHGHWRXU"
            &DQSURSHUW\RZQHUVDFFHVVWKHLUKRPHVZLWKWKHGHWRXULQSODFH"
       )DFLOLW\&RQGLWLRQV
            ,VWKHH[LVWLQJVKRXOGHUVXIILFLHQWWRVXSSRUWWUDIILFGXULQJFRQVWUXFWLRQ"
            ,VDGGLWLRQDOZLGWKUHTXLUHGRQFXOYHUWVRUEULGJHVWRPDLQWDLQWUDIILF"
            ,VWKHUHDSHGHVWULDQELF\FOHIDFLOLW\WKDWPXVWEHPDLQWDLQHG"
            :RXOGDWHPSRUDU\VWUXFWXUH V EHUHTXLUHG"
            &RXOGPDLQWHQDQFHRIWUDIILFKDYHDQLPSDFWRQH[LVWLQJRUSURSRVHGXWLOLWLHV"
            'RHVLWDSSHDUWKDWPDLQWHQDQFHRIWUDIILFZLOOUHTXLUHDGGLWLRQDOULJKWRIZD\"
       7LPH5HVWULFWLRQV
            &DQWKHFRQWUDFWRUUHVWULFWWKHURDGZD\GXULQJWKHWLPHSHULRGVOLVWHG"
                 DPSHDNKRXUVRQHGLUHFWLRQ
                 SPSHDNKRXUVRQHGLUHFWLRQ
                 DPSHDNKRXUVERWKGLUHFWLRQV
                 SPSHDNKRXUVERWKGLUHFWLRQV
                 2YHUQLJKW
                 +ROLGD\VRUZHHNHQGV
                 6SHFLDOHYHQWV
       2WKHU3URMHFWVLQ&RUULGRURU5HJLRQ
            $UHWKHUHDQ\SURMHFWVWREHFRQVLGHUHGDORQJWKHFRUULGRURULQWKHUHJLRQ"

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                 3URMHFWVLQWKHLPPHGLDWHDUHDWKDWPD\DIIHFWWUDIILFRUWKHFRQWUDFWRU¶VRSHUDWLRQV"
                 3URMHFWVRQRWKHUURDGVWKDWPD\DIIHFWWKHXVHRIDOWHUQDWHURXWHV"
                 /RFDOSURSHUW\GHYHORSPHQWLQLPPHGLDWHDUHD"
    0DWHULDOKDXOURXWHV
            +DYHKDXOURXWHVEHHQLGHQWLILHG"
            +DVFRQGLWLRQRIKDXOURXWHVEHHQSKRWRGRFXPHQWHG"
            :LOOWUDIILFFRQWUROEHUHTXLUHGRQSRUWLRQVRIWKHKDXOURXWHV"
            $UHWKHUHVL]HDQGZHLJKWUHVWULFWLRQVIRUYHKLFOHVRQWKHLGHQWLILHGKDXOURXWHV"
            6KRXOGWKHUHEHWLPHUHVWULFWLRQIRUKDXOURXWHV"
            $UHWKHUHFRRUGLQDWLRQLVVXHVWRFRQVLGHUZLWKKDXOURXWHVIRURWKHUSURMHFWV"
            6KRXOGWKHUHEHVHDVRQDODQGRUZRUNKRXUUHVWULFWLRQV"
       $FFHVV,VVXHV
            $UHWKHUHDFFHVVLVVXHVIRUWKLVRURWKHUSURMHFWVLQWKHLPPHGLDWHDUHD"
                 6LJKWGLVWDQFHFRQVWUDLQWV
                 /HJDODFFHVVFRQVWUDLQWV
                 7RSRJUDSKLFFRQVWUDLQWV
                 7HPSRUDU\ZDWHUFURVVLQJV
            6KRXOGWXUQLQJPRYHPHQWVEHUHVWULFWHG"
                 )XOOWXUQLQJPRYHPHQWV
                 ôWXUQLQJPRYHPHQWV
                 5LJKWLQULJKWRXW
       $UHWKHUHRWKHUPDLQWHQDQFHRIWUDIILFLVVXHV",IVRVSHFLI\

         Work Zone Impact Management Strategies
    7KLVVHFWLRQSURYLGHVVWUDWHJLHVWRPLQLPL]HWUDIILFGHOD\VPDLQWDLQRULPSURYHPRWRULVWF\FOLVWSHGHVWULDQDQG
    ZRUNHUVDIHW\DQGPDLQWDLQDFFHVVIRUEXVLQHVVHVDQGUHVLGHQWV)RUWKH703ZRUN]RQHLPSDFWPDQDJHPHQW
    VWUDWHJLHV VKRXOG EH LGHQWLILHG IRU ERWK WKH PDLQOLQH DQG GHWRXU URXWHV IRU WKH VHOHFWHG FRQVWUXFWLRQ
    SKDVLQJVWDJLQJDSSURDFK HV 
    :RUN ]RQH VWUDWHJLHV DUH GLYLGHG LQWR WKH IROORZLQJ VXEKHDGLQJV WHPSRUDU\ WUDIILF FRQWURO 77&  WUDIILF
    RSHUDWLRQV 72 DQGSXEOLFLQIRUPDWLRQDQGRXWUHDFK 3, 2 0RVWVWUDWHJLHVZLOOEHWKHUHVSRQVLELOLW\RIWKH
    FRQWUDFWRUEXWWKHSURMHFWPDQDJHUDOVRPD\KDYHUHVSRQVLELOLWLHV
    7KHIROORZLQJFRQVWUXFWLRQVWUDWHJLHVOLVWLVLQWHQGHGWREHDOLVWRISRVVLEOHVWUDWHJLHVPHDVXUHVWKDWDGHVLJQHU
    FDQSLFNIURPWRSURYLGHWHPSRUDU\WUDIILFFRQWURO 7KLVVHWRIVWUDWHJLHVLVQRWPHDQWWREHDOOLQFOXVLYHEXW
    RIIHUVDODUJHQXPEHUWRFRQVLGHUDVDSSURSULDWHLQGHYHORSLQJ703V:KHUHDSSURSULDWHWUDIILFFRQWUROSODQV
    VKRXOGEHGHYHORSHGEDVHGXSRQWKHVWUDWHJ\FKRVHQ$OOWUDIILFFRQWUROSODQVVKDOOFRQIRUPWRWKHODWHVWHGLWLRQ
    RIWKH087&'
    'HVFULSWLRQVIRUHDFKRIWKHZRUN]RQHPDQDJHPHQWVWUDWHJLHVDQGJXLGDQFHRQZKHQDQGKRZWRDSSO\WKHP
    DUHORFDWHGLQ6HFWLRQDQG$SSHQGL[%RI 'HYHORSLQJDQG,PSOHPHQWLQJ7UDQVSRUWDWLRQ0DQDJHPHQW3ODQV 703V 
    IRU:RUN=RQHV
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              Temporary Traffic Control
    7KH WHPSRUDU\ WUDIILF FRQWURO VHFWLRQ GLVFXVVHV WKH RYHUDOO WHPSRUDU\ WUDIILF FRQWURO VWUDWHJ\ XVHG IRU WKH
    SURMHFW LQFOXGLQJ FRQVWUXFWLRQ VWDJHV DQG SKDVHV ,W LV QRW LQWHQGHG WR EH D WUDIILF FRQWURO SODQ 7&3  RU D
    PHWKRGIRUKDQGOLQJWUDIILF 0+7 7KHLQIRUPDWLRQIRXQGLQWKLVVHFWLRQRIWKH703VKRXOGEHLQFRUSRUDWHG
    LQWRWKH7&3DVDSSURSULDWHE\WKH7UDIILF&RQWURO6XSHUYLVRU 7&6 
               &RQWURO6WUDWHJLHV
    7KLVFDWHJRU\LQFOXGHVYDULRXVWUDIILFFRQWURODSSURDFKHVXVHGWRDFFRPPRGDWHWUDQVSRUWDWLRQ V\VWHP
    XVHUVZLWKLQWKHZRUN]RQHRUWKHDGMRLQLQJFRUULGRULQDQHIILFLHQWDQGVDIHPDQQHU ZKLOHSURYLGLQJ
    DGHTXDWH DFFHVV WR WKH URDGZD\ IRU WKH UHTXLUHG FRQVWUXFWLRQ PDLQWHQDQFH RU XWLOLW\ ZRUN WR EH
    SHUIRUPHG
       &RQVWUXFWLRQ SKDVLQJVWDJLQJ  6WDJLQJ W\SLFDOO\ UHIHUV WR KRZ WKH FRQWUDFWRU ZLOO SRVLWLRQ WKH HTXLSPHQW
         DQG PDWHULDOV 3KDVLQJ UHIHUV WR WKH VHTXHQFLQJ RI WKH DVSHFWV RI D SURMHFW FRPSOHWLQJ SRUWLRQV RI WKH
         SURMHFWRQHSDUWDWDWLPH7KHLPSDFWVRIDZRUN]RQHRQWUDIILFPD\EHPLQLPL]HGE\XVLQJRSHUDWLRQDOO\
         VHQVLWLYHSKDVLQJDQGVWDJLQJWKURXJKRXWWKHOLIHRIWKHSURMHFW
       )XOOURDGZD\FORVXUHV7KLVVWUDWHJ\LQYROYHVFRPSOHWHFORVXUHRIWKHURDGZD\IRUYDULRXVWLPHSHULRGVWR
         PLQLPL]HWKHGXUDWLRQRIWKHSURMHFWDQGLPSURYHZRUNHUVDIHW\E\UHGXFLQJWUDIILFFRQIOLFWV)XOOFORVXUHV
         PD\EHEULHI HJLQWHUPLWWHQWRIISHDN VKRUWWHUP HJQLJKWZHHNHQG RUORQJWHUP HJFRQWLQXRXV
         IRUWKHGXUDWLRQRIWKHSURMHFW 
       /DQH VKLIWV RU FORVXUHV  /DQH VKLIWV RU FORVXUHV ODVW IRU YDU\LQJ GXUDWLRQV RI WLPH  7KH\ PD\ EH
         LQWHUPLWWHQW RIISHDN QLJKW ZHHNHQG IRU D VLQJOH SURMHFW SKDVH RU FRQWLQXRXV IRU WKH GXUDWLRQ RI WKH
         SURMHFW7KLVVWUDWHJ\LQYROYHVPXOWLSOHDSSURDFKHVLQFOXGLQJ
             5HGXFHGODQHZLGWKVWRPDLQWDLQQXPEHURIODQHV FRQVWULFWLRQ 7KLVLQYROYHVUHGXFLQJWKHZLGWKRI
               RQH RU PRUH ODQHV LQ RUGHU WR PDLQWDLQ WKH H[LVWLQJ QXPEHU RI ODQHV RQ WKH IDFLOLW\ ZKLOH SHUPLWWLQJ
               ZRUNDFFHVVWRSDUWRIWKHIDFLOLW\
             /DQH FORVXUHV WR SURYLGH ZRUNHU VDIHW\  7KLV VWUDWHJ\ FORVHV RQH RU PRUH H[LVWLQJ WUDIILF ODQHV WR
               DFFRPPRGDWHZRUNDFWLYLWLHV
             5HGXFHGVKRXOGHUZLGWKWRPDLQWDLQQXPEHURIODQHV7KLVLQYROYHVUHGXFLQJWKHZLGWKRIWKHLQVLGH
               DQGRURXWVLGHVKRXOGHUWRPDLQWDLQWKHH[LVWLQJQXPEHURIODQHVRQWKHIDFLOLW\ZKLOHDOORZLQJDFFHVV
               IRUWKHZRUNDFWLYLWLHVWRWDNHSODFH
             6KRXOGHU FORVXUHV WR SURYLGH ZRUNHU VDIHW\  7KLV VWUDWHJ\ FORVHV WKH VKRXOGHU IRU XVH E\ WKH SXEOLF
               PDNLQJLWDYDLODEOHWRDFFRPPRGDWHWKHZRUNDFWLYLWLHV
             /DQHVKLIWWRVKRXOGHUPHGLDQWRPDLQWDLQQXPEHURIODQHV7KLVVWUDWHJ\LQYROYHVGLYHUWLQJWUDIILFRQWR
               WKHVKRXOGHURUDSRUWLRQRIWKHVKRXOGHUIRUXVHDVDWUDIILFODQH
       2QHODQHWZRZD\RSHUDWLRQ2QHODQHWZRZD\WUDIILFFRQWUROLQYROYHVXVLQJRQHODQHIRUERWKGLUHFWLRQV
         RIWUDIILFDOORZLQJZRUNDFWLYLWLHVWRRFFXULQWKHRWKHUODQHWKDWLVQRZFORVHG
       7ZRZD\ WUDIILF RQ RQH VLGH RI GLYLGHG IDFLOLW\ FURVVRYHU  7KLV VWUDWHJ\ LQYROYHV FORVLQJ RQH VLGH RI D
         GLYLGHGIDFLOLW\WRSHUPLWWKHZRUNWRSURFHHGZLWKRXWWUDIILFLQWHUIHUHQFHZKLOHERWKGLUHFWLRQVRIWUDIILFDUH
         DFFRPPRGDWHGRQWKHRSSRVLQJVLGHRIWKHURDGZD\
       1LJKWZRUN:RUNLVSHUIRUPHGDWQLJKW HQGRIHYHQLQJSHDNSHULRGWREHJLQQLQJRUPRUQLQJSHDNSHULRG 
         WRPLQLPL]HZRUN]RQHLPSDFWVRQWUDIILFDQGDGMDFHQWEXVLQHVVHV
       :HHNHQGZRUN&RQVWUXFWLRQZRUN DOORULQGLYLGXDOSKDVHV LVUHVWULFWHGWRZHHNHQGSHULRGVIURPWKHHQG
         RIWKH)ULGD\DIWHUQRRQSHDNSHULRGWRWKHEHJLQQLQJRIWKH0RQGD\PRUQLQJSHDNSHULRG
       7HPSRUDU\SDYHPHQW



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       :RUN KRXU UHVWULFWLRQV IRU SHDN WUDYHO 7KLV LQYROYHV UHVWULFWLQJ ZRUN KRXUV VXFK WKDW ZRUN WKDW LPSDFWV
         WUDIILF GRHV QRW RFFXU GXULQJ SHULRGV RI SHDN WUDYHO GHPDQG DQG FRQJHVWLRQ HJ SHDN KRXUV KROLGD\V
         VSHFLDOHYHQWV 
       3HGHVWULDQELF\FOHDFFHVVLPSURYHPHQWV7KLVVWUDWHJ\LQYROYHVSURYLGLQJDOWHUQDWHIDFLOLWLHVIRUELF\FOLVWV
         DQGSHGHVWULDQV LQFOXGLQJWKRVHZLWKGLVDELOLWLHVLQDFFRUGDQFHZLWKWKH$PHULFDQVZLWK'LVDELOLWLHV$FWRI
          LQSODFHVZKHUHWKHZRUN]RQHLPSDFWVWKHLUDFFHVVLELOLW\
       %XVLQHVV DFFHVV LPSURYHPHQWV 6RPH SURMHFWV ZLOO KDYH D GLUHFW LPSDFW RQ EXVLQHVVHV SDUWLFXODUO\ WR
         DFFHVVLELOLW\  $FFHVVLELOLW\ LPSURYHPHQWV IRU EXVLQHVVHV PD\ LQFOXGH VLJQDJH RU LQIRUPDWLRQ WR GLUHFW
         PRWRULVWVWRWKHEXVLQHVV HV DQGRUUHORFDWLRQRIDFFHVVORFDWLRQV
       2IIVLWH GHWRXUVXVH RI DOWHUQDWH URXWHV 7KLV VWUDWHJ\ LQYROYHV UHURXWLQJ VRPH RU DOO WUDIILF RII RI WKH
         URDGZD\XQGHUFRQVWUXFWLRQDQGWRRWKHUH[LVWLQJURDGZD\V
    7UDIILF&RQWURO'HYLFHV
    7KH FRQWUDFWRU VKDOO HPSOR\ D FHUWLILHG 7UDIILF &RQWURO 6XSHUYLVRU 7&6  WR GHYHORS D SURMHFW 7&3
    LQFRUSRUDWLQJ WKH 087&' VWDQGDUGV JXLGHOLQHV DQG RWKHU LQIRUPDWLRQ SHUWDLQLQJ WR LQVWDOOLQJ
    PDLQWDLQLQJ DQG RSHUDWLQJ WUDIILF FRQWURO GHYLFHV RQ VWUHHWV DQG KLJKZD\V 3DUW  RI WKH 087&'
    ³7HPSRUDU\7UDIILF&RQWURO´DGGUHVVHVVDIHW\PRELOLW\DQGFRQVWUXFWDELOLW\LVVXHVLQZRUN]RQHVDQG
    LVDSSOLFDEOHWRDOOW\SHVRIURDGZD\ZRUNIURPPDMRUFRQVWUXFWLRQRQKLJKYROXPHIUHHZD\VWRPLQRU
    PDLQWHQDQFHRQUHVLGHQWLDOVWUHHWVDQGHYHU\WKLQJLQEHWZHHQ
    7UDIILFFRQWUROGHYLFHVDQGRWKHUVDIHW\GHYLFHVXVHGIRUZRUN]RQHVLQFOXGH
       7HPSRUDU\VLJQV
       9DULDEOHPHVVDJHVLJQV 906 
       $UURZSDQHOV
       &KDQQHOL]LQJGHYLFHV
       7HPSRUDU\SDYHPHQWPDUNLQJV
       )ODJJHUVDQGXQLIRUPHGWUDIILFFRQWURORIILFHUV
    3URMHFW&RRUGLQDWLRQ&RQWUDFWLQJDQG,QQRYDWLYH&RQVWUXFWLRQ6WUDWHJLHV
       3URMHFW FRRUGLQDWLRQ  3URMHFW FRRUGLQDWLRQ VWUDWHJLHV KDYLQJ WKH SRWHQWLDO WR UHGXFH PRELOLW\ DQG VDIHW\
         LPSDFWVRIZRUN]RQHDFWLYLWLHVLQFOXGH
            &RRUGLQDWLRQZLWKRWKHUSURMHFWV7KLVLQYROYHVFRRUGLQDWLQJVHTXHQFLQJDQGVFKHGXOLQJSURMHFWVWR
              PLQLPL]HPRWRULVWGHOD\DQGLPSDFWVWRSRWHQWLDOO\DIIHFWHGEXVLQHVVHVDQGFRPPXQLWLHV
            8WLOLWLHVFRRUGLQDWLRQ7KLVLQYROYHVFRRUGLQDWLQJDQGVFKHGXOLQJXWLOLW\ZRUNERWKZLWKLQWKHLPSDFWHG
              ZRUN ]RQH DUHD DQG QHDU WKH SURMHFW WR PLQLPL]H SRWHQWLDO ZRUN GLVUXSWLRQV RU LQWHUUXSWLRQV GXH WR
              XWLOLW\ZRUNDQGUHGXFHRYHUDOOFRQVWUXFWLRQGXUDWLRQ&RRUGLQDWLRQFDQDOVRUHGXFHWKHUHFXUUHQFHRI
              ZRUN]RQHVE\GRLQJWZRMREVWRJHWKHU)RUH[DPSOHWKHLQVWDOODWLRQRIDFRPPXQLFDWLRQVFRQGXLW IRU
              WUDIILFPDQDJHPHQW,76HWF DORQJDKLJKZD\FRUULGRUPD\FRLQFLGHZLWKDSDYHPHQWUHFRQVWUXFWLRQ
              SURMHFWRQWKDWKLJKZD\
            5LJKWRIZD\ FRRUGLQDWLRQ  ,QFUHDVHG FRQVLGHUDWLRQ RI SRWHQWLDO ULJKWRIZD\ QHHGV DQG LVVXHV PD\
              KHOSUHGXFHSURMHFWGHOD\VDQGGXUDWLRQ
            &RRUGLQDWLRQZLWKRWKHUWUDQVSRUWDWLRQLQIUDVWUXFWXUH&RRUGLQDWLRQZLWKQRQKLJKZD\WUDQVSRUWDWLRQ
              IDFLOLWLHVVXFKDVWUDQVLWMXQFWLRQVUDLOURDGFURVVLQJVDQGLQWHUPRGDOIDFLOLWLHVFDQKHOSPLQLPL]HWUDIILF
              GLVUXSWLRQV
       &RQWUDFWLQJ VWUDWHJLHV  7KHVH VWUDWHJLHV W\SLFDOO\ LQYROYH FRQWUDFWXDO DJUHHPHQWV WR UHGXFH WKH SURMHFW
         GXUDWLRQRUWUDIILFLPSDFWVLQFOXGLQJ


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             'HVLJQEXLOG  7KLV VWUDWHJ\ LQYROYHV WKH XVH RI RQH FRQWUDFW WR GHVLJQ DQG EXLOG WKH SURMHFW WKXV
               UHGXFLQJSURMHFWGXUDWLRQE\DOORZLQJFRQVWUXFWLRQWREHJLQSULRUWRGHVLJQFRPSOHWLRQ
             $% ELGGLQJ  $% ELGGLQJ HQFRXUDJHV FRQWUDFWRUV WR PLQLPL]H FRQVWUXFWLRQ LPSDFWV E\ UHGXFLQJ
               FRQVWUXFWLRQWLPH3DUW$UHIHUVWRWKHFRQWUDFWRU¶VELGIRUWKHDFWXDOLWHPVRIZRUNDQG3DUW%LVWKH
               WRWDORIWKHQXPEHURIGD\VELGWRFRPSOHWHWKHSURMHFWPXOWLSOLHGE\WKHGDLO\URDGXVHUFRVWVWLSXODWHG
               LQ WKH FRQWUDFW 7KH FRPELQHG YDOXHV RI WKH $ DQG % SRUWLRQV GHWHUPLQH WKH ZLQQLQJ ELG 7KH
               FRQWUDFWRU¶VSD\PHQWLVEDVHGRQERWK3DUW$DQGWKHDFWXDOQXPEHURIGD\VXVHGXQGHU3DUW%
             ,QFHQWLYHGLVLQFHQWLYHFODXVHV7KLVVWUDWHJ\LQYROYHVWKHXVHRILQFHQWLYHVDQGRUGLVLQFHQWLYHVLQWKH
               FRQVWUXFWLRQFRQWUDFWWRPLQLPL]HFRQVWUXFWLRQGXUDWLRQ
       ,QQRYDWLYHFRQVWUXFWLRQ WHFKQLTXHV SUHFDVW PHPEHUV UDSLG FXUHPDWHULDOV   7KHVHVWUDWHJLHV LQYROYHWKH
         XVHRIVSHFLDOPDWHULDOVVXFKDVTXLFNFXULQJFRQFUHWHRUSUHFDVWLWHPV HJFXOYHUWVEULGJHGHFNVODEVDQG
         SDYHPHQWVODEV WRPLQLPL]HWKHGXUDWLRQRIFRQVWUXFWLRQRUPDLQWHQDQFHDFWLYLWLHVZKHUHWUDIILFUHVWULFWLRQV
         QHHGWREHPLQLPL]HG HJURDGZD\VZLWKKLJKYROXPHV DQGZKHQZRUNDFWLYLWLHVQHHGWREHFRPSOHWHG
         GXULQJQLJKWRUZHHNHQGSHULRGVWRDOORZUHRSHQLQJWUDYHOODQHVIRUQRUPDOZHHNGD\WUDYHO
              Traffic Operations
    7UDQVSRUWDWLRQ RSHUDWLRQV VWUDWHJLHV DUH XVHG WR PLWLJDWH ZRUN ]RQH LPSDFWV WKURXJK WKH XVH RI LPSURYHG
    WUDQVSRUWDWLRQRSHUDWLRQVDQGPDQDJHPHQWRIWKHWUDQVSRUWDWLRQV\VWHP72VWUDWHJLHVW\SLFDOO\LQFOXGHGHPDQG
    PDQDJHPHQW FRUULGRUQHWZRUN PDQDJHPHQW ZRUN ]RQH VDIHW\ PDQDJHPHQW VWUDWHJLHV DQG WUDIILFLQFLGHQW
    PDQDJHPHQWDQGHQIRUFHPHQWVWUDWHJLHV
               'HPDQG0DQDJHPHQW6WUDWHJLHV
    'HPDQG PDQDJHPHQW VWUDWHJLHV LQFOXGH D ZLGH UDQJH RI WHFKQLTXHV LQWHQGHG WR UHGXFH WKH YROXPH RI WUDIILF
    WUDYHOLQJWKURXJKWKHZRUN]RQHE\VXFKPHDQVDVGLYHUWLQJWUDYHOHUVWRDOWHUQDWHPRGHVVKLIWLQJWULSVWRRII
    SHDNKRXUVRUVKLIWLQJYHKLFOHVWRDOWHUQDWHURXWHV7KHVHVWUDWHJLHVLQFOXGH
       7UDQVLW VHUYLFH LPSURYHPHQWV :KHUH DSSURSULDWH WUDQVLW VHUYLFH LPSURYHPHQWV PD\ LQFOXGH WKH
         PRGLILFDWLRQ RI WUDQVLW VFKHGXOHV DQGRU URXWHV LQFUHDVHV LQ IUHTXHQF\ RU WKH HVWDEOLVKPHQW RI WUDQVLW
         VHUYLFHLQWKHFRUULGRU
       6KXWWOHVHUYLFHV6KXWWOHVDQGFKDUWHUEXVHVFDQUHGXFHWUDIILFYROXPHVWKURXJKDZRUN]RQHLIDVXIILFLHQW
         QXPEHURIXVHUVDORQJWKHFRUULGRUDUHDQWLFLSDWHGWRXVHWKHVHUYLFH
               &RUULGRU1HWZRUN0DQDJHPHQW6WUDWHJLHV
    7KLVFDWHJRU\LQFOXGHVVWUDWHJLHVWRRSWLPL]HWUDIILFIORZWKURXJKWKHZRUN]RQHFRUULGRUDQGDGMDFHQWURDGZD\V
    XVLQJYDULRXVWUDIILFRSHUDWLRQVWHFKQLTXHVDQGWHFKQRORJLHVLQFOXGLQJ
       6LJQDOWLPLQJFRRUGLQDWLRQLPSURYHPHQWV7KLVLQYROYHVUHWLPLQJWUDIILFVLJQDOVWRLQFUHDVHWKURXJKSXWRI
         WKHURDGZD\ V LPSURYHWUDIILFIORZDQGRSWLPL]HLQWHUVHFWLRQFDSDFLW\LQDQGDURXQGWKHZRUN]RQH
       7HPSRUDU\WUDIILFVLJQDOV7KHLQVWDOODWLRQRIWHPSRUDU\WUDIILFVLJQDOVFDQEHXVHGWRLPSURYHWUDIILFIORZ
         WKURXJK DQG QHDU WKH ZRUN ]RQH $W D FRUULGRU RU QHWZRUN OHYHO XVLQJ WHPSRUDU\ WUDIILF VLJQDOV LV PRUH
         HIIHFWLYHWKDQVWRSVLJQVRUIODJJHUVIRUSURYLGLQJPRELOLW\WKURXJKWKHZRUN]RQHDUHD7KHVHWHPSRUDU\
         WUDIILFVLJQDOVPD\DOVREHFRRUGLQDWHGZLWKH[LVWLQJVLJQDOV
       7XUQUHVWULFWLRQV7KLVLQYROYHVUHVWULFWLQJWXUQPRYHPHQWVIRUGULYHZD\VDQGRULQWHUVHFWLRQVWRLQFUHDVH
         URDGZD\FDSDFLW\UHGXFHSRWHQWLDOFRQJHVWLRQDQGGHOD\VDQGLPSURYHVDIHW\5HVWULFWLRQVPD\EHDSSOLHG
         GXULQJSHDNSHULRGVRUDOOGD\
       3DUNLQJUHVWULFWLRQV7KLVVWUDWHJ\LQYROYHVWKHHOLPLQDWLRQRISDUNLQJLQDOORUSDUWRIWKHZRUN]RQHDQGRU
         DOWHUQDWHURXWHVRUSDUNLQJUHVWULFWLRQVGXULQJZRUNKRXUVRUSHDNWUDIILFSHULRGV3DUNLQJUHVWULFWLRQVFDQ
         EH XVHG WR LQFUHDVH FDSDFLW\ E\ FRQYHUWLQJ WKH SDUNLQJ ODQH WR DQ DGGLWLRQDO WUDYHO ODQH UHGXFH WUDIILF
         FRQIOLFWVRUSURYLGHLPSURYHGDFFHVVWRWKHZRUNDUHD
       7UXFNKHDY\YHKLFOHUHVWULFWLRQV7KLVVWUDWHJ\ZKLFKLPSRVHVUHVWULFWLRQVRQWUXFNWUDYHOWKURXJKWKHZRUN
         ]RQHHLWKHUGXULQJVSHFLILFSHULRGVRUDWDOOWLPHVFDQLQFUHDVHSDVVHQJHUYHKLFOHFDSDFLW\RIWKHURDGZD\
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         ZKHQDIDFLOLW\QRUPDOO\KDVDKLJKWUXFNYROXPH:KHQXVLQJWKLVVWUDWHJ\WKHUHTXLUHPHQWVRI&)5
         3DUW G   DQG J PXVWEHIROORZHG
       &RRUGLQDWLRQZLWKDGMDFHQWFRQVWUXFWLRQVLWH V 7KLVLQYROYHVFRPELQLQJRUFRRUGLQDWLQJSURMHFWVZLWKLQD
         VSHFLILFFRUULGRUWRPLQLPL]HWKHFRPELQHGLPSDFWVRQWKHPRWRULQJSXEOLFDQGFRPPXQLW\&RRUGLQDWLRQ
         W\SLFDOO\LQYROYHVVFKHGXOLQJSURMHFWVZLWKLQDFRUULGRUWRHQVXUHWKDWDGHTXDWHFDSDFLW\UHPDLQVDYDLODEOH
         WR DFFRPPRGDWH WKH DQWLFLSDWHG WUDYHO GHPDQG ZLWKLQ WKH FRUULGRU E\ QRW LPSOHPHQWLQJ ZRUN ]RQHV RQ
         DGMDFHQW RU SDUDOOHOKLJKZD\V DW WKH VDPHWLPH 7KLV PD\HQWDLO FRPPXQLFDWLQJ DERXW WKH WLPLQJ RI ODQH
         FORVXUHVDQGRFFXUUHQFHRILQFLGHQWVDQGFRRUGLQDWLQJGLYHUVLRQURXWHV,WPD\DOVRLQYROYHWKHFRPSOHWLRQ
         RI QHHGHG FDSDFLW\ DQG VDIHW\ LPSURYHPHQWV RQ D KLJKZD\ SULRU WR LWV XVH WR FDUU\ WUDIILF GLYHUWHG RU
         GHWRXUHGIURPDQRWKHUSURMHFW
             :RUN=RQH6DIHW\0DQDJHPHQW6WUDWHJLHV
    7KLVFDWHJRU\LQFOXGHVGHYLFHVIHDWXUHVDQGPDQDJHPHQWSURFHGXUHVXVHGWRDGGUHVVWUDIILFVDIHW\FRQFHUQVLQ
    ZRUN]RQHV:RUN]RQHVDIHW\PDQDJHPHQWVWUDWHJLHVLQFOXGH
       6SHHG OLPLW UHGXFWLRQYDULDEOH VSHHG OLPLWV $ UHGXFHG VSHHG OLPLW PD\ LPSURYH WUDIILF VDIHW\ LQ D ZRUN
         ]RQHDQGKHOSSURWHFWZRUNHUV6SHHGOLPLWUHGXFWLRQVPD\EHLPSOHPHQWHGWKURXJKDQHQWLUHZRUN]RQH
         RU RQO\ LQ DFWLYH ZRUN DUHDV RU DGMDFHQW WR ZRUNHUV  5HGXFHG VSHHG OLPLWV PD\ DOVR EH DSSURSULDWH RQ
         GHWRXUVZKHUHWUDIILFYROXPHVDQGFRQIOLFWVDUHLQFUHDVHG
       7HPSRUDU\ WUDIILF VLJQDOV 7KLV LQYROYHV WKH LQVWDOODWLRQ RI WHPSRUDU\ WUDIILF VLJQDOV WR DGGUHVV VDIHW\
         FRQFHUQV,QVRPHZRUN]RQHVWHPSRUDU\WUDIILFVLJQDOVFDQEHXVHGLQSODFHRIWUDIILFFRQWURORIILFHUVRU
         IODJJHUVZKLFKFDQLQFUHDVHVDIHW\E\UHPRYLQJWKHVHSHUVRQQHOIURPWKHURDGZD\
       7HPSRUDU\ WUDIILF EDUULHU 7HPSRUDU\ WUDIILF EDUULHUV SURYLGH SRVLWLYH SK\VLFDO VHSDUDWLRQ EHWZHHQ WUDYHO
         ODQHVDQGWKHDGMDFHQWZRUNVSDFHRUEHWZHHQRSSRVLQJWUDYHOODQHV6FUHHQVPD\EHPRXQWHGRQWKHWRS
         RIWHPSRUDU\WUDIILFEDUULHUVWRGLVFRXUDJHJDZNLQJDQGUHGXFHKHDGOLJKWJODUH
       0RYDEOH WUDIILF EDUULHU V\VWHPV 7KLV V\VWHP FRQVLVWV RI D PHFKDQLFDO WUDQVIHU PDFKLQH ZKLFK TXLFNO\
         VKLIWVWHPSRUDU\EDUULHUODWHUDOO\XSWRWKHIXOOZLGWKRIDWUDYHOODQHZKLOHERWKWKHWUDQVIHURSHUDWLRQDQG
         WUDIILFLQWKHZRUN]RQHDUHSURWHFWHG7KLVV\VWHPSHUPLWVWKHUDSLGDQGVDIHUHFRQILJXUDWLRQRIWKHWUDIILF
         EDUULHU V\VWHP DOORZLQJ GDLO\ RSHQLQJ DQG FORVLQJ RI ODQHV IRU UHYHUVLEOHODQH RSHUDWLRQV DQG WR SURYLGH
         DGGLWLRQDOVSDFHIRUWKHFRQWUDFWRUWRZRUNGXULQJRIISHDNFRQGLWLRQV
       &UDVKFXVKLRQV$OVRNQRZQDVDQLPSDFWDWWHQXDWRUDFUDVKFXVKLRQLVDIL[HGRUPRELOHEDUULHUXVHGWR
         SURWHFW D WHPSRUDU\ KD]DUG RU SUHYHQW YHKLFOH LQWUXVLRQ LQWR WKH ZRUNVSDFH RU RWKHU KD]DUGRXV DUHD  ,W
         ZRUNVE\JUDGXDOO\GHFHOHUDWLQJWKHYHKLFOHWRDVWRSRUE\UHGLUHFWLQJWKHYHKLFOHDZD\IURPWKHKD]DUG
       7HPSRUDU\UXPEOH VWULSV5XPEOHVWULSV DUH JURRYHVRUUDLVHG VWULSV SODFHG DFURVV RUDGMDFHQWWR DWUDYHO
         ODQHWRDOHUWPRWRULVWVWRDFKDQJHLQURDGZD\FRQGLWLRQVRUWKDWWKH\KDYHVWUD\HGRXWRIWKHWUDYHOODQH
       ,QWUXVLRQDODUPV7KLVVWUDWHJ\LQYROYHVWKHXVHRIYDULRXVW\SHVRIVHQVRUVWRGHWHFWYHKLFOHVWKDWVWUD\RXW
         RIWKHWUDYHOODQHDSSURDFKLQJRUDGMDFHQWWRWKHZRUNVSDFHDQGLQWRWKHZRUNDUHD:KHQDQLQWUXVLRQLV
         GHWHFWHGDORXGVLUHQDQGRUIODVKLQJOLJKWVSURYLGHDZDUQLQJWRZRUNHUV
       :DUQLQJOLJKWV9DULRXVW\SHVRIZDUQLQJOLJKWVDVGHVFULEHGLQWKH087&'DUHDYDLODEOHWRDOHUWGULYHUV
         DQGSHGHVWULDQVDQGGUDZDWWHQWLRQWRFULWLFDOVLJQVFKDQQHOL]LQJGHYLFHVDQGRWKHUZRUN]RQHIHDWXUHV
       703 PRQLWRULQVSHFWLRQ WHDP 7KLVVWUDWHJ\LQYROYHV WKH HVWDEOLVKPHQW RI DWHDP RU SHUVRQ  WRPRQLWRU
         DQGLQVSHFWLPSOHPHQWDWLRQDQGPRQLWRULQJRIWKHZRUN]RQHWUDQVSRUWDWLRQPDQDJHPHQWVWUDWHJLHV
             7UDIILF,QFLGHQW0DQDJHPHQWDQG(QIRUFHPHQW6WUDWHJLHV
    7KLV FDWHJRU\ LQFOXGHV YDULRXV VWUDWHJLHV WR PDQDJH ZRUN ]RQH WUDIILF RSHUDWLRQV :RUN ]RQH WUDIILF
    PDQDJHPHQWVWUDWHJLHVLQYROYHPRQLWRULQJWUDIILFFRQGLWLRQVDQGPDNLQJDGMXVWPHQWVWRWUDIILFRSHUDWLRQVEDVHG
    RQFKDQJLQJFRQGLWLRQV6RPHRIWKRVHFKDQJLQJFRQGLWLRQVLQYROYHWUDIILFLQFLGHQWVVRWKLVFDWHJRU\DOVRORRNV
    DWPDQDJHPHQWVWUDWHJLHVWKDWKDYHVSHFLILFDSSOLFDELOLW\WRWUDIILFLQFLGHQWV6WUDWHJLHVLQWKLVDUHDLQFOXGH


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       0LOHSRVW PDUNHUV 0LOHSRVW PDUNHUV FRQVLVW RI D VLJQ ORFDWHG LQ WKH PHGLDQ RU VKRXOGHU ZKLFK OLVWV
         ORFDWLRQLQIRUPDWLRQ GLUHFWLRQURXWHPLOHDQGWHQWKVRIDPLOH 6RPHDUHDVPD\UHIHUWRWKHVHDVORFDWLRQ
         UHIHUHQFHPDUNHUVVLQFHWKH\FDQEHXVHGWRPDUNGLUHFWLRQURXWHEULGJHRURYHUSDVVQDPHVLQWHUVHFWLRQ
         QDPHVHWFLQDGGLWLRQWRPLOHDJHLQIRUPDWLRQ
       /RFDO GHWRXU URXWHV $GYDQFH LGHQWLILFDWLRQ DQG DSSURYDODXWKRUL]DWLRQ RI ORFDO GHWRXU URXWHV LV DQ
         HVSHFLDOO\ XVHIXO VWUDWHJ\ WR DGGUHVV PDMRU WUDIILF GHOD\V DQG LQFLGHQWV SDUWLFXODUO\ IRU KLJK YROXPH DQG
         LQFLGHQWSURQHZRUN]RQHV
       ,QFLGHQWHPHUJHQF\PDQDJHPHQWFRRUGLQDWLRQ7KLVVWUDWHJ\SURYLGHVDGHVLJQDWHGLQGLYLGXDOZLWKRYHUDOO
         UHVSRQVLELOLW\ IRU LQFLGHQW DQG HPHUJHQF\ PDQDJHPHQW RQ D SURMHFW  5HVSRQVLELOLWLHV PD\ LQFOXGH
         GHYHORSLQJ LQFLGHQW DQGRU HPHUJHQF\ UHVSRQVH SODQV RYHUVHHLQJ LPSOHPHQWDWLRQ DQG PRQLWRULQJ RI WKH
         ZRUN]RQHPDQDJHPHQWVWUDWHJLHVDQGRYHUDOOPDQDJHPHQWRILQFLGHQWVRUHPHUJHQFLHV
       ,QFLGHQWHPHUJHQF\ UHVSRQVH SODQ 7KLV LQYROYHV WKH GHYHORSPHQW RI D SODQ ZLWK LQIRUPDWLRQ QHHGHG WR
         UHVSRQG WR DQ LQFLGHQW  7KLV LQIRUPDWLRQ W\SLFDOO\LQFOXGHV UROHV DQG UHVSRQVLELOLWLHV UHVSRQVH DJHQFLHV
         SURFHVVHVSURFHGXUHV DFWLRQV WR WDNH IRU YDULRXV LQFLGHQW W\SHV DQG OHYHOV FRQWDFW LQIRUPDWLRQ DOWHUQDWH
         URXWHVSHUVRQQHODQGHTXLSPHQWLQIRUPDWLRQVWDJLQJDUHDORFDWLRQVDQGRWKHULQIRUPDWLRQDVDSSURSULDWHWR
         WKHLQGLYLGXDOSURMHFW
       'HGLFDWHG SDLG  SROLFH HQIRUFHPHQW 7KLV VWUDWHJ\ SURYLGHV SROLFH SDWUROV LQ WKH ZRUN ]RQH XQGHU D
         FRQWUDFWXDODUUDQJHPHQWZLWKWKHDJHQF\RUFRQWUDFWRU
       &RRSHUDWLYHSROLFHHQIRUFHPHQW&RRSHUDWLYHHQIRUFHPHQWLVVLPLODUWRGHGLFDWHGHQIRUFHPHQWH[FHSWLWLV
         LPSOHPHQWHGWKURXJKDFRRSHUDWLYHDJUHHPHQWEHWZHHQWKHSROLFHDQGDJHQF\
       $XWRPDWHG HQIRUFHPHQW $XWRPDWHG HQIRUFHPHQW LQYROYHV WKH XVH RI YDULRXV WHFKQRORJLHV VXFK DV UDGDU
         FDPHUDVYLGHRDQGVHQVRUVWRGHWHFWDQGUHFRUGYHKLFOHVSHHGRUWUDIILFVLJQDOYLRODWLRQV:KHQDYHKLFOH
         VSHHGH[FHHGVDVSHFLILHGWKUHVKROGRUDUHGVLJQDOYLRODWLRQRFFXUVWKHYHKLFOH¶VOLFHQVHSODWHDQGRUGULYHU
         DUHSKRWRJUDSKHG7KHFLWDWLRQZLWKWKHSKRWR V LVWKHQPDLOHGWRWKHUHJLVWHUHGRZQHURIWKHYHKLFOH
       ,QFUHDVHGSHQDOWLHVIRUZRUN]RQHYLRODWLRQV7KLVVWUDWHJ\LQYROYHVWKHLPSRVLWLRQRILQFUHDVHGSHQDOWLHV
         IRU VSHHGLQJ RU RWKHU YLRODWLRQV LQ ZRUN ]RQHV 6XFK SHQDOWLHV LQFOXGH LQFUHDVHG ILQHV LQFUHDVHG SRLQWV
         OLFHQVHVXVSHQVLRQDQGHYHQPDQGDWRU\SULVRQWHUPVIRUVHULRXVYLRODWLRQV
       (PHUJHQF\SXOORIIV
           Public Information and Outreach
    7KHSXEOLFLQIRUPDWLRQDQGRXWUHDFKVHFWLRQGLVFXVVHVWKHSXEOLFDZDUHQHVVDQGPRWRULVWLQIRUPDWLRQVWUDWHJLHV
    XWLOL]HGIRUWKHSURMHFW7KHLQIRUPDWLRQSURJUDPLQIRUPVWKHSXEOLFRIWKHRYHUDOOSXUSRVHRIWKHSURMHFWVRDV
    WRJHQHUDWHDQGPDLQWDLQSXEOLFVXSSRUW7KHSURJUDPDOVRHQFRXUDJHVFKDQJHVLQGULYHUF\FOLVWDQGSHGHVWULDQ
    EHKDYLRUGXULQJWKHSURMHFWWRKHOSPLQLPL]HFRQJHVWLRQE\UHFRPPHQGLQJDOWHUQDWHURXWHVGXULQJFRQVWUXFWLRQ
    7KHSXEOLFLQIRUPDWLRQFDPSDLJQPD\QHHGWRVWDUWSULRUWRSURMHFWFRQVWUXFWLRQ7KHSXUSRVHRIWKLVDSSURDFK
    LVWRPDNHWKHSXEOLFDZDUHRIWKHSURMHFWDQGSRWHQWLDOLPSDFWVSULRUWRFRQVWUXFWLRQDQGWRLQIRUPWKHSXEOLF
    DERXW WKH FRQVWUXFWLRQ VWDWXV DQG WKH DYDLODEOH 703 SURJUDP HOHPHQWV VXFK DV DOWHUQDWLYH WUDYHO URXWHV
    DGGLWLRQDOVKXWWOHVHUYLFHRULPSURYHGWUDQVLWVHUYLFHV
    7KHVHVWUDWHJLHVLQFOXGHERWKSXEOLFDZDUHQHVVVWUDWHJLHVDQGPRWRULVWLQIRUPDWLRQVWUDWHJLHV
             3XEOLF$ZDUHQHVV6WUDWHJLHV
    3XEOLF DZDUHQHVV VWUDWHJLHV LQFOXGH YDULRXV PHWKRGV WR HGXFDWH DQG UHDFK RXW WR WKH SXEOLF EXVLQHVVHV
    DQGWKHFRPPXQLW\FRQFHUQLQJWKHURDGSURMHFWDQGZRUN]RQH
       %URFKXUHV DQGPDLOHUV %URFKXUHVDQG PDLOHUVDUH SULQWHGPDWHULDOFRQWDLQLQJ SURMHFWUHODWHG LQIRUPDWLRQ
         VXFKDVDGYDQFHGQRWLFHRIWKHSURMHFW¶VVWDUWGDWHVFKHGXOHVSLFWXUHVJUDSKLFVRIWKHSURMHFWDGHVFULSWLRQ
         RIWKHQHHGIRUWKHSURMHFWDOWHUQDWLYHURXWHVHWF7KHVHPD\EHSDVVHGRXWWRPRWRULVWVDWNH\ORFDWLRQV
          HJ ODUJH HPSOR\HUV LQ WKH SURMHFW DUHD UHVW VWRSV WUDYHO LQIRUPDWLRQ FHQWHUV  YLD DXWRPRELOH
         DVVRFLDWLRQVRUPDLOHGWRDIIHFWHGEXVLQHVVHVRUFRPPXQLWLHV
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       3UHVVUHOHDVHVPHGLDDOHUWV7KLVVWUDWHJ\SURYLGHVSURMHFWUHODWHGLQIRUPDWLRQWRWKHQHZVPHGLDDIIHFWHG
         EXVLQHVVHVDQGRWKHUDIIHFWHGRULQWHUHVWHGSDUWLHVXVLQJSULQWDQGRUHOHFWURQLFPHGLD
       3DLG DGYHUWLVHPHQWV 3DLG DQQRXQFHPHQWV RI DQ XSFRPLQJ PDMRU SURMHFW PD\ XVH QHZVSDSHU UDGLR DQG
         WHOHYLVLRQ DGV DV ZHOO DV ELOOERDUGV  3DLG DGYHUWLVHPHQWV FDQ DOVR EH XVHG IRU SURJUHVV XSGDWHV RU WR
         SURYLGHLQIRUPDWLRQUHJDUGLQJPDMRUFKDQJHVWRWKHZRUN]RQHFRQILJXUDWLRQDQGPDQDJHPHQWDSSURDFK
       3XEOLFLQIRUPDWLRQFHQWHU7KLVLVDIDFLOLW\W\SLFDOO\ORFDWHGRQRUQHDUWKHSURMHFWVLWHWKDWFRQWDLQVVXFK
         PDWHULDOVDVVFDOHPRGHOGLVSOD\VPDSVEURFKXUHVYLGHRVHWFGHVFULELQJWKHSURMHFWLWVSRWHQWLDOLPSDFWV
         DQGDYDLODEOHDOWHUQDWLYHVWRPLQLPL]HWKHLPSDFWV
       7HOHSKRQH KRWOLQH  7KLV WUDYHOHU LQIRUPDWLRQ V\VWHP SURYLGHV WUDIILF RU WUDYHO LQIRUPDWLRQ IRU WKH ZRUN
         ]RQHXVLQJDWROOIUHHWHOHSKRQHQXPEHU,WFDQLQFOXGHSUHUHFRUGHGPHVVDJHVDQGRUUHDOWLPHLQWHUDFWLYH
         UHTXHVWDQGUHVSRQVHLQIRUPDWLRQ
       3ODQQHG ODQH FORVXUH ZHE VLWH 7KLV VWUDWHJ\ LV W\SLFDOO\ QRW IRU RQH VSHFLILF SURMHFW EXW LV XVXDOO\
         LPSOHPHQWHG IRU DQ HQWLUH 6WDWH GLVWULFW RU JHRJUDSKLF UHJLRQ 7KH ZHE SDJH VXPPDUL]HV SODQQHG ODQH
         FORVXUHVIRUSXEOLFLQIRUPDWLRQOLVWLQJWKHURXWHVLQYROYHGDVZHOODVWKHFORVXUHVWDUWDQGHQGGDWHVERWKLQ
         WH[WDQGJUDSKLFDOIRUP
       3URMHFWZHEVLWH7KLVWUDYHOHULQIRUPDWLRQV\VWHPSURYLGHVWUDIILFRUWUDYHOLQIRUPDWLRQIRUWKHZRUN]RQH
         YLD WKH ZHE,QWHUQHW  ,W FDQ LQFOXGH ERWK ORQJ WHUP VWDWLF LQIRUPDWLRQ DQGRU UHDOWLPH LQWHUDFWLYH
         LQIRUPDWLRQ
       &RRUGLQDWLRQ ZLWK VFKRROVEXVLQHVVHVHPHUJHQF\ VHUYLFHV  7KLV VWUDWHJ\ LQYROYHV FRRUGLQDWLQJ ZLWK
         YDULRXVFRPPXQLW\DQGEXVLQHVVPHGLDJURXSVWKDWDUHOLNHO\WREHLPSDFWHGE\WKHZRUN]RQHRUWKDW
         FDQGLVVHPLQDWHQHHGHGLQIRUPDWLRQ([DPSOHVRIWKHVHJURXSVLQFOXGHVFKRROVDQGVFKRROGLVWULFWVORFDO
         PDMRU HPSOR\HUVEXVLQHVVHV DQG ORFDO HPHUJHQF\ VHUYLFHV ILUH SROLFH DQG DPEXODQFH   9DULRXV
         PHFKDQLVPVVXFKDVID[HPDLOSKRQHPHVVDJHPDLOLQJVHWFFDQEHHVWDEOLVKHGWRFRPPXQLFDWHSURMHFW
         UHODWHG LQIRUPDWLRQ LQFOXGLQJ VWDUW GDWHV SURMHFW VFKHGXOHV VLJQLILFDQW WUDIILF SDWWHUQ FKDQJHV DQG WUDIILF
         FUDVKHVDQGLQFLGHQWVZLWKLQWKHZRUN]RQH
       9LVXDO LQIRUPDWLRQ YLGHRV VOLGHV SUHVHQWDWLRQV  IRU PHHWLQJV RU IRU ZHE EDVHG GLVVHPLQDWLRQ 7KLV
         LQYROYHV WKH XVH RI YLGHRV VOLGHV DQG SUHVHQWDWLRQV WR VXSSOHPHQW SXEOLF PHHWLQJV SXEOLF LQIRUPDWLRQ
         FHQWHUGLVSOD\VRUSUHVVUHOHDVHV
             0RWRULVW,QIRUPDWLRQ6WUDWHJLHV
    7KHVH VWUDWHJLHV SURYLGH FXUUHQW DQGRU UHDOWLPH LQIRUPDWLRQ WR URDG XVHUV UHJDUGLQJ WKH SURMHFW ZRUN ]RQH
    0RWRULVWLQIRUPDWLRQVWUDWHJLHVLQFOXGH
       9DULDEOH PHVVDJH VLJQV 906  7KHVH DUH IL[HG RU SRUWDEOH PHVVDJH ERDUGV SODFHG DORQJ URDGZD\V WR
         QRWLI\URDGXVHUVRIODQHDQGURDGFORVXUHVZRUNDFWLYLWLHVLQFLGHQWVSRWHQWLDOZRUN]RQHKD]DUGVTXHXHV
         DQGVORZHGRUVWRSSHGWUDIILFDKHDGDQGWUDYHOWLPHRUGHOD\LQIRUPDWLRQDVZHOODVDOWHUQDWHURXWHVLQRU
         DURXQG WKH ZRUN ]RQH  906 FDQ EH SODFHG DW NH\ ORFDWLRQV EHIRUH SRWHQWLDO GLYHUVLRQ SRLQWV WR JLYH
         PRWRULVWV DQ RSSRUWXQLW\ WR GLYHUW WR DQ DOWHUQDWH URXWH RU WDNH RWKHU DSSURSULDWH PHDVXUHV EDVHG RQ WKH
         LQIRUPDWLRQ SURYLGHG  $V DQ HQIRUFHPHQW WRRO WKHVH VLJQV FDQ EH XVHG WR LQIRUP GULYHUV RI VSHHG OLPLW
         UHGXFWLRQVDQGHQIRUFHPHQWDFWLYLWLHVLQDZRUN]RQH
       7HPSRUDU\PRWRULVWLQIRUPDWLRQVLJQV7HPSRUDU\FRQYHQWLRQDOVLJQVPRXQWHGLQWKHJURXQGRYHUKHDGRU
         RQYHKLFOHVWRSURYLGHWUDYHOHULQIRUPDWLRQWRJXLGHPRWRULVWVWKURXJKWKHZRUN]RQHDQGZDUQRISRWHQWLDO
         KD]DUGV
       '\QDPLFVSHHGPHVVDJHVLJQ7KLVSRUWDEOHV\VWHPFDQEHPRXQWHGDVDIL[HGVLJQRUORFDWHGRQDSRUWDEOH
         WUDLOHU5DGDUPHDVXUHVWKHVSHHGRIDSSURDFKLQJYHKLFOHVZKLFKLVGLVSOD\HGRQWKHVLJQDORQJZLWKRUQHDU
         WKHZRUN]RQHVSHHGOLPLW7KHREMHFWLYHRIWKLVV\VWHPLVWRHQKDQFHVDIHW\E\UHGXFLQJVSHHGLQJDQGVSHHG
         YDULDWLRQV
       +LJKZD\LQIRUPDWLRQQHWZRUN ZHEEDVHG $KLJKZD\LQIRUPDWLRQQHWZRUNLVDZHEVLWHZKHUHPXOWLSOH
         VWDNHKROGHUJURXSVFDQSODFHLQIRUPDWLRQUHODWHGWRWKHURDGZD\7KHZHEVLWHLVVKDUHGDPRQJWKHYDULRXV
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         VWDNHKROGHUJURXSVHDFKZLWKWKHLURZQGDWDVWRUDJHDUHDV LQFOXGLQJFRQWURORIIXQFWLRQDOLW\VHFXULW\GDWD
         TXDOLW\HWF 
       7UDYHOHU LQIRUPDWLRQ V\VWHPV ZLUHOHVV KDQGKHOGV  7KLV VWUDWHJ\ SURYLGHV PRWRULVWV ZLWK ZRUN ]RQH
         UHODWHG LQIRUPDWLRQ VWDWLF HJ SURMHFW GDWHV  DQGRU UHDO WLPH HJ SRWHQWLDO GHOD\V  XVLQJ VXFK
         WHFKQRORJ\DVFHOOSKRQHVSDJHUVLQYHKLFOHV\VWHPVDQGHPDLOQRWLILFDWLRQV
       3URMHFWLQIRUPDWLRQKRWOLQH
       (PDLODOHUWV

         TMP Monitoring
    7KH7030RQLWRULQJVHFWLRQRXWOLQHVWKHUHTXLUHPHQWVIRUPRQLWRULQJWKHZRUN]RQHDQGWKH703,WLQFOXGHV
    ZKRLVUHVSRQVLEOHIRUPRQLWRULQJWDVNV
    0RQLWRULQJWKH SHUIRUPDQFH RI WKH ZRUN ]RQH DQG RI WKH 703 GXULQJ FRQVWUXFWLRQ LVLPSRUWDQW WR VHH LI WKH
    SUHGLFWHG LPSDFWV FORVHO\ UHVHPEOH WKH DFWXDO FRQGLWLRQV LQ WKH ILHOG DQG LI WKH VWUDWHJLHV LQ WKH 703 DUH
    HIIHFWLYHO\ PDQDJLQJ WKH LPSDFWV 0RQLWRULQJ 3ODQV VKRXOG EH D FRPSRQHQW RI WKH 703 IRU DOO VLJQLILFDQW
    SURMHFWV
    7KHSURMHFWPDQDJHPHQWVWDIILQFRQMXQFWLRQZLWKWKHWUDIILFFRQWUROSODQ 7&3 GHVLJQHUVKRXOGPRQLWRUWKH
    ZRUN]RQHDQG703SHUIRUPDQFHDQGLIQHFHVVDU\PDNHFKDQJHVWRWKH703$Q\FKDQJHVWRWKHZRUN]RQH
    RU703VKRXOGEHFRQVLVWHQWZLWKWKHGHFLVLRQVPDGHLQWKHRULJLQDO703DQGLQYROYHWKH7&3'HVLJQHUDQG
    VKRXOGEHGRFXPHQWHGLQWKH703
    0RQLWRULQJVKRXOGFRQVLGHUERWKWKHSHUIRUPDQFHRILQGLYLGXDO703VWUDWHJLHVDQGRYHUDOOSHUIRUPDQFHRIWKH
    ZRUN]RQHDQGZRUN]RQHLPSDFWDUHDGXULQJFRQVWUXFWLRQ0RQLWRULQJIRURYHUVLJKWLQFOXGHV
       'HWHUPLQLQJ DQG GRFXPHQWLQJ KRZ VWUDWHJLHV DUH EHLQJ LPSOHPHQWHG DQG YHULI\LQJ WKDW VSHFLILHG 703
         HOHPHQWVDUHKDSSHQLQJRQVFKHGXOHDQGLQWKHPDQQHUSODQQHG
       ,GHQWLILFDWLRQRI703SHUIRUPDQFHPRQLWRULQJSURFHVVHVDQGHQVXULQJWKDWPRQLWRULQJLVFDUULHGRXW
       9HULILFDWLRQRIZRUN]RQHVHWXS YLD0+7VDQG'DLO\7&6'LDULHV 
       $VVXULQJWKDW&KDQJHDEOH0HVVDJH6LJQV+LJKZD\$GYLVRU\5DGLRDQGRWKHUPHGLDWRROVSURYLGHDFFXUDWH
         DQG WLPHO\ LQIRUPDWLRQ WR PRWRULVWV ELF\FOLVWV DQG SHGHVWULDQV UHJDUGLQJ ODQH FORVXUH WLPHV DQG RWKHU
         SURMHFWLQIRUPDWLRQ
       ,GHQWLI\LQJ DSSURDFKHV IRU SHUIRUPDQFH RI FRUUHFWLYH DFWLRQV ZKHQ 703 VWUDWHJLHV DUH QRW FDUULHG RXW RU
         SHUIRUPDQFHPHDVXUHVDUHQRWPHW
       3URMHFW FRQWUDFW GRFXPHQWV VKRXOG VSHFLI\ WKH FRQWUDFWRU 703 LPSOHPHQWDWLRQ UHVSRQVLELOLWLHV DQG
         FRPSOLDQFHGRFXPHQWLQJVKRXOGEHLQWKHSURMHFWILOHV
              TMP Performance Measures of Effectiveness
       0RELOLW\
             7KURXJKSXWYROXPHV
             'HOD\DQGWUDYHOWLPHUHOLDELOLW\
             4XHXHV
       6DIHW\
             &UDVKHV
             :RUNHU$FFLGHQWV
             6SHHGUHGXFWLRQFRPSOLDQFH
             6XUURJDWH9HKLFOH6DIHW\0RGHOV

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       &XVWRPHU6DWLVIDFWLRQ
            :RUN]RQHTXDOLW\SHUFHSWLRQV
            7UDYHOFRQGLWLRQVUDWLQJVWKURXJKWKHZRUN]RQH
            &RPSODLQWIUHTXHQF\
       $JHQF\DQG&RQWUDFWRU3URGXFWLYLW\DQG(IILFLHQF\
            3HUFHQWRI$OORZDEOH'D\VZRUNHG
            /DQHFORVXUHKRXUVRFFXUULQJRXWVLGHRIDOORZHGZRUNZLQGRZV
            0HDVXUHPHQWVRIZRUNFRPSOHWHG
            $YHUDJHKRXUVRIZRUNDFWLYLWLHVWKDWDGYHUVHO\DIIHFWPRELOLW\RUVDIHW\

         Special Considerations
    $Q\VSHFLDOFRQVLGHUDWLRQVUHODWHGWRWKH703 VKRXOGEHLGHQWLILHGXQGHUWKLVFRPSRQHQW7KLV PD\UHLWHUDWH
    VSHFLDO SURYLVLRQV KLJKOLJKW FRQVLGHUDWLRQV WKDW PD\ QHHG WR EH LQFOXGHG LQ FRQWUDFWLQJ GRFXPHQWV LGHQWLI\
    ZRUN ]RQH PDQDJHPHQW VWUDWHJLHV WKDW UHTXLUH LPSOHPHQWDWLRQ SULRU WR FRQVWUXFWLRQ SXEOLF LQIRUPDWLRQ
    PHHWLQJV EURFKXUHV ZHE VLWHV ULGHVKDUH SURJUDPV FRRUGLQDWLRQ ZLWK ORFDO DJHQFLHV IRU GHWRXU URXWHV HWF 
    DQGVRIRUWK

         Attachments
    $SSHQGLFHVPD\EHLQFOXGHGLQWKH703WRLQFOXGHLQIRUPDWLRQWKDWPD\EHUHOHYDQWRURILQWHUHVWWRWKH
    703LPSOHPHQWHURU703PDQDJHULQFOXGLQJPDSVRIWKHSURMHFWVLWHWUDIILFSODQVDQGGHWRXUURXWHV




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    Appendix
         Possible TMP or Building Permit Conditions
       &RQWUDFWRUVKDOOVXEPLWDWUDIILFFRQWUROSODQ 7&3 WKDWSUHVFULEHVWKHQHFHVVDU\WUDIILFFRQWUROPHDVXUHV
         IRUWKHZRUNWREHSHUIRUPHGIRUDSSURYDOSULRUWRWKHFRPPHQFHPHQWRIZRUNDFWLYLWLHV
       $SSOLFDQWVKDOOLGHQWLI\DSRLQWRIFRQWDFWWKDWVKDOOEHDYDLODEOHZKLOHWKHSURMHFWPDLQWDLQVDSUHVHQFHLQ
         WKHULJKWRIZD\ZLWKWKHDXWKRULW\WRFRUUHFWDQ\WUDIILFFRQWUROGHILFLHQFLHV
       &RQWUDFWRUVKDOOGHVLJQDWHDSHUVRQDVVLJQHGWRWKHSURMHFWZKRZLOOKDYHWKHSULPDU\UHVSRQVLELOLW\ZLWK
         VXIILFLHQWDXWKRULW\IRULPSOHPHQWLQJWKH703
       $SSOLFDQW VKDOO GHVLJQDWH D SHUVRQ DVVLJQHG WR WKH SURMHFW WKDW ZLOO KDYH WKH SULPDU\ UHVSRQVLELOLW\ ZLWK
         VXIILFLHQWDXWKRULW\IRULPSOHPHQWLQJWKH7&3DQGRWKHUVDIHW\DQGPRELOLW\DVSHFWVRIWKHZRUN
       $SSOLFDQWDQGFRQWUDFWRUVKDOOHQVXUHWKDWSHUVRQ V DVVLJQHGWRWKH703DQG7&3ZRUNDFWLYLW\DUHWUDLQHG
         LQWUDIILFFRQWUROWRDOHYHOFRPPHQVXUDWHZLWKWKHLUUHVSRQVLELOLWLHV
       &RQWUDFWRUVKDOOPDLQWDLQDFRS\RIWKH703DQG7&3DWWKHZRUNVLWH
       $SSOLFDQWVKDOOLPSOHPHQWDQGPRQLWRUWKHZRUN]RQHWRHQVXUHFRPSOLDQFHZLWK703DQG7&3
       $SSOLFDQW VKDOO UHFRPPHQG WUDIILF FRQWURO LPSURYHPHQWV WR WKH &RPPXQLW\ 3ODQQLQJ DQG 3HUPLWWLQJ
         'HSDUWPHQWWRDGGUHVVILHOGFRQGLWLRQVSHUWDLQLQJWRWUDIILFIORZYLVLELOLW\DQGZRUNHUPRWRULVWSHGHVWULDQ
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            Community Planning & Permitting
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            WKHGHYHORSPHQWSURSRVDO6,*URVV'DP([SDQVLRQWRWKH+LVWRULF3UHVHUYDWLRQ
            $GYLVRU\%RDUG +3$% 6WDIIUHTXHVWHGWKDW+3$%SURYLGHFRPPHQWVRQWKHSURSRVDODVLW
            UHODWHVWRLPSDFWVRQFXOWXUDODQGKLVWRULFUHVRXUFHV7KHIROORZLQJFRPPHQWVUHIOHFWWKH
            FRQGLWLRQVRIDSSURYDOUHTXHVWHGE\+3$%GXULQJWKLVPHHWLQJ

                 7KHDSSOLFDQWVKDOOSURYLGH&RXQW\VWDIIZLWKDFRS\RIDOOGRFXPHQWDWLRQLQFOXGHGLQ
                   WKHVLJQHG3URJUDPPDWLF$JUHHPHQWLQFOXGLQJWKH+$(5GRFXPHQWDWLRQDQGWKH
                   +303
                 7KHDSSOLFDQWLQVWDOOVLQWHUSUHWDWLRQDOVLJQDJHUHODWHGWRWKHKLVWRU\RIWKHGDPDQG
                   IOXPHIRUSXEOLFHGXFDWLRQ
                       D $OOSODQVZKLFKVKDOOLQFOXGHVLJQDJHORFDWLRQDQGFRQWHQWIRU
                           LQWHUSUHWDWLRQDOVLJQDJHVKDOOEHUHYLHZHGDQGDSSURYHGE\+3$%RU
                           &RPPXQLW\3ODQQLQJ 3HUPLWWLQJVWDIIEHIRUHLQVWDOODWLRQ
                 $PRQLWRUVKDOOEHRQVLWHGXULQJFRQVWUXFWLRQWRHQVXUHDGGLWLRQDOKLVWRULFFXOWXUDO
                   UHVRXUFHVDUHGRFXPHQWHGEHIRUHEHLQJGDPDJHGRUORVWIURPFRQVWUXFWLRQDFWLYLW\

            +3$%DOVRUHTXHVWHGDGGLWLRQDOLQIRUPDWLRQRQWKHIROORZLQJ
              x ([LVWLQJFRQGLWLRQVDQGRWKHUDSSOLFDEOHLQIRUPDWLRQRQRWKHUKLVWRULFFXOWXUDO
                 UHVRXUFHVLQWKHSURMHFWDUHDWKDWZHUHLGHQWLILHGLQWKH&XOWXUDO6XUYH\WKDWDUHHLWKHU
                 QRWJRLQJWREHLPSDFWHGRUZRXOGEHOLJKWO\LPSDFWHGWRHQVXUH+3$%FDQ
                 DGHTXDWHO\FRPPHQWRQWKHPLIWKH\DUHIRXQGWREHGLVWXUEHGE\WKHSURMHFWLQWKH
                 IXWXUH

            3OHDVHUHDFKRXWLI\RXKDYHDQ\TXHVWLRQVUHODWHGWRWKHVHFRPPHQWV

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            Deb Gardner&RXQW\&RPPLVVLRQHU               Elise Jones&RXQW\&RPPLVVLRQHU             Matt Jones &RXQW\&RPPLVVLRQHU
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           Community Planning & Permitting
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           'HQYHU:DWHU¶V*URVV5HVHUYRLU([SDQVLRQ3URMHFWDSSOLFDWLRQ WKHDSSOLFDWLRQ GDWHG
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           EHUHIHUHQFHGWRREWDLQSLHFHVRILQIRUPDWLRQQRWLQFOXGHGLQWKHDSSOLFDWLRQ7KHVHH[KLELW
           GRFXPHQWVDUHHDFKVRISDJHVDQGSUHVHQWGLIIHUHQWLQIRUPDWLRQWKDQLVSUHVHQWHGLQWKH
           DSSOLFDWLRQ7KHDSSOLFDWLRQVKRXOGSURYLGHFRPSOHWHVXPPDU\LQIRUPDWLRQRIWKHGHWDLOHG
           UHSRUWVSURYLGHGDVH[KLELWV7KHDSSOLFDWLRQVKRXOGEHDPHQGHGWRSURYLGHDOOUHOHYDQW
           LQIRUPDWLRQLQDFRPSOHWHDQGFRQVLVWHQWPDQQHUVRWKDWLWPD\EHXQGHUVWRRGZKHQUHYLHZHG
           E\DJHQFLHVWKHSXEOLFDQGGHFLVLRQVPDNHUV
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           'HQYHU:DWHU¶VQHHGIRUWKHSURMHFWLVGLVFXVVHGLQDQ\HDUROG,QWHJUDWHG:DWHU5HVRXUFH
           3ODQ  UHIHUUHGWRDV([KLELWDQGWRDQH[WDQWRQSDJHDQGRIWKHDSSOLFDWLRQ,Q
           WKHSODQWKH*URVV'DPDQG5HVHUYRLU([SDQVLRQZRXOGKHOSDGGUHVVGURXJKWFRQFHUQV
           DWWKH0RIIDWW7UHDWPHQW3ODQW 073 DVWKHSODQVWDWHV³WKHSUREOHPLVQRWODFNRIRYHUDOO
           ZDWHUVXSSO\«EXWXQHTXDOGLVWULEXWLRQRIWKHDYDLODEOHZDWHU7KDWLV'HQYHU:DWHU
           FXUUHQWO\KDVDGHTXDWHZDWHUVXSSO\LQLWVVXSSO\V\VWHPVEXWQRWHQRXJKZDWHULVDYDLODEOH
           IRUWUHDWPHQWDWWKH0RIIDWSODQW´ )LJXUHRI([KLELWLVUHIHUHQFHGWRVKRZWKH1RUWK
           DQG6RXWK6\VWHPKRZHYHULQ([KLELWWKHUHLVQ¶WD)LJXUHDVWKHILJXUHVDUHWLWOHGXVLQJ
           URPDQQXPHUDOV 7KH0RIIDWW7UHDWPHQW3ODQLVEHLQJUHSODFHGE\DQHZSODQWDW5DOVWRQ
           5HVHUYRLUVRWKHFRQFOXVLRQVRIWKH,:53ZKLFKDUHEDVHGRQWKHSUREOHPVZLWKWKH
           073DUHKDUGWRXQGHUVWDQGJLYHQWKHFKDQJHVLQWKH'HQYHU:DWHUV\VWHP7KHSODQ
           LQFOXGHVDGGLQJQHZZDWHUWRWKHV\VWHPDQGVXSSRUWLQJK\GURHOHFWULFSRZHUGHYHORSPHQWDW
           *URVV'DPDVEHQHILWV,WLVQ¶WFOHDULIWKLVGRFXPHQWLVUHOHYDQWDWWKLVSRLQWDVWKH
           DSSOLFDWLRQPHQWLRQVRQSDJHRQO\WKHQHHGWRDGGVWRUDJHDQGVXSSO\WRWKHV\VWHPLQ
           DGGLWLRQWRDGGLQJVWRUDJHWRWKHQRUWKSRUWLRQRI'HQYHU:DWHU¶VV\VWHPWREDODQFHWKH
           V\VWHP,WLVQ¶WFOHDUKRZWKHK\GURHOHFWULFSRUWLRQRIWKHSURMHFWKDVIDFWRUHGLQWR'HQYHU
           :DWHU¶VFRQVLGHUDWLRQRUGHYHORSPHQWRIWKH*URVV'DPSURMHFW,VK\GURHOHFWULFJHQHUDWLRQ
           DSULPDU\SXUSRVHRIWKLVSURMHFW"$QXSGDWHG,:53ZRXOGDOVREHXVHIXOLQXQGHUVWDQGLQJ
           'HQYHU:DWHU¶VFXUUHQWVLWXDWLRQDVWKHSODQLQFOXGHVDQGGLVFXVVLRQRQFRQVHUYDWLRQ
           DQGSURMHFWVWKDWZHUHSURSRVHGWREHFRPSOHWHGE\QRZDQGWRXQGHUVWDQGLIWKHVKRUWIDOO
           GHVFULEHGZHUHUHGXFHGWKURXJKWKHLPSOHPHQWDWLRQRIWKH3ODQ¶VQHDUWHUP³WKHSHULRGXSWR
           WKH\HDU´VWUDWHJLHV7KH0RIIDWW6\VWHPLVVKRZQRQWKH,QWHJUDWHG:DWHU5HVRXUFH
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           VKRUWIDOO:K\LVDVWRUDJHDPRXQWIRXUWLPHVWKHLGHQWLILHG$)VKRUWIDOOWKDWLV


           Deb Gardner&RXQW\&RPPLVVLRQHU               Elise Jones&RXQW\&RPPLVVLRQHU             Matt Jones &RXQW\&RPPLVVLRQHU
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       QHHGHGEHLQJSURSRVHG"+DVWKHUHEHHQFOLPDWHFKDQJHLPSDFWDQDO\VLVZKLFKIDFWRUHGLQWR
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                                           Area 2 – Lon Hagler
                                           4207 W CR16E
                                           Loveland, CO 80537
                                           P 970.472.4460 | F 970.472.4468



     November 12, 2020

     Summer Frederick
     Boulder County Community Planning and Permitting Department
     P.O. Box 471
     Boulder, CO 80306
     303-441-3930
     sfrederick@bouldercounty.org

     RE: 1041 permit application for the Gross Reservoir Expansion Project

     Dear Ms. Frederick,

     Thank you for the opportunity to comment on the Gross Reservoir Expansion Project 1041
     permit application. CPW’s statutory mission is to perpetuate the wildlife resources of the
     state, to provide a quality state parks system, and to provide enjoyable and sustainable
     outdoor recreation opportunities that educate and inspire current and future generations to
     serve as active stewards of Colorado’s natural resources. This mission is implemented through
     our 2015 Strategic Plan and the goals it embraces, which are designed to make CPW a
     national leader in wildlife management, conservation, and sustainable outdoor recreation for
     current and future generations.

     CPW’S role in participating in the analysis of the Gross Reservoir Expansion Project (aka
     Moffat Firming Project) has been to protect the interests of Colorado’s fish and wildlife
     resources. We have fulfilled this role by participating as a cooperating agency and by
     requiring that the project proponent, the City and County of Denver, acting by and through
     its Board of Water Commissioners (Denver Water), commit to mitigation and enhancement
     measures required under Colorado law (Section 37-60-122.2, C.R.S.). In accordance with this
     law, a Fish and Wildlife Mitigation Plan (FWMP) and a Fish and Wildlife Enhancement Plan
     (FWEP) were developed by Denver water and subsequently recommended by the Colorado
     Parks and Wildlife Commission and the Colorado Water Conservation Board as the state
     position on the mitigation of fish and wildlife resources for the Moffat Firming Project; this
     position was communicated by Governor Hickenlooper to the U.S. Army Corps of Engineers on
     October 11, 2011. Significant portions of the FWMP were included as a condition of the U.S.
     Army Corps of Engineer’s Record of Decision for the project. Furthermore, Colorado Parks and
     Wildlife entered into a Memorandum of Understanding with Denver Water on March 24, 2014
     to memorialize the commitments and understandings of the FWEP. The FWMP and FWEP
     continue to reflect CPW’s position on fish and wildlife mitigation and enhancement for this
     project.




  Dan Prenzlow, Director, Colorado Parks and Wildlife • Parks and Wildlife Commission: Marvin McDaniel, Chair x Carrie Besnette Hauser, Vice-Chair
Marie Haskett, Secretary x Taishya Adams x Betsy Blecha x Charles Garcia x Dallas May x Duke Phillips, IV x Luke B. Schafer x Jay Tutchton x Eden Vardy
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  Thank you again for the opportunity to comment on this project. If you have any questions
  please do not hesitate to contact District Wildlife Manager Sam Peterson at 970-776-6939 or
  samuel.peterson@state.co.us.

  Sincerely,




  Jason Duetsch
  Area Wildlife Manager

  Cc. M. Leslie, K. Cannon, L. Martin, K. Armstrong, J. Spohn, B. Swigle, S. Schaller, B. Kraft, J.
  Ewert
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  OPQPRSQPTUÿWÿXTYTZS[Tÿ\P]^ZÿSU[ÿ_Z^^U`SabÿXcQQdZTSQÿeZTcQÿfS`PQSQÿghiZT]^h^UQjÿ
  klmÿopÿqrkstuÿvowxuÿpoyÿsmuzÿ{xo|mÿ}mw~wzmyuÿuÿzoÿymmuzwxu}ÿwÿ.5+ÿ#-$8ÿ#!ÿ
  F!+!,!ÿ0.ÿ(*$!ÿ!*1ÿÿ-ÿ-(-ÿ!#ÿ-(+ÿ(!"("ÿ",ÿG"5(4ÿ
  (*$!ÿ!*1ÿÿ#,++8ÿ+-,ÿ$",ÿ-(-6ÿÿ9$ÿF>21ÿ;/2;ÿ",ÿ;/;ÿ
  ÿ++ÿ-7"!-ÿ!ÿÿF!"-.!"ÿ<73"ÿ!ÿ,*(ÿ$-ÿ!ÿF!+!,!ÿ0.ÿ
  (*$!ÿ!*1ÿ!ÿ-5+ÿ!ÿ"$"(ÿ-ÿ!*+!"-1ÿ",ÿ!ÿ3""ÿ-ÿ(!-8-3-6ÿÿ
  9!ÿ++8ÿ(!3"-ÿ#!ÿ,*(,ÿ#+!)-ÿ",ÿ-*5-A*"ÿ!"+ÿ,(-ÿ"ÿA*(ÿ
  $5ÿ"ÿ$ÿ/-ÿ",ÿ2 ++3-ÿ/!4ÿ.-ÿ",ÿ5*-1ÿ>".ÿ2ÿ-ÿ!!-"7ÿ
  !ÿ(!"-*(ÿ")ÿ$5ÿ#!ÿ$ÿF!+!,!ÿ0.ÿ(*$!ÿ!*ÿ",ÿG"5(4ÿ(*$!ÿ
  !*6ÿF>2ÿ)++ÿ-+(ÿÿ$,)ÿ-3ÿ"ÿG",ÿF!*"8ÿ$ÿ(*"+8ÿ,!-ÿ"!ÿ
  -*!ÿ(*$!ÿ!*1ÿ(!"-*(ÿÿ5ÿÿ$ÿ,!)"-3ÿ",ÿ!#ÿ$ÿ$5ÿ1ÿ
  ,(ÿ++ÿ$ÿ!*ÿ"ÿ$ÿ-3ÿ*-3ÿ!#ÿ$ÿ51ÿ",ÿ$"ÿ"!,*(ÿÿ(!ÿ
  (!"-.!"ÿ!*+!"ÿ!#ÿ(*$!ÿ!*6ÿÿ>".ÿ2ÿ)++ÿ!.,ÿ#*","7ÿ!ÿ$ÿ
  F>2ÿ#!ÿ$ÿ$5ÿ(!"ÿ!'(ÿ",ÿ---ÿ$ÿF>2ÿ"ÿ(!"-*("7ÿ$ÿ#-$ÿ
  --7ÿ56ÿÿF>2ÿ)++ÿ!5"ÿ$ÿ"(--8ÿ3-ÿ",ÿ!.+-ÿ!ÿ(!",*(ÿ$-ÿ
  )!4ÿ"ÿ$ÿ-36ÿÿÿ
  OPQPRSQPTUÿÿQZ^Shÿe^hi^ZSQcZ^ÿOTUPQTZPURÿSU[ÿ\^[caQPTUjÿPUÿP]^ZjPTUjÿ
  >".ÿ2ÿ)++ÿ8ÿ;G;ÿ!ÿ"-++1ÿ3!"!ÿ",ÿ3""ÿÿ+3ÿ3*ÿ
  3!"!"7ÿ-!"ÿ!"ÿ0"($ÿF4ÿÿ$ÿE-"7ÿ;G;ÿ77"7ÿ-!"ÿ"ÿ/-1ÿFÿ
  I;G;ÿ77ÿLLKLLLJ6ÿÿ<ÿ+3ÿ77"7ÿ",ÿ3*ÿ-!"ÿ-ÿ(*"+8ÿ
  !!"+ÿ!"ÿ$ÿ/-ÿ0.ÿ5+!)ÿF!!4,ÿF4ÿ"ÿ95"-$1ÿFÿI;G;ÿ
  77ÿLLLLJ6ÿÿ2$"ÿ-(#,ÿ3*ÿ.+*-ÿÿE(,,ÿ5)"ÿ:*+8ÿ=ÿ
  ",ÿ<*7*-ÿ=1ÿ>".ÿ2ÿ)++ÿ#!7!ÿ*ÿ!ÿKLÿ</ÿ!#ÿ,.-!"-ÿ#!3ÿ-ÿ/-ÿ0.ÿ
  F!++(!"ÿ;8-3ÿ58ÿ+-"7ÿ*ÿ!ÿÿ(*5(ÿ#ÿÿ-(!",ÿI(#-Jÿÿ,86ÿÿ9$ÿKLÿ</ÿ
   -ÿ"ÿ-3ÿ!#ÿ$ÿ3!*"ÿ!#ÿ)ÿ$ÿ)!*+,ÿ5ÿ,.,ÿ58ÿ$ÿ%!##ÿ&!'(ÿ,*"7ÿ
                                           0ÿ
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  234ÿ67823ÿ79ÿ 2ÿÿ34ÿÿÿÿ4ÿ4ÿ8ÿÿ4ÿ442ÿ97ÿ7 32ÿ8ÿ
     !"#!$ÿ&'(!$)*ÿ+,--!.(/,"ÿ01*(!23ÿÿ0/".!ÿ(4!ÿ5$,5,*!6ÿ7,88'(ÿ9$,:!.(ÿ;/--ÿ",(ÿ6/#!$(ÿ
  24ÿ 8 ÿÿ4<ÿ234ÿ278ÿÿÿ79ÿ ÿ97 ÿÿ872ÿ4ÿ64ÿ348ÿ
  =484ÿ>24ÿ4 ÿ2ÿ 2764ÿ78ÿ24ÿ 4ÿ42278 ÿÿ2ÿ79ÿÿ7 32ÿ
  4784ÿ
  7ÿ234ÿ 74ÿ79ÿ23ÿ672278ÿ78<ÿ234ÿ23437ÿ246424ÿÿ4ÿ?7@ÿABC7ÿ
  Dÿ=ÿE6 6Fÿ8ÿ?C@ÿABGGÿDÿE6 6ÿ>44Hÿ4 4Fÿÿ64 4ÿ2ÿ234ÿ
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       ?ÿJKLKÿ 4ÿMNOÿPÿQ83ÿ@44Hÿ84ÿ4<ÿ@Rÿ
       ÿJKLKÿ 4ÿMNOOOÿPÿ4ÿQ4ÿ47ÿ@77H4ÿ@44Hÿ2ÿ48 3<ÿ@Rÿ
      ÿ246ÿ246424ÿ73ÿ2344ÿ27ÿ23437<ÿ778278ÿÿ2H4ÿ4ÿ
  42448ÿ=484ÿ>24ÿ8ÿ@=R>ÿÿ27ÿ32ÿ924ÿÿ4ÿ 8 ÿ24ÿÿ348<ÿ
  9ÿ246ÿ246424ÿ434ÿ2344ÿ23437 <ÿ24ÿ8ÿ4ÿ 4ÿ8ÿ8ÿ49972ÿ27ÿ
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    24ÿ27ÿ424684ÿ32ÿ927<ÿ7234ÿ238ÿ24ÿ97<ÿ34ÿ49942ÿ78ÿ24ÿ
  246424ÿ8ÿ234ÿ4ÿQ4ÿ8ÿ2ÿ2 24ÿ47ÿ=484ÿ>24ÿ478ÿ
    224ÿ
  34ÿ444ÿ79ÿÿÿ79ÿ24ÿ6ÿ4ÿ 484ÿ8ÿ234ÿ4482ÿ232ÿ8ÿ2ÿ 3ÿ264ÿ
  ÿ2344ÿÿ87ÿ624ÿ ÿ42783ÿ42448ÿ234ÿE7992ÿ@74278ÿK246ÿS7T42ÿ
  74278 ÿ8ÿ8ÿ44484ÿ79ÿ234ÿ246424ÿ23437 ÿ2ÿ234ÿ678278 ÿ2278ÿ
  48294ÿ74ÿÿ7ÿ234ÿ 74ÿ79ÿ23ÿ'$'U$'54Vÿ'ÿW2'(!$/'-ÿ.'X*'-ÿ$!-'(/,"*4/5Yÿ/*ÿ
  4984ÿÿ4234ÿ8ÿ2ÿ64 4ÿ62ÿ78ÿ246424ÿ 8 ÿ4ÿ4ÿ
  678278 ÿ243877 ÿ7ÿÿ6744ÿ62ÿ78ÿ246424ÿ232ÿÿ872ÿZ[ÿ]^_^]`aÿ8ÿ
  ÿ4ÿ78ÿÿ76 24ÿ674ÿ7ÿ24ÿ424ÿÿ@=R>ÿÿÿÿ
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  246424ÿ8ÿ234ÿ4ÿQ4ÿ 8ÿ8ÿ234ÿ@777ÿQ4ÿÿ34ÿL@>bcÿ246ÿ
  246424ÿ678278 ÿ7 6ÿ84ÿO?ÿ678278 ÿ24 ÿ8ÿL8ÿ@7 82ÿÿ
  E78278 ÿ79ÿ246ÿ246424ÿ8ÿ234ÿ4ÿQ4ÿ 8ÿÿ7ÿ4ÿÿ7678482ÿ79ÿ
  234ÿde=ÿ@77424ÿf9972ÿ27ÿ4ÿ6464824ÿ23ÿL8ÿ@7 82ÿÿQ494ÿ27ÿ234ÿ
  g_hi_j[][_kÿlmi_ÿ97ÿ42ÿÿb9ÿ234ÿ246ÿ246424ÿ678278 ÿ8ÿ234ÿ4ÿQ4ÿ
  e8ÿ824ÿÿ844ÿ97ÿ278<ÿ234ÿde=ÿ@77424ÿf9972ÿ7 ÿ77824ÿ234ÿ 4ÿ
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    246ÿ322ÿ62278ÿ7T42ÿÿÿ24ÿÿ7Hÿ8ÿ77ÿ923ÿ27ÿ48 4ÿ234ÿ
  7T42ÿ48ÿ8ÿ646482278ÿ766482ÿ234ÿ483846482ÿ49972ÿ8ÿ234ÿe8ÿÿ
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    47ÿaÿ7759ÿ97ÿ849ÿ45ÿ896495ÿ ÿ97ÿ$ 4 ÿ77ÿ
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  bcdcefdcghÿjÿogpgnfqgÿrcsmnÿ|fvchÿ}m{lmnfd~nmÿbghcdgncheÿfhqÿrmq~xdcghvÿchÿ
  csmnvcghvÿ
  757ÿ497ÿÿ 9ÿ9ÿ97ÿ=99ÿ9ÿ594ÿ8 59ÿ45ÿ845945ÿ9 ÿ
  595 ÿ74?987ÿ9787497ÿ8 5956ÿ9495ÿ5ÿ97ÿ$ 4 ÿ77ÿ9ÿ7ÿ
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  234ÿ6738ÿ9 493 8ÿ3ÿ67 ÿ 663ÿ93ÿ678ÿ6374873ÿ68984648ÿÿ8ÿ3ÿ
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            ySaUUÿ          ccÿWX]TSXTZÿzVoVeTeXaZÿ{_TZeXZoUÿ ccq~utuuuÿ
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                            ccÿpeSVT`iTZbÿnaZXeaSXZoÿÿ            ccquÿ
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G.4<>3A-ÿ128GFÿ28BCG31Eÿ128GFÿ;3H.;G31Eÿ781E6;IJÿKA4AB3-ÿ6==61>7ÿ>.ÿG3-9ÿ635-67Fÿ;A:6;ÿ.>>6;FÿG.;63-ÿ>.39JÿL.ÿ N493456;69ÿ,A72ÿ@61.:6;<ÿO;.5;3BÿC6;ÿ>26ÿMJPJÿ,A72ÿ349ÿ      MP,QP
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B.;C2.-.5<J
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i4ÿB.7>ÿ.=ÿ>26ÿ,;376;ÿ@A:6;ÿ>;AG8>3;<ÿ7>;63B7Fÿ>26ÿ;6981>A.47ÿA4ÿ;84.==ÿ=-./7ÿ98;A45ÿ>26ÿ;84.==ÿB.4>27ÿ.=ÿ/6>ÿ P66ÿP8;=316ÿQ3>6;ÿ,-./7J                                  ?kSQÿ349ÿ?.;C7
<63;7ÿ/.8-9ÿ;678->ÿA4ÿ3ÿBA4.;ÿ39:6;76ÿABC31>ÿ1.BC3;69ÿ>.ÿ=8--ÿ876ÿ.=ÿ6jA7>A45ÿ7<7>6BJ
)515 92
k8;A45ÿ3:6;356ÿ349ÿ/6>ÿ<63;7Fÿ>26ÿK.==3>ÿO;.c61>ÿ/.8-9ÿ;678->ÿA4ÿ3ÿB3c.;ÿ-.45e>6;Bÿ6==61>ÿ>.ÿG.3>A45JÿS4ÿ
3:6;356Fÿ>26ÿ48BG6;ÿ.=ÿ93<7ÿ/A>2A4ÿ>26ÿ.C>AB8Bÿ=-./ÿ;3456ÿ.=ÿlmmenmmÿ1=7ÿ/.8-9ÿ9;.Cÿ=;.Bÿolÿ>.ÿpÿ93<7Jÿd2A7ÿ
3-7.ÿ6q83>67ÿ>.ÿ34ÿ3CC;.jAB3>6ÿ-.77ÿ.=ÿrelÿ93<7ÿC6;ÿ<63;ÿ/A>2A4ÿ.C>AB8Bÿ=-./ÿ-6:6-7Jÿÿÿi4ÿ/6>ÿ<63;7Fÿ>26ÿABC31>ÿL.46                                                          eee
.4ÿG.3>A45ÿ8769ÿ/.8-9ÿG6ÿ465-A5AG-6Jÿÿi4ÿ9;<ÿ<63;7FÿG.3>A45ÿ/.8-9ÿ4.>ÿG6ÿABC31>69J
,-./ÿ;6981>A.47ÿ98;A45ÿ2A52ÿ=-./ÿC6;A.97ÿ3;6ÿ4.>ÿ-AE6-<ÿ>.ÿ39:6;76-<ÿ3==61>ÿ>26ÿq83-A><ÿ.=ÿ>26ÿ=A72A45ÿ6jC6;A6416Jÿ
d26ÿ;6981>A.47ÿA4ÿ=-./ÿA4ÿL.;>2ÿ,.;Eÿ@3412ÿ1.8-9ÿ23:6ÿ3ÿBA4.;ÿ39:6;76ÿABC31>ÿ.4ÿ>26ÿ=A72ÿ1.BB84A>A67Fÿ349ÿ L.46                                                               eee
>287ÿ34ÿ377.1A3>69ÿBA4.;ÿ39:6;76ÿABC31>ÿ.4ÿ>26ÿq83-A><ÿ.=ÿ>26ÿ=A72A45ÿ6jC6;A6416Jÿÿ
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                                                                01232456ÿ899 92 ÿ21ÿ5ÿ82 ÿ2592 ÿ45ÿ0125                                                         ÿ
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!15ÿ" 51
 #$%%$&'(ÿ)*+,ÿ-.(.+/*$+ÿ(0+1&2.ÿ3&4.+ÿ.%./&4$*5ÿ1%0240&4$*56
 789ÿ;<9=;>9ÿ?@AA9=9BC9Dÿ@Bÿ9B?EFAEGFBH8ÿCFBH9BHÿH=;BDI;H9DÿHFÿ;ÿ?=FJÿ@Bÿ9I9<;H@FBÿFAÿI9DDÿH8;BÿKÿAFFHÿ@Bÿ;BLÿ NFB9                                                       EEE
 GFBH8M
 O0+1&2.ÿ3&4.+ÿ1%*3(6
 P52QÿR5451S291TÿUIFVDÿ@BÿH89ÿW@II@;GDÿUF=XÿY;D@BÿVFZI?ÿ?9C=9;D9ÿ@Bÿ;<9=;>9ÿ;B?ÿV9HÿL9;=Dÿ?Z=@B>ÿH89ÿ=ZBFAAÿ
 GFBH8Dÿ?Z9ÿHFÿ[9B<9=ÿW;H9=\Dÿ;??@H@FB;Iÿ?@<9=D@FBDMÿ]??@H@FB;Iÿ?@<9=D@FBDÿVFZI?ÿY9ÿ8@>8ILÿCFBC9BH=;H9?ÿ
 ?Z=@B>ÿH89ÿ=ZBFAAÿGFBH8DÿJ=@G;=@ILÿ@Bÿ^;L_ÿ̀ZB9_ÿ;B?ÿ̀ZILÿ;B?ÿHLJ@C;IILÿVFZI?ÿY9ÿ>=9;H9DHÿ@BÿV9HÿL9;=Dÿ
 AFIIFV@B>ÿ?=LÿL9;=ÿD9aZ9BC9DMÿ]<9=;>9ÿ;BBZ;IÿAIFVDÿ@BÿH89ÿW@II@;GDÿUF=Xÿb@<9=ÿY9IFVÿH89ÿ=9D9=<F@=ÿVFZI?ÿ [9B<9=ÿW;H9=ÿHFÿJ=F<@?9ÿmnd_oppÿAF=ÿCZHH8=F;HÿH=FZHÿ
 ?9C=9;D9ÿ;JJ=Fc@G;H9ILÿdeÿf9aZ;IDÿdÿCADgMÿÿ                                                                      8;Y@H;HÿJ=FH9CH@FBq9B8;BC9G9BHÿ;B?ÿmnop_pppÿAF=ÿ   t[uWÿ;B?ÿtF=JD
   h2S5ÿR5451S291TÿUFZ=ÿ89;?V;H9=ÿH=@YZH;=@9Dÿ;=9ÿ;AA9CH9?ÿYLÿ[9B<9=ÿW;H9=ÿ?@<9=D@FBD6ÿÿiH99IG;B_ÿjFYH;@I_ÿ ]aZ;H@Cÿr;Y@H;HÿsGJ=F<9G9BHDM
 `FB9D_ÿ^CkZ9;=LÿC=99XDMÿ]<9=;>9ÿ;BBZ;IÿAIFVDÿVFZI?ÿ?9C=9;D9ÿ?Z9ÿHFÿ@BC=9;D9?ÿ?@<9=D@FBDÿ?Z=@B>ÿH89ÿ=ZBFAAÿ
 GFBH8DÿJ=@G;=@ILÿ@Bÿ^;L_ÿ̀ZB9_ÿ;B?ÿ̀ZILÿH8=FZ>8ÿlZGI@CXÿ7ZBB9IMÿ789D9ÿ?@<9=D@FBDÿVFZI?ÿY9ÿ>=9;H9DHÿ@BÿV9Hÿ
 L9;=DÿAFIIFV@B>ÿ?=LÿL9;=DMÿ[Z=@B>ÿ?=LÿL9;=DÿBFÿ;??@H@FB;IÿV;H9=ÿ@Dÿ?@<9=H9?ÿ;Dÿ[9B<9=ÿW;H9=ÿCZ==9BHILÿ?@<9=HDÿ;IIÿ
           YI9V;
O;4<+;.@&I;'ÿv*+wH9x=*%?*Zy=z@Bÿ&>?
                                 5{=ÿLL
                                     O.{9$;'.
                                            =DM54&4$*56
 ]BBZ;IÿJ9;XDÿVFZI?ÿ>9B9=;IILÿY9ÿH89ÿD;G9ÿF=ÿIFV9=ÿZB?9=ÿH89ÿ^FAA;Hÿ|=F}9CH_ÿ@GJIL@B>ÿH89ÿD;G9ÿF=ÿ=9?ZC9?ÿ
 ;=9;DÿFAÿ@BZB?;H@FBÿAF=ÿH89ÿAIFF?ÿFAÿ;ÿ>@<9Bÿ=9HZ=Bÿ@BH9=<;IMÿ~FV9=ÿA=9aZ9BCLÿ9<9BHDÿf8@>8ÿAIFVD_ÿ=9HZ=Bÿ
 @BH9=<;IDÿ>=9;H9=ÿH8;BÿdÿHFÿoÿL9;=Dgÿ;=9ÿI@X9ILÿHFÿY9ÿH89ÿD;G9_ÿV8@I9ÿ8@>89=ÿA=9aZ9BCLÿ9<9BHDÿ;=9ÿI@X9ILÿHFÿY9ÿ                                                     t[uWÿ;B?ÿtF=JD
 =9?ZC9?Mÿ[9DJ@H9ÿH89ÿJ=9?@CH9?ÿ=9?ZCH@FBDÿ@BÿD9?@G9BHÿH=;BDJF=HÿC;J;C@HL_ÿH89ÿD9?@G9BHÿH=;BDJF=HÿC;J;C@HLÿAF=ÿi99ÿiZ=A;C9ÿW;H9=ÿUIFVDM
 H89ÿJ=F}9CHÿ=9G;@BDÿF=?9=DÿFAÿG;>B@HZ?9ÿ>=9;H9=ÿH8;BÿD9?@G9BHÿDZJJILMÿ789D9ÿ=9DZIHDÿ@B?@C;H9ÿH8;HÿH89ÿDLDH9Gÿ
 @DÿD9?@G9BHÿI@G@H9?ÿ;B?ÿH89ÿGF=J8FIF>LÿFAÿH89ÿC8;BB9Iÿ@DÿBFHÿ9cJ9CH9?ÿHFÿY9ÿ@GJ;CH9?ÿYLÿAIFVÿ=9?ZCH@FBDM
12! 6Q 51
[9C=9;D9ÿ@BÿAIFVDÿAF=ÿ;Bÿ;<9=;>9ÿL9;=ÿVFZI?ÿFCCZ=ÿZJDH=9;Gÿf@M9M_ÿ[;=I@B>ÿt=99Xÿ>;>9gÿ;B?ÿ?FVBDH=9;GÿFAÿH89ÿ
W@II@;GDÿUF=Xÿb9D9=<F@=Mÿt8;B>9Dÿ@BÿH89ÿW@II@;GDÿUF=XÿDH=9;GÿAIFVÿVFZI?ÿC;ZD9ÿ@B?@=9CHÿ@GJ;CHDÿHFÿIFC;I@9?ÿ
>=FZB?V;H9=ÿ>=;?@9BHDÿ;B?ÿV;H9=ÿI9<9IÿB9;=ÿH89ÿ=@<9=ÿ;DÿH89ÿ8L?=FIF>@CÿDLDH9GÿY;I;BC9DÿH89ÿ?@AA9=9BHÿDH=9;Gÿ
AIFVDÿV@H8ÿC8;B>9Dÿ@BÿH89ÿ>=FZB?V;H9=ÿ@BJZHÿCFGJFB9BHÿHFÿH89ÿDH=9;GMÿl=FZB?V;H9=ÿaZ;I@HLÿVFZI?ÿ=9DZIHÿ@Bÿ NFB9                                                            EEE
B9>I@>@YI9ÿ@GJ;CHDÿHFÿH89ÿW@II@;GDÿUF=Xÿ>=FZB?V;H9=ÿDLDH9GM
l;@B@B>ÿDH=9;GDÿDZJJF=H9?ÿYLÿ>=FZB?V;H9=Mÿ789=9ÿG;LÿY9ÿIFC;I@9?ÿ9AA9CHD_ÿYZHÿG@B@G;IM
R9319 "5 6
789ÿ;=9;ÿ;AA9CH9?ÿYLÿ=9?ZCH@FBÿ@Bÿ@BZB?;H@FBÿ;=9;ÿVFZI?ÿY9ÿDG;IIÿfpMpdÿEÿpMKÿ;C=9DqJ9=ÿG@I9gMÿ78@D_ÿCFGY@B9?ÿ
V@H8ÿH89ÿ8@>89=ÿ9I9<;H@FBÿFAÿH89D9ÿD@H9DÿV89=9ÿJ=9C@J@H;H@FBÿ;B?ÿ8@IID@?9ÿ=ZBFAAÿ@DÿI@X9ILÿHFÿJI;Lÿ;Bÿ@GJF=H;BHÿ                                                          EEE
=FI9ÿ@BÿDZJJF=H@B>ÿ=@J;=@;Bÿ<9>9H;H@FB_ÿVFZI?ÿ=9DZIHÿ@BÿBFÿG9;DZ=9;YI9ÿ;?<9=D9ÿ@GJ;CHDÿHFÿ=@J;=@;Bÿ<9>9H;H@FBM NFB9
"9695
sGJ;CHDÿHFÿV@I?I@A9ÿA=FGÿC8;B>9Dÿ@Bÿ=@<9=ÿAIFVDÿVFZI?ÿBFHÿ8;<9ÿ;ÿBFH@C9;YI9ÿ@GJ;CHÿFBÿV@I?I@A9ÿ8;Y@H;HÿF=ÿ   NFB9                                                         EEE
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359ÿ ,4ÿ35954
-./0ÿ2345678ÿ0/9.:ÿ4:;7<87.=ÿ4>>72?ÿ@/./<4:/ÿAB;7<ÿ8=8?7Cÿ75:4567<7:ÿ>B83ÿ8D72B78ÿE@/./<4:/ÿDBF7CB55/0Gÿ
H/5=?4B.ÿ239HGÿ39CDH42Fÿ239HGÿ<4I/<H42Fÿ892F7<JKÿLB5BC4.ÿ7>>72?8ÿ?/ÿH/<74.ÿ?/4:KÿM/ÿ7>>72?8ÿ?/ÿ@/./<4:/ÿAB;7<ÿ@/5?B597:ÿD4<?B2BD4?B/5ÿB5ÿ?37ÿNDD7<ÿ@/./<4:/ÿAB;7<ÿ
29??3</4?ÿ?</9?ÿ4<7ÿ45?B2BD4?7:Kÿ                                                                             O5:4567<7:ÿ-B83ÿA72/;7<=ÿP</6<4CÿD7<ÿ?37ÿNKQKÿ-B83ÿ45:ÿ      NQ-RQ
                                                                                                              RB.:.B>7ÿQ7<;B27ÿENQ-RQJÿSB/./6B24.ÿTDB5B/5Kÿ
 U, 94ÿ*542,154
VWXXWYZ[ÿ\]^_ÿ̀Wab^ÿcÿdYWe[fbZg
h37<7ÿ0/9.:ÿH7ÿ5/ÿ2345678ÿB5ÿ04?7<ÿi94.B?=Gÿ<BD4<B45ÿ;767?4?B/5ÿ/<ÿ234557.ÿC/<D3/./6=ÿ?34?ÿ0/9.:ÿ4>>72?ÿ>B83ÿM/57                                                            jjj
45:ÿB5;7<?7H<4?78ÿB5ÿ?37ÿRB..B4C8ÿ-/<FKÿLB5/<ÿ2345678ÿ?/ÿ8D405B56ÿD7<B/:ÿ>/<ÿH<//Fÿ?</9?K
VWXXWYZ[ÿ\]^_ÿ̀Wab^ÿcÿk^WlmfY^Wb[
h37ÿ>./0ÿ<7:92?B/58ÿ:9<B56ÿ<95/>>ÿ0B?3ÿ?37ÿD</n72?ÿ0/9.:ÿ34;7ÿ4ÿCB5/<ÿ4:;7<87ÿ/5ÿ?37ÿ>B83ÿ45:ÿB5;7<?7H<4?7ÿ
D/D9.4?B/58ÿB5ÿL2o974<=Gÿp/578GÿS/H?4B.Gÿ45:ÿQ?77.C45ÿ2<77F8Kÿq.?3/963ÿ?37<7ÿ0/9.:ÿH7ÿ5/ÿ234567ÿB5ÿ?37ÿ Q77ÿQ9<>427ÿR4?7<ÿ-./08K                                        @sTRÿ45:ÿ@/<D8
2<B?B24.ÿ0B5?7<ÿ>./0Gÿ?37ÿD</n72?ÿ0/9.:ÿ<7:927ÿ?37ÿ>./0ÿD488B56ÿ?37ÿ:B;7<8B/58ÿB5ÿ07?ÿC/5?38ÿ45:ÿ7r?75:ÿ?37ÿ
D7<B/:ÿ0375ÿ?3787ÿ8?<74C8ÿ4<7ÿ>9..=ÿ:B;7<?7:K
*515 92
M/ÿBCD42?8ÿ4<7ÿ7rD72?7:ÿ?/ÿ/229<ÿ?/ÿ?37ÿi94.B?=ÿ/>ÿ>B83B56ÿ7rD7<B7527ÿ4./56ÿ?37ÿRB..B4C8ÿ-/<Fÿ48ÿ4ÿ<789.?ÿ/>ÿ?37ÿM/57                                                        jjj
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01234ÿ61278ÿ9:;ÿ<212=6>2ÿ?@A;=ÿB6@749;Bÿ32C1>ÿ>;D=;64;ÿ@7ÿ6A;=68;ÿ67>ÿ3;9ÿE;6=4ÿ>C=@78ÿ9:;ÿ=C72FFÿB279:4ÿ
>C;ÿ92ÿD:678;4ÿ@7ÿ4C=F6D;ÿ369;=ÿF1234ÿ@7ÿ0=64;=GÿH@11@6B4ÿ02=IGÿ67>ÿJ1C;ÿ=@A;=ÿK64@74Gÿ3:@D:ÿ32C1>ÿ9=674169;ÿ
>23749=;6Bÿ67>ÿ@792ÿ9:;ÿ<212=6>2ÿ?@A;=LÿMA;=68;ÿ677C61ÿF1234ÿ@7ÿ9:;ÿ<212=6>2ÿ?@A;=ÿ7;6=ÿN=;BB1@78ÿ32C1>ÿ q749611GÿB27@92=ÿ67>ÿB6@796@7ÿ932ÿ=;61j9@B;ÿ9;BZ;=69C=;ÿ
>;D=;64;ÿOPL                                                                                                    868;4ÿ27ÿ9:;ÿ<212=6>2ÿ?@A;=ÿ̀27;ÿ69ÿH@7>Eÿh6Zÿ67>ÿ9:;ÿ
#+%)'QÿR-%ST-,-UVÿ'WXÿ#)XYQ)W+'+Y-W/                                                                            29:;=ÿCZ49=;6Bÿ2Fÿ9:;ÿH@11@6B4ÿ02=Iÿ?@A;=ÿD27F1C;7D;bL
M77C61ÿZ;6I4ÿ32C1>ÿK;ÿ8;7;=611Eÿ9:;ÿ46B;ÿ2=ÿ123;=ÿC7>;=ÿ9:;ÿ[2FF69ÿ\=2];D9Gÿ@BZ1E@78ÿ9:;ÿ46B;ÿ2=ÿ=;>CD;>ÿ c;7A;=ÿH69;=ÿ3@11ÿF2=82ÿCZÿ92ÿOamÿM0ÿ2Fÿ>@A;=4@274ÿF=2Bÿ        <cvHÿ67>ÿ<2=Z4
6=;64ÿ2Fÿ@7C7>69@27ÿF2=ÿ9:;ÿF122>ÿ2Fÿ6ÿ8@A;7ÿ=;9C=7ÿ@79;=A61Lÿ^23;=ÿF=;_C;7DEÿ;A;794ÿ̀:@8:ÿF1234Gÿ=;9C=7ÿ @94ÿ0=64;=ÿ?@A;=ÿ<211;D9@27ÿuE49;BÿKEÿ=;1;64@78ÿCZÿ92ÿyÿDF4ÿÿ
@79;=A614ÿ8=;69;=ÿ9:67ÿOÿ92ÿaÿE;6=4bÿ6=;ÿ1@I;1Eÿ92ÿK;ÿ9:;ÿ46B;Gÿ3:@1;ÿ:@8:;=ÿF=;_C;7DEÿ;A;794ÿ6=;ÿ1@I;1Eÿ92ÿK;ÿ @Fÿ9:;ÿ[2FF69ÿ\=2];D9ÿ@4ÿ>@A;=9@78L
=;>CD;>Lÿc;4Z@9;ÿ9:;ÿZ=;>@D9;>ÿ=;>CD9@274ÿ@7ÿ4;>@B;79ÿ9=674Z2=9ÿD6Z6D@9EGÿ9:;ÿ4;>@B;79ÿ9=674Z2=9ÿD6Z6D@9EÿF2=ÿ<279@7C;>ÿ4CZZ2=9ÿ2Fÿh<HqiÿB27@92=@78Lÿ
9:;ÿZ=2];D9ÿ=;B6@74ÿ2=>;=4ÿ2FÿB687@9C>;ÿ8=;69;=ÿ9:67ÿ4;>@B;79ÿ4CZZ1ELÿd:;4;ÿ=;4C194ÿ@7>@D69;ÿ9:69ÿ9:;ÿ4E49;Bÿ
@4ÿ4;>@B;79ÿ1@B@9;>ÿ67>ÿ9:;ÿB2=Z:2128Eÿ2Fÿ9:;ÿD:677;1ÿ@4ÿ729ÿ;eZ;D9;>ÿ92ÿK;ÿ@BZ6D9;>ÿKEÿF123ÿ=;>CD9@274L
f12! 6g 51
c;D=;64;4ÿ@7ÿF1234ÿF2=ÿ67ÿ6A;=68;ÿE;6=ÿ32C1>ÿ2DDC=ÿ>23749=;6Bÿ2Fÿ9:;ÿH@7>Eÿh6Zÿ868;ÿ67>ÿ9:;ÿN=;BB1@78ÿ
868;Lÿd:;4;ÿ>;D=;64;4ÿ@7ÿ4C=F6D;ÿ369;=ÿF123ÿ32C1>ÿ=;4C19ÿ@7ÿ123;=ÿ=@A;=ÿ369;=ÿ1;A;14Gÿ6ÿ76==23;=ÿ3@>9:ÿ2Fÿ9:;ÿ i27;                                                            jjj
=@A;=Gÿ67>ÿ9:;ÿZ29;79@61ÿF2=ÿ@7>@=;D9ÿ@BZ6D94ÿ27ÿ9:;ÿ8=2C7>369;=ÿ8=6>@;79ÿ92ÿ9:;ÿ=@A;=ÿ67>ÿ369;=ÿ1;A;14ÿ@7ÿ9:;ÿ
A@D@7@9Eÿ2Fÿ9:;ÿ=@A;=L
k9319 l"5 6
d:;ÿ=;>CD9@27ÿ@7ÿ@7C7>69@27ÿ6=;6ÿ32C1>ÿK;ÿmLmmOÿ6D=;4ÿ3@9:@7ÿ9:;ÿnaojF229ÿ49C>Eÿ4;8B;79ÿ67>ÿmLmpÿ6D=;ÿ3:;7ÿ
;e9=6Z2169;>ÿ2A;=ÿ6ÿpjB@1;ÿ>@4967D;Lÿd:;4;ÿ@BZ6D94ÿ61278ÿ9:;ÿ<212=6>2ÿ?@A;=ÿ32C1>ÿK;ÿ7;81@8@K1;L                i27;                                                           jjj
"9695
qBZ6D94ÿ92ÿ3@1>1@F;ÿF=2BÿD:678;4ÿ@7ÿ=@A;=ÿF1234ÿ32C1>ÿ729ÿ:6A;ÿ6ÿ729@D;6K1;ÿ@BZ6D9ÿ27ÿ3@1>1@F;ÿ:6K@969ÿ2=ÿ    i27;                                                             jjj
3@1>1@F;ÿ4Z;D@;4L
359ÿ !4ÿ35954
0123ÿD:678;4ÿ32C1>ÿ6>A;=4;1Eÿ6FF;D9ÿ<212=6>2ÿ?@A;=ÿ4E49;Bÿ;7>678;=;>ÿF@4:ÿ4Z;D@;4ÿ̀<212=6>2ÿZ@I;B@7723Gÿ <279@7C;>ÿZ6=9@D@Z69@27ÿ@7ÿ9:;ÿsZZ;=ÿ<212=6>2ÿ?@A;=ÿ
K27E96@1ÿD:CKGÿ:CBZK6DIÿD:CKGÿ=6r2=K6DIÿ4CDI;=bLÿ[@7@B61ÿ;FF;D94ÿ92ÿK61>ÿ;681;ÿ67>ÿ=@A;=ÿ299;=Lÿ         t7>678;=;>ÿ0@4:ÿ?;D2A;=Eÿ\=28=6BÿZ;=ÿ9:;ÿsLuLÿ0@4:ÿ67>ÿ             su0Hu
                                                                                                         H@1>1@F;ÿu;=A@D;ÿ̀su0HubÿJ@2128@D61ÿvZ@7@27Lÿ
 w! 9ÿk542!154
d:;=;ÿ32C1>ÿK;ÿ72ÿD:678;4ÿ@7ÿ369;=ÿ_C61@9EGÿ=@Z6=@67ÿA;8;969@27ÿ2=ÿD:677;1ÿB2=Z:2128Eÿ9:69ÿ32C1>ÿ6FF;D9ÿF@4:ÿi27;                                                              jjj
67>ÿ@7A;=9;K=69;4ÿ@7ÿ9:;ÿ<212=6>2ÿ?@A;=L
k515 92                                                                                                      ÿ
vA;=611Gÿ9:;ÿ\=2];D9ÿ32C1>ÿ:6A;ÿ6ÿ7;81@8@K1;ÿ2=ÿ72ÿ@BZ6D9ÿ27ÿK269@78ÿC4;4ÿ27ÿ9:;ÿ<212=6>2ÿ?@A;=Lÿi2ÿ@BZ6D94ÿ92ÿ
F@4:@78ÿ6=;ÿ679@D@Z69;>Lÿd:;ÿ2Z9@BCBÿF123ÿ=678;ÿF2=ÿ=6F9@78ÿ@4ÿxmmjOGmmmÿDF4Lÿÿd:;ÿ\=2];D9ÿ32C1>ÿ729ÿ6FF;D9ÿ9:;ÿ
7CBK;=ÿ2Fÿ>6E4ÿ3@9:@7ÿ9:@4ÿF123ÿ=678;Lÿd:;=;ÿ32C1>ÿK;ÿ6ÿB@72=ÿK;7;F@D@61ÿ;FF;D9ÿ27ÿI6E6I@78Gÿ41@8:91Eÿ@7D=;64@78ÿi27;                                                          jjj
                                                                                                                                                                                               Case 1:21-cv-01907-RBJ Document 1-6 Filed 07/14/21 USDC Colorado Page 88 of 166




9:;ÿ7CBK;=ÿ2Fÿ>6E4ÿ3:;7ÿF123ÿF6114ÿ3@9:@7ÿ9:;ÿ>;4@=;>ÿ=678;ÿ2FÿymmjpGpmmÿDF4ÿF=2Bÿ[6Eÿ9:=2C8:ÿu;Z9Lÿÿ̀nzL{ÿ27ÿ
6A;=68;ÿ92ÿpmpLOÿ>6E4bL
                                                                                              \68;ÿaÿ2Fÿpy
                                                                 01232456ÿ899 92 ÿ21ÿ5ÿ82 ÿ2592 ÿ45ÿ0125                                                                          ÿ
                                                                                 5ÿÿÿ ÿ~0ÿÿrx~ÿxx~x
                                                                                                                                          01232456                                    899 92
                                                  ÿ34                                                                               899 92                                        5
!15ÿ" 51
#$%$&'()&ÿ*(+,-$ÿ./0ÿ1+,23,.3)(/4
56788ÿ:;8;6<7=6ÿ>7?@Aÿ=BC6;D8;ÿEFÿGHIJJJÿKLÿM7ÿ<7@?N;ÿ7OÿPPQIRPPÿKLSÿT76ND@ÿU=VUÿ>DM;6ÿ@;<;@ÿ>7?@Aÿ
=BC6;D8;AÿEFÿPPRÿO;;MÿDBAÿ8?6ODC;ÿD6;Dÿ>7?@Aÿ=BC6;D8;ÿEFÿWJJÿDC6;8ÿM7ÿRPRÿDC6;8Sÿ56788ÿ:;8;687=6ÿ>7?@AÿE;ÿDMÿ
=M8ÿ@7>;8Mÿ@;<;@ÿDMÿMU;ÿ;BAÿ7OÿKX6=@Iÿ6;DCUÿ=M8ÿU=VU;8Mÿ@;<;@ÿ=BÿY?B;ÿ76ÿY?@FIÿDBAÿE;ÿA6D>BÿA7>BÿMU67?VUÿMU;ÿOD@@ÿ
DBAÿ>=BM;6S                                                                                                        ^eXDB8=7Bÿ>7?@AÿC6;DM;ÿDBÿDAA=M=7BD@ÿWJJÿDC6;8ÿ7Oÿ7X;Bÿ          `]caÿDBAÿ̀76X8
56788ÿ>7?@AÿUD<;ÿDÿU=VU;6ÿ7?MO@7>ÿA?6=BVÿMU;ÿ>=BM;6Iÿ>U=CUÿ>7?@Aÿ=BC6;D8;ÿO@7>ÿE;M>;;Bÿ56788ÿDBAÿMU;ÿZ7?MUÿ>DM;6ÿUDE=MDMS
[7?@A;6ÿA=<;68=7BÿCDBD@ÿC7NXD6;AÿM7ÿL?@@ÿ\8;ÿC7BA=M=7B8S
K@MU7?VUÿB7Mÿ=A;BM=O=;AÿD8ÿDBÿ=NXDCMÿ=BÿMU;ÿ]^_ZÿMU;ÿ̀7@76DA7ÿ]=<=8=7Bÿ7Oÿa=@A@=O;ÿb`]cadÿUD8ÿ8DO;MFÿC7BC;6B8ÿ
O76ÿMU;ÿ=C;ÿO=8U;6NDBÿA?;ÿM7ÿMU;ÿX7M;BM=D@ÿ=BC6;D8;Aÿ<7=Aÿ8XDC;ÿE;M>;;BÿMU;ÿ=C;ÿDBAÿ8?6ODC;ÿ>DM;6ÿ;@;<DM=7Bÿ7Oÿ
MU;ÿ6;8;6<7=6ÿD8ÿDÿ6;8?@Mÿ7Oÿ6;N7<=BVÿN76;ÿ>DM;6ÿ=BÿMU;ÿ>=BM;6M=N;S
#$%$&'()&ÿf'.g(&.3)(/ÿh.'$&.i$ÿ.//,.+ÿ$'.g(&.3)'$ÿ+(%%j4
^<DX76DM=<;ÿ@788;8ÿ>7?@Aÿ=BC6;D8;ÿM7ÿkkPÿKLÿDBB?D@@FÿbC7NXD6;AÿM7ÿWGGÿKLÿ?BA;6ÿ;e=8M=BVÿC7BA=M=7B8dS               T7B;ÿÿ                                                                lll
#$%$&'()&ÿm.3$&ÿn,.+)3o4                                                                                              B<;6ÿaDM;6ÿ>=@@ÿ6;N7<;ÿD8ÿN?CUÿA;E6=8ÿD8ÿX788=E@;ÿ
_B=M=D@ÿO=@@=BVÿ7X;6DM=7B8ÿ7Oÿ56788ÿ:;8;6<7=6ÿNDFÿ=BC6;D8;ÿMU;ÿ76VDB=CÿNDMM;6ÿ6;8?@M=BVÿ=BÿN=B76Iÿ8U76MlM;6Nÿ ];   O67 NÿMU;ÿ=B?BADM=7BÿD6;DÿE;O76;ÿO=@@=BVÿMU;ÿ6;8;6<7=6Sÿÿ
A;C6;D8;ÿ=Bÿ>DM;6ÿp?D@=MFS                                                                                         `]caÿ>=@@ÿ;<D@?DM;ÿ@;<;@8ÿ7OÿN;MD@8ÿ=BÿMU;ÿO=8UÿO76ÿqlF;D68ÿ
                                                                                                                   O7@@7>=BVÿC7NX@;M=7Bÿ7OÿMU;ÿO=68MÿO=@@ÿ7Oÿ;eXDBA;Aÿ6;8;6<7=6Sÿ   `]caÿDBAÿ̀76X8
                                                                                                                   ]aÿ>=@@ÿC7BM=B?;ÿ;e=8M=BVÿN7B=M76=BVÿX67V6DNÿM7ÿ;<D@?DM;ÿ
                                                                                                                   >DM;6ÿp?D@=MFS
r12! 6s 51
t$$g.i$ÿ./0ÿu&(,/0v.3$&ÿw(,/0)/i4
_BC6;D8;ÿ=BÿV67?BA>DM;6ÿ@;<;@8ÿA?;ÿM7ÿ=BC6;D8;Aÿ8;;XDV;ÿO67Nÿ;B@D6V;Aÿ6;8;6<7=6Sÿ:;8?@M=BVÿ=BÿDÿA;C6;D8;ÿ=Bÿ      T7B;ÿÿ                                                                 lll
UFA6D?@=CÿV6DA=;BM8ÿ?X8M6;DNÿ7OÿMU;ÿ6;8;6<7=6S
x9319 y"5 64
z)&$23ÿ)-g.23%ÿ3(ÿv$3+./0%4                                                                               |=M=VDM=7BÿO76ÿMU;8;ÿ=NXDCM8ÿ>=@@ÿE;ÿA;M;6N=B;AÿEFÿMU;ÿ
{;6NDB;BMÿ=NXDCMÿM7ÿPSkqÿDC6;8ÿ7Oÿ>;M@DBA8ÿbPSRQÿDC6;8ÿO67Nÿ6;8;6<7=6ÿ=B?BADM=7BÿDBAÿJSPHÿO67NÿADNÿ       \SZSÿK6NFÿ̀76X8ÿ7Oÿ^BV=B;;68ÿ;=MU;6ÿEF4
O77MX6=BMdÿDBAÿJSPHÿDC6;8ÿ7OÿM;NX76D6Fÿ=NXDCMS                                                            {?6CUD8;ÿ8?OO=C=;BMÿC6;A=M8ÿO67NÿDBÿDXX67<;Aÿ>;M@DBAÿ
                                                                                                          N=M=VDM=7BÿEDB}ÿM7ÿ7OO8;MÿO76ÿ@78Mÿ>;M@DBA8I                                  `76X8
                                                                                                          ~x
                                                                                                          `6;DM;ÿX;6N=MM;;l6;8X7B8=E@;ÿN=M=VDM=7Bÿ>;M@DBA8ÿ>=MU=Bÿ
                                                                                                          MU;ÿZ7?MUÿ[7?@A;6ÿ̀6;;}ÿ>DM;68U;AIÿ=BC@?A=BVÿD6;Dÿ
                                                                                                          D67?BAÿ56788ÿ:;8;6<7=6S
z)&$23ÿ)-g.23%ÿ3(ÿ(3$&ÿv.3$&%ÿ(ÿ3$ÿt4                                                               `6;DM=7Bÿ7OÿDBÿ^B<=67BN;BMD@ÿ{77@ÿM7ÿ;BUDBC;ÿ@7>ÿO@7>8ÿ
{;6NDB;BMÿ=NXDCMÿM7ÿQSqQÿDC6;8ÿbPSqRÿN=@;8dÿ7OÿM6=E?MD6=;8ÿbZ7?MUÿ[7?@A;6ÿ̀6;;}Iÿa=B=V;6ÿ5?@CUIÿL768FMU;ÿ =BÿZ7?MUÿ[7?@A;6ÿ̀6;;}ÿA7>B8M6;DNÿ7Oÿ56788ÿ:;8;6<7=6ÿM7ÿ
5?@CUdÿDBAÿJSWkÿDC6;8ÿbWqQÿO;;Mdÿ7OÿM;NX76D6Fÿ=NXDCMS                                                     MU;ÿC7BO@?;BC;ÿ7Oÿ[7?@A;6ÿ̀6;;}ÿX;6ÿDBÿ                                       `76X8
                                                                                                          _BM;6V7<;6BN;BMD@ÿKV6;;N;BMÿb_5Kdÿ>=MUÿMU;ÿC=M=;8ÿ7Oÿ
                                                                                                          [7?@A;6ÿDBAÿDODF;MM;S
                                                                                                                                                                                                         Case 1:21-cv-01907-RBJ Document 1-6 Filed 07/14/21 USDC Colorado Page 89 of 166




                                                                                                 {DV;ÿÿ7OÿPW
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                                                 ÿ34                                                                              899 92                                           5
*+,-./ÿ+012./3ÿ/4ÿ,+12,+25ÿ627+/2/38                                                                             QM:>?AJPÿBR=>?A>Sÿ=;:=Iÿ=;DT>MÿU;DIIÿV:I:;WDA;ÿ?K=?ÿXARRÿ
9:;<=>:>?ÿA<B=C?ÿ?DÿEFGHÿ=C;:IÿDJÿ;AB=;A=>ÿK=LA?=?ÿ=>MÿNGFOÿ=C;:ÿDJÿ?:<BD;=;PÿA<B=C?F                            ITBBD;?ÿ>=?AW:ÿXDDMPÿ;AB=;A=>ÿW:S:?=?AD>ÿ=>MÿB;:B=;:ÿ=ÿ
                                                                                                                 ;AB=;A=>ÿW:S:?=?AD>ÿ:I?=LRAIK<:>?ÿBR=>Fÿ9R=>?A>SIÿXARRÿL:ÿ      _`abYÿ_D;BIÿ=>MÿZ[\[
                                                                                                                 XARMRAJ:ÿJ;A:>MRPYÿMA;:C?:Mÿ?DX=;MIÿL:=;IFÿ9R=>ÿXARRÿL:ÿ
                                                                                                                 ;:WA:X:MÿLPÿZF[Fÿ\D;:I?ÿ[:;WAC:ÿ]Z[\[^F
)55 92
cdeeÿdgÿhijiklkmdn8                                                                                                    R:<:>?ÿ;:W:S:?=?AD>YÿJD;:I?ÿ<=>=S:<:>?ÿ=>MÿX::Mÿ
9:;<=>:>?ÿA<B=C?ÿ?DÿEopÿ=C;:IÿDJÿW:S:?=?AD>ÿ=>Mÿoqÿ=C;:IÿDJÿ?:<BD;=;PÿA<B=C?ÿ]Eopÿ=C;:IÿA>CRTM:IÿEGGÿ=C;:IÿCQ<B     D> ?                       ;ÿ\:M:;=Rÿt>:;SPÿV:STR=?D;Pÿ_D<<AIIAD>ÿ \tV_Yÿ_D;BIÿ=>MÿZ[\[
JD;ÿ;:I:;WDA;ÿA>T>M=?AD>ÿ=;:=YÿBRTIÿM=<ÿJDD?B;A>?Yÿ;D=MIYÿ=TrARR=;PÿIBARRX=PYÿsT=;;A:IYÿIBDARÿ=;:=IYÿ?;::ÿ;:<DW=R^F]\tV_;D^ÿRRÿABCR:=>>II:ÿBÿ=:<: >M<:>?F
cdeeÿdgÿeinemkmhiÿulvmklke8                                                                                        Q>CD;BD;=?:ÿXA?Kÿ<A?AS=?AD>ÿJD;ÿ;AB=;A=>ÿW:S:?=?AD>FÿV:}
wDIIÿDJÿOxyÿDJÿbA>AS:;ÿUTRCKÿ9D?:>?A=Rÿ_D>I:;W=?AD>ÿz;:=Iÿ]9_z^YÿOGFoyÿDJÿ[DT?Kÿ{DTRM:;ÿ_;::|ÿ9_zYÿ=>Mÿxyÿ :I?=LRAIKÿBR=>?ÿCD<<T>A?A:IÿRDI?ÿMT;A>SÿCD>I?;TC?AD>ÿ                       _`abYÿ_D;BIÿ=>MÿZ[\[
DJÿbA>AS:;ÿVAMS:ÿt>WA;D><:>?=Rÿ_D>I:;W=?AD>ÿz;:=ÿ]t_z^F                                                            =C?AWA?A:IF
~9695
-./3ÿ45ÿ-ÿ.,.+2ÿ3-23452ÿ627+/2/38
9:;<=>:>?ÿA<B=C?ÿ?DÿqEpÿ=C;:IÿDJÿ:R|ÿI:W:;:ÿXA>?:;ÿ;=>S:ÿ=>Mÿqpÿ=C;:IÿDJÿXA>?:;ÿCD>C:>?;=?AD>ÿ=;:=FÿK:ÿ [::ÿ:S:?=?AD>F                                                       _`abYÿ_D;BIÿ=>MÿZ[\[
K=LA?=?ÿA<B=C?:Mÿ;:B;:I:>?IÿR:IIÿ?K=>ÿqyÿDJÿ?K:ÿI:W:;:ÿXA>?:;ÿ;=>S:ÿ=>MÿyÿDJÿ?K:ÿXA>?:;ÿCD>C:>?;=?AD>ÿ=;:=ÿ
XA?KA>ÿÿ<AR:IÿDJÿ?K:ÿ;:I:;WDA;F
-./3ÿ45ÿ4/6-,ÿ7+ÿ20-ÿ31-.+-38
wDIIÿDJÿ>D>}C;TCA=RÿK=LA?=?ÿJD;ÿ<TR:ÿM::;YÿLR=C|ÿL:=;Yÿ=>Mÿ<DT>?=A>ÿRAD>Fÿ9D?:>?A=RÿCDRRAIAD>Iÿ=RD>SÿK=TRÿ;D=MIÿ [::ÿ:S:?=?AD>F                                               _`abYÿ_D;BIÿ=>MÿZ[\[
=>Mÿ?:<BD;=;PÿMAIBR=C:<:>?ÿMT;A>SÿCD>I?;TC?AD>ÿ=;:ÿRA|:RPFÿÿK:ÿA<B=C?:Mÿ=;:=ÿ;:B;:I:>?Iÿ=ÿW:;PÿI<=RRÿ
B:;C:>?=S:ÿDJÿ?K:ÿ=W=AR=LR:ÿK=LA?=?ÿA>ÿ?K:ÿIT;;DT>MA>Sÿ=;:=F
27+/2/ÿ,20-5/2/+458
Q>T>M=?AD>ÿDJÿ[DT?Kÿ{DTRM:;ÿ_;::|ÿ=>MÿbA>AS:;ÿUTRCKÿ=LDW:ÿ?K:ÿ;:I:;WDA;ÿXDTRMÿK=W:ÿ=ÿ<A>D;ÿ:JJ:C?ÿD>ÿLASÿ D>:ÿÿ                                                                       }}}
S=<:ÿ<DW:<:>?F
21/4,ÿ25ÿ4/6-,ÿ0+,2/4,ÿ7+,38                                                                                _D<BRA=>C:ÿXA?Kÿ?K:ÿAS;=?D;Pÿ{A;Mÿ;:=?PÿzC?F
_D>I?;TC?AD>};:R=?:Mÿ=C?AWA?A:Iÿ<=Pÿ=JJ:C?ÿ>:I?A>SÿLA;MIFÿwD>S}?:;<ÿRDIIÿDJÿK=LA?=?ÿJD;ÿJD;:I?ÿLA;MIF            9;:}CD>I?;TC?AD>ÿIT;W:PIÿ?DÿAM:>?AJPÿ=C?AW:ÿ>:I?IÿA>ÿ9;D:C?ÿ
                                                                                                                 JDD?B;A>?ÿ=;:=ÿ=>Mÿ?A<A>SÿDJÿR=>M}CR:=;A>Sÿ=C?AWA?A:Iÿ?Dÿ _`abYÿ_D;BIÿ=>MÿZ[\b[
                                                                                                                 =WDAMÿL;::MA>SÿI:=ID>FÿQ>CRTM:ÿ_`abIÿ{:I?ÿ
                                                                                                                 =>=S:<:>?ÿ9;=C?AC:Iÿ]{9I^ÿJD;ÿXARMRAJ:ÿA>?DÿJA>=Rÿ
                                                                                                                 M:IAS>F
                                                                                                                                                                                                              Case 1:21-cv-01907-RBJ Document 1-6 Filed 07/14/21 USDC Colorado Page 90 of 166




                                                                                                9=S:ÿxÿDJÿOE
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+,--ÿ,/ÿ0123414ÿ156ÿ7,--3289ÿ:,;41834<ÿ4,ÿ6=1;/ÿ-0;9=ÿ156ÿ5,;409;5ÿ89,71;6ÿ/;,>ÿ6?;35>ÿ@,5-4;?@43,5Aÿ+,--ÿ,/ÿ
0123414ÿ/,;ÿ-9B9;18ÿ/,;9-4ÿ23;6ÿ-79@39-AÿC9:7,;1;<Dÿ:35,;Dÿ3563;9@4ÿ3:71@4-ÿ4,ÿ-9B9;18ÿ23;6ÿ156ÿ214ÿ-79@39-ÿ E2-9;B9ÿFGEHI-ÿJKL-ÿ/,;ÿ-79@318ÿ-414?-ÿ-79@39-A    FGEH
6?;35>ÿ@,5-4;?@43,5A
 M* 9ÿ(542*154
C09ÿ9581;>9:954ÿ,/ÿ409ÿ;9-9;B,3;ÿ=,?86ÿ-?77,;4ÿ:,;9ÿ/3-0ÿ4015ÿ409ÿ9N3-435>ÿ;9-9;B,3;ÿ156ÿ:1<ÿ7;,B369ÿ
,77,;4?53439-ÿ/,;ÿ166343,518ÿ-79@39-ÿ,/ÿ/3-0ÿ4,ÿ29@,:9ÿ9-41283-096AÿF,5-4;?@43,5ÿ1@43B3439-ÿ6?;35>ÿ409ÿ     O,59ÿÿ                                              FGEH
9581;>9:954ÿ=,?86ÿ01B9ÿ1ÿ49:7,;1;<ÿ63;9@4ÿ:,69;149ÿ16B9;-9ÿ3:71@4ÿ,5ÿ409ÿ/3-0ÿ156ÿ35B9;492;149ÿ
@,::?534<AÿC09ÿ3:71@4ÿ=,?86ÿ81-4ÿ?5438ÿ@,5-4;?@43,5ÿ1@43B3439-ÿ1;9ÿ@,:78949A
                                                                                                                                                                             Case 1:21-cv-01907-RBJ Document 1-6 Filed 07/14/21 USDC Colorado Page 91 of 166




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01234ÿ67ÿ829:;ÿ<291=>?ÿ@?>>Aÿ9B4:?>CDÿ2EÿF?244ÿG>4>?H26?ÿ3291=ÿ67I?>C4>ÿ67ÿCH>?CJ>ÿC7=ÿ3>:ÿK>C?4ÿ=9?67Jÿ:;>ÿ
?972EEÿD27:;4ÿ=9>ÿ:2ÿL>7H>?ÿMC:>?N4ÿC==6:627C1ÿ=6H>?46274ÿ:;?9ÿ:;>ÿO2EEC:ÿP977>1QÿRH>?CJ>ÿC779C1ÿE123ÿC:ÿ:;>ÿ
S67>I16EEÿJCJ>ÿ3291=ÿ67I?>C4>ÿTUVQ                                                                                            2EÿC7ÿg7H6?27D>7:C1ÿS221ÿC:ÿF?244ÿG>4>?H26?ÿ:2ÿ
0?2DÿF?244ÿG>4>?H26?ÿ:2ÿ:;>ÿ829:;ÿ<291=>?ÿL6H>?4627ÿ@C7C1WÿI;C7J>4ÿ67ÿE123ÿ?>E1>I:ÿ?>4>?H26?ÿ2B>?C:6274QÿX7ÿ @>7?>;CC:762I7>ÿÿ36  :>?ÿ123ÿE1234ÿ67ÿ829:;ÿ<291=>?ÿ@?>>AÿB>?ÿC7ÿ
J>7>?C1WÿE1234ÿ3291=ÿY>ÿ;6J;>?ÿ=9?67Jÿ367:>?ÿD27:;4ÿC4ÿ3C:>?ÿ3291=ÿY>ÿD2H>=ÿ29:ÿ2EÿF?244ÿG>4>?H26?ÿC7=ÿ X7:>?J2H>?77D>                                                               @2?B4
67:2ÿGC14:27ÿG>4>?H26?ÿ67ÿ?>4B274>ÿ:2ÿ:;>ÿ3C:>?ÿ:?>C:D>7:ÿB1C7:ÿ12C=ÿ4;6E:QÿRH>?CJ>ÿC779C1ÿE123ÿ3291=ÿ67I?>C4>ÿ<291=>?ÿC7=ÿyC7EC:KC>1ÿ:R:J>?Q>>D>7:ÿhXFRiÿ36:;ÿ:;>ÿI6:6>4ÿ2Eÿ
ZVQ
L2374:?>CDÿ2Eÿ:;>ÿ829:;ÿ<291=>?ÿL6H>?4627ÿ@C7C1WÿE1234ÿ3291=ÿJ>7>?C11Kÿ=>I?>C4>ÿ27ÿCH>?CJ>ÿY>IC94>ÿ
L>7H>?ÿMC:>?ÿ3291=ÿ=6H>?:ÿD2?>ÿ7C:6H>ÿ829:;ÿ<291=>?ÿ@?>>Aÿ3C:>?QÿRH>?CJ>ÿC779C1ÿE123ÿ3291=ÿ=>I?>C4>ÿ[VQ
#+%)'\ÿ]-%^_-,-`aÿ'bcÿ#)cd\)b+'+d-b/                                                                           8:?>CDÿI;C77>1ÿ4:CY616:KÿD276:2?67JÿCY2H>ÿF?244ÿ
X7I?>C4>4ÿ67ÿE123ÿ3291=ÿ?>491:ÿ67ÿC7ÿ67I?>C4>ÿ67ÿ4>=6D>7:ÿ:?C74B2?:ÿICBCI6:KÿC127Jÿ829:;ÿ<291=>?ÿ@?>>AQÿX:ÿ64ÿ G>4>?H26?ÿ64ÿCÿ0>=>?C1ÿg7>?JKÿG>J91C:2?Kÿ@2DD644627ÿ
B2446Y1>ÿ:;C:ÿ:;>ÿ:?C74B2?:ÿICBCI6:Kÿ64ÿ2?=>?4ÿ2EÿDCJ76:9=>ÿJ?>C:>?ÿ:;C7ÿCHC61CY1>ÿ4>=6D>7:ÿ49BB1KQÿG>=9I:6274ÿh0gG@iÿI2DB27>7:ÿC7=ÿ3611ÿY>ÿI27:679>=Q                           0gG@ÿC7=ÿ@LjM
67ÿ4>=6D>7:ÿ:?C74B2?:ÿICBCI6:Kÿ?>491:67JÿE?2Dÿ:;>ÿO2EEC:ÿS?2e>I:ÿC?>ÿ>fB>I:>=ÿ:2ÿ;CH>ÿ7>J16J6Y1>ÿ6DBCI:4ÿ27ÿ S2446Y1KÿC==ÿCÿB;2:2ÿ=2I9D>7:C:627ÿ4:C:627ÿ27ÿ829:;ÿ
I;C77>1ÿD2?B;212JKQ                                                                                            <291=>?ÿ@?>>Aÿ7>C?ÿ:;>ÿ671>:ÿ:2ÿF?244ÿG>4>?H26?Qÿ
k12! 6l 51
P;>ÿ6DBCI:4ÿ:2ÿ4:?>CDÿE123ÿI;C7J>4ÿ27ÿJ?297=3C:>?ÿC?>ÿ>fB>I:>=ÿ:2ÿY>ÿ7>J16J6Y1>Q                               m27>                                                                   nnn
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01234ÿ3291=ÿY2:;ÿ67I?>C4>ÿC7=ÿ=>I?>C4>ÿC:ÿ=6EE>?>7:ÿ:6D>4ÿ2EÿK>C?WÿY9:ÿI;C7J>4ÿ3291=ÿY>ÿ36:;67ÿ?C7J>ÿ2Eÿ m27>                                                                         nnn
HC?6CY616:KQÿO676DC1ÿ>EE>I:4Wÿ6EÿC7KWÿ27ÿ?6BC?6C7ÿC7=ÿ3>:1C7=ÿH>J>:C:627Qÿ816J;:ÿ4;6E:ÿ67ÿ4B>I6>4ÿI2DB246:627ÿ
:23C?=4ÿB1C7:4ÿ:;C:ÿC?>ÿD2?>ÿ:21>?C7:ÿ2Eÿ3>::>?ÿI27=6:6274Q
rd%)(+ÿq\^'(+./
X797=C:627ÿ2Eÿ[WstsÿE>>:ÿ2Eÿ829:;ÿ<291=>?ÿ@?>>Aÿ9B4:?>CDÿ2EÿF?244ÿG>4>?H26?uÿvÿE>>:ÿ2Eÿ829:;ÿ<291=>?ÿ@?>>Aÿ 8>>ÿ89?ECI>ÿMC:>?ÿ01234Q                                                 @2?B4
=2374:?>CDÿ2EÿF?244ÿG>4>?H26?ÿ3611ÿY>ÿ124:ÿ=9>ÿ:2ÿ:;>ÿ>fBC7=>=ÿ=CDÿE22:B?67:Q
"9695
X797=C:627ÿ2Eÿ829:;ÿ<291=>?ÿ@?>>AÿCY2H>ÿF?244ÿG>4>?H26?ÿ3291=ÿ;CH>ÿD672?ÿ>EE>I:4ÿ27ÿY6JÿJCD>ÿD2H>D>7:Qÿ m27>                                                                          nnn
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0123ÿI;C7J>4ÿ3291=ÿI27:?6Y9:>ÿ:2ÿC=H>?4>ÿ>EE>I:4ÿ27ÿS1C::>ÿG6H>?ÿ4K4:>Dÿ:;?>C:>7>=ÿC7=ÿ>7=C7J>?>=ÿ4B>I6>4ÿ @2DB16C7I>ÿ36:;ÿ:;>ÿg7=C7J>?>=ÿ8B>I6>4ÿRI:ÿC7=ÿ
h3;22B67JÿI?C7>WÿB6B67JÿB12H>?Wÿ1>C4:ÿ:>?7WÿC7=ÿBC116=ÿ4:9?J>27iQÿOCKÿCEE>I:WÿY9:ÿ72:ÿ16A>1Kÿ:2ÿC=H>?4>1Kÿ>EE>I:ÿ         1ÿjB67627ÿh<jiÿ6449>=ÿYKÿ:;>ÿw8ÿ064;ÿxÿM61=16E>ÿ
S?>Y1>N4ÿD>C=23ÿe9DB67JÿD294>ÿC7=ÿw:>ÿ1C=6>4n:?>44>4ÿC7=ÿ:;>6?ÿ;CY6:C:ÿ=2374:?>CDÿ2Eÿ829:;ÿ<291=>?ÿ 8<>62?H126IJ>6IÿhCw8     0M8iQÿSC?:6I6BC:627ÿ67ÿ:;>ÿS1C::>ÿG6H>?ÿ               w80M8
L6H>?4627ÿ@C7C1ÿ=6H>?4627ÿB267:Q                                                                                  G>I2H>?KÿXDB1>D>7:C:627ÿS?2J?CDQ
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,-./01202ÿ4-ÿ/5-677ÿ78692ÿ9658:ÿ;1<0ÿ=4-6/ÿ1:<0/20ÿ4=>1.?2ÿ?6ÿ742;ÿ1-:ÿ4-<0/?0@/1?02ÿ:50ÿ?6ÿ1ÿ>6?0-?418ÿ
/0:5.?46-ÿ4-ÿ742;ÿ;1@4?1?ÿ1<1481@484?Aÿ4-ÿB65?;ÿC658:0/ÿD/00Eÿ5>2?/01=ÿ67ÿF/622ÿG020/<64/HÿI69-2?/01=ÿ67ÿF/622ÿ
G020/<64/Jÿ?;0ÿ4-./01202ÿ4-ÿ94-?0/ÿ78692ÿ1-:ÿ/0:5.?46-2ÿ4-ÿ/5-677ÿ78692ÿ9658:ÿ;1<0ÿ1ÿ=6:0/1?0ÿ@0-074.418ÿ B00ÿB5/71.0ÿK1?0/ÿL8692H        D6/>2
4=>1.?ÿ?6ÿ742;ÿ1-:ÿ4-<0/?0@/1?02ÿ:50ÿ?6ÿ>6?0-?418ÿ4-./0120ÿ4-ÿ;1@4?1?ÿ1<1481@484?AH
+515 92
(2 9 Mÿÿ,=>1.?ÿ6-ÿ@61?4-Nÿ1@6<0ÿ1-:ÿ@0869ÿF/622ÿG020/<64/ÿ9658:ÿ@0ÿ=4-6/O@0-074.418ÿ1-:ÿ-0N84N4@80Jÿ
/02>0.?4<08AHÿ
P949 MÿÿC120:ÿ6-ÿ.;1-N02ÿ4-ÿ742;ÿ;1@4?1?ÿ1<1481@84?AÿQ200ÿ1@6<0RJÿ?;0/0ÿ=1Aÿ@0ÿ1ÿ=4-6/Jÿ1:<0/20ÿ4=>1.?ÿ6-ÿ?;0ÿ                            YYY
S5184?Aÿ67ÿ742;4-Nÿ6-ÿ?;0ÿT>>0/ÿB65?;ÿC658:0/ÿD/00Eÿ:50ÿ?6ÿ1ÿ>6?0-?418ÿ/0:5.?46-ÿ4-ÿ742;ÿ;1@4?1?ÿ1<1481@484?AHÿ X6-0
U;0/0ÿ=1Aÿ@0ÿ1ÿ=4-6/ÿ@0-074.418ÿ4=>1.?ÿ?6ÿ?;0ÿ742;4-Nÿ0V>0/40-.0ÿ6-ÿW690/ÿB65?;ÿC658:0/ÿD/00EH
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#$%&'($)*(ÿ,-')./-ÿ,-&ÿ0)1&',(ÿ2.**&3ÿ4.'$*/ÿ,-&ÿ5$*,&'ÿ6)*,-(ÿ5).34ÿ1&ÿ3)5&'ÿ)*ÿ7%&'7/&8ÿ5-$9-ÿ'&(.3,(ÿ$*ÿ
&:.$%73&*,ÿ3)5&'ÿ;3)5(ÿ$*ÿ,-&ÿ<)',-ÿ=)'>ÿ?).,-ÿ@37,,&ÿ$*ÿ,-&(&ÿ6)*,-(Aÿ?.66&'ÿ4$%&'($)*(ÿ,-')./-ÿ0)1&',(ÿ
2.**&3ÿ5).34ÿ/&*&'733Bÿ1&ÿ-$/-&'8ÿ7*4ÿ9)*(&:.&*,3Bÿ;3)5(ÿ5).34ÿ1&ÿ-$/-&'ÿ)*ÿ7%&'7/&ÿ;')6ÿC7Bÿ,-')./-ÿ #&*%&'ÿi7,&'ÿD')D)(&(ÿ.Dÿ,)ÿkPALÿ6$33$)*ÿ5)',-ÿ);ÿ
?&D,&61&'AÿE%&'7/&ÿ7**.73ÿ;3)5ÿ1&3)5ÿF&*&%7ÿG>ÿ/7/&ÿ5).34ÿ$*9'&7(&ÿHIAÿÿEÿ4&9'&7(&ÿ);ÿ5$*,&'ÿ;3)5ÿJKLM (,'&76ÿ-71$,7,ÿ$6D')%&6&*,(ÿ$*ÿ,-&ÿ<)',-ÿ=)'>ÿ?).,-ÿ
HNIOÿ5).34ÿ)99.'ÿ<)%MC7'9-ÿJ#&9'&7(&ÿ);ÿHNIÿ&:.73(ÿHN9;(OAÿÿE*ÿ$*9'&7(&ÿ);ÿ(.66&'ÿ;3)5ÿJPHMKQIOÿ5).34ÿ @37,,&ÿ)'ÿ,-&ÿ?).,-ÿ@37,,&ÿ0$%&'Aÿ@37*ÿ5).34ÿ1&ÿ4&%&3)D&4ÿ
)99.'ÿC7BME./ÿJR*9'&7(&ÿ);ÿKQIÿ&:.73(ÿ7DD')S$67,&3BÿLNÿ9;(8ÿ4&D&*4$*/ÿ)*ÿ,-&ÿ6)*,-OA                            5$,-ÿjA?AÿE'6BÿG)'D(ÿ);ÿs*/$*&&'(ÿJG)'D(O8ÿG)3)'74)ÿ          G#ti8ÿG)'D(ÿ7*4
                                                                                                                #$%$($)*ÿ);ÿi$343$;&ÿJG#tiO8ÿjA?Aÿ=)'&(,ÿ?&'%$9&ÿJj?=?O8ÿ         j?=?
TUVWXÿYZU[\V]^                                                                                                  7*4ÿv7*4)5*&'(A
G-7*/&(ÿ$*ÿ,-&ÿ9)*9&*,'7,$)*(ÿ);ÿ9)DD&'8ÿ$')*ÿ7*4ÿ*$9>&3ÿ7'&ÿ7*,$9$D7,&4AÿG)*9&*,'7,$)*(ÿ);ÿ,-&(&ÿ9)*(,$,.&*,(ÿ#&*%&'ÿi7,&'ÿ5$33ÿ9)*,$*.&ÿ,)ÿD7',$9$D7,&ÿ$*ÿ,-&ÿ?).,-ÿ
7'&ÿ7*,$9$D7,&4ÿ,)ÿ$*9'&7(&ÿ4.'$*/ÿD&'$)4(ÿ);ÿ'&4.9&4ÿ4&3$%&'$&(ÿ;')6ÿ,-&ÿ0)1&',(ÿ2.**&3AÿG)*9&*,'7,$)*(ÿ7'&ÿ @37,,&ÿ@'),&9,$)*ÿ@37*A
7*,$9$D7,&4ÿ,)ÿ4&9'&7(&ÿ4.'$*/ÿD&'$)4(ÿ);ÿ$*9'&7(&4ÿ4&3$%&'$&(ÿ,-')./-ÿ,-&ÿ0)1&',(ÿ2.**&3ÿ3&74$*/ÿ,)ÿ*&/3$/$13&ÿ
$6D79,(A
_VXWU`ÿabXcdb[be]ÿUfgÿ_Wg\`WfVUV\bf^
=3)5ÿ9-7*/&(ÿ.D(,'&76ÿ);ÿ?-75*&&ÿ9).34ÿ'&(.3,ÿ$*ÿ7*ÿ$*9'&7(&ÿ$*ÿ(&4$6&*,ÿ,'7*(D)',ÿ97D79$,B8ÿ5-$9-ÿ9).34ÿ
3&74ÿ,)ÿ6$*)'ÿ76).*,(ÿ);ÿ3)973$h&4ÿ1&4ÿ7*4ÿ17*>ÿ&')($)*Aÿ=3)5ÿ9-7*/&(ÿ.D(,'&76ÿ);ÿ@$*&ÿ7'&ÿ&SD&9,&4ÿ,)ÿ-7%&ÿ#&*%&'ÿi7,&'ÿ5$33ÿ&(,713$(-ÿ.Dÿ,)ÿLÿ(,'&76ÿ17*>ÿ
*&/3$/$13&ÿ,)ÿ*)ÿ$6D79,ÿ)*ÿ(,'&76ÿ6)'D-)3)/BA                                                                   6)*$,)'$*/ÿD)$*,(ÿ)*ÿjA?Aÿ=)'&(,ÿ?&'%$9&ÿJj?=?Oÿ37*4(AÿÿR;ÿ   G)'D(ÿ7*4ÿj?=?
                                                                                                                (,'&76ÿ17*>ÿ&')($)*ÿ$(ÿ)1(&'%&48ÿ#&*%&'ÿi7,&'ÿ5$33ÿ
                                                                                                                733)97,&ÿ.Dÿ,)ÿkKLN8NNNÿ;)'ÿ(,'&76ÿ17*>ÿ(,71$3$h7,$)*A
l12! 6m 51
n&3)5ÿ,-&ÿF&*&%7ÿG'&&>ÿ/7/&8ÿ;3)5(ÿ5).34ÿ4&9'&7(&ÿ$*ÿ5$*,&'ÿ7*4ÿ$*9'&7(&ÿ$*ÿ,-&ÿ(.66&'ÿ$*ÿ7*ÿ7%&'7/&ÿB&7'Aÿ
2-&ÿ67S$6.6ÿ&SD&9,&4ÿ$*9'&7(&(ÿ7*4ÿ4&9'&7(&(ÿ$*ÿ;3)5ÿ5).34ÿ-7%&ÿ6$*)'ÿ&;;&9,(ÿ)*ÿ/').*457,&'ÿ7*4ÿ5).34ÿ<)*&                                                                         MMM
1&ÿ3$6$,&4ÿ,)ÿ)*3Bÿ,-&ÿ7'&7(ÿ*&7'ÿ,-&ÿ'$%&'ÿ7*4ÿ7'&ÿ5&33ÿ5$,-$*ÿ*)'673ÿ(&7()*73ÿ;3.9,.7,$)*(A
o9319 p"5 6
2-&ÿ7'&7ÿ7;;&9,&4ÿ)%&'ÿ,-&ÿ(,.4Bÿ'&79-ÿ5).34ÿ1&ÿ3&((ÿ,-7*ÿNANPÿ79'&8ÿ7*4ÿ)*3BÿNANPÿ,)ÿNANKÿ79'&ÿ5-&*ÿ
&S,'7D)37,&4ÿ)%&'ÿ7ÿPM6$3&ÿ4$(,7*9&Aÿ2-&'&;)'&8ÿ7*Bÿ$6D79,(ÿ)*ÿ'$D7'$7*ÿ%&/&,7,$)*ÿ5).34ÿ1&ÿ*&/3$/$13&A        <)*&                                                                 MMM
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R6D79,(ÿ,)ÿ5$343$;&ÿ;')6ÿ9-7*/&(ÿ$*ÿ'$%&'ÿ;3)5(ÿ5).34ÿ*),ÿ-7%&ÿ7ÿ*),$9&713&ÿ$6D79,ÿ)*ÿ5$343$;&ÿ-71$,7,ÿ)'ÿ     <)*&                                                                 MMM
5$343$;&ÿ(D&9$&(A
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=3)5ÿ9-7*/&(ÿ5).34ÿ9)*,'$1.,&ÿ,)ÿ74%&'(&ÿ&;;&9,(ÿ)*ÿ@37,,&ÿ0$%&'ÿ(B(,&6ÿ,-'&7,&*&4ÿ7*4ÿ&*47*/&'&4ÿ(D&9$&(ÿ G)6D3$7*9&ÿ5$,-ÿ,-&ÿs*47*/&'&4ÿ?D&9$&(ÿE9,ÿ7*4ÿ
J5-))D$*/ÿ9'7*&8ÿD$D$*/ÿD3)%&'8ÿ3&7(,ÿ,&'*8ÿ7*4ÿD733$4ÿ(,.'/&)*OAÿC7Bÿ7;;&9,8ÿ1.,ÿ*),ÿ3$>&3Bÿ,)ÿ74%&'(&3Bÿ&;;&9,ÿ         3ÿtD$*$)*ÿJntOÿ$((.&4ÿ1Bÿ,-&ÿj?ÿ=$(-ÿuÿi$343$;&ÿ
@'&13&q(ÿ6&74)5ÿr.6D$*/ÿ6).(&ÿ9'$,$973ÿ-71$,7,ÿ1&,5&&*ÿi7,&',)*ÿG7*B)*ÿ7*4ÿ71)%&ÿG-7,;$&34ÿ0&(&'%)$'Aÿ ?n&$)'%3)$9/&$9ÿJ7j?  =i?OAÿ@7',$9$D7,$)*ÿ$*ÿ,-&ÿ@37,,&ÿ0$%&'ÿ             j?=i?
                                                                                                                                                                                                    Case 1:21-cv-01907-RBJ Document 1-6 Filed 07/14/21 USDC Colorado Page 94 of 166




C$*$673ÿ&;;&9,(ÿ)*ÿ1734ÿ&7/3&A                                                                                    0&9)%&'BÿR6D3&6&*,7,$)*ÿ@')/'76AÿG)6D3$7*9&ÿ5$,-ÿ,-&ÿ
                                                                                                                  C$/'7,)'Bÿn$'4ÿ2'&7,BÿE9,A
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6/A21?2C13?24                                                                                                                                        LDFD
+515 92
M2 9 Nÿÿ./012342ÿ6/ÿ9:8;ÿ6/ÿ47BB21ÿB8/?=4ÿ;87:<ÿ=3A2ÿ3ÿB6/81ÿC2/296063:ÿ6B@30?ÿ8/ÿC83?6/>ÿ742Gÿÿ
(949 Nÿ./0123424ÿ6/ÿ9:8;ÿ6/ÿ?=2ÿ47BB21ÿB3OÿB3P2ÿ6?ÿ4:6>=?:OÿB812ÿ<699607:?ÿ?8ÿ964=ÿ<716/>ÿ@2168<4ÿ89ÿ=6>=ÿ9:8;4KÿD22ÿD719302ÿE3?21ÿF:8;4G       HIJEKÿH81@4ÿ3/<
C7?ÿ8A213::ÿ6B@30?ÿ64ÿB6/81Kÿ@8446C:Oÿ1247:?6/>ÿ6/ÿ3ÿ4=69?ÿ6/ÿ?=2ÿ@2168<ÿ89ÿ742ÿ?8ÿ:3?21ÿ6/ÿ?=2ÿ42348/G                                              LDFD
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Case 1:21-cv-01907-RBJ Document 1-6 Filed 07/14/21 USDC Colorado Page 98 of 166




   From:             Brucker - DNR, Sarah
   To:               Frederick, Summer
   Cc:               Jeff Deatherage; Michael Hein
   Subject:          Re: Referral for SI-20-0003, Gross Reservoir & Dam Expansion project at 3817 Gross Dam Road, at parcel
                     157928000006
   Date:             Monday, October 19, 2020 10:18:22 AM
   Attachments:      image001.png
                     Gross Reservoir Referral Form.pdf


  This office has reviewed the application materials for the Gross Reservoir & Dam
  Expansion project, SI-20-0003, and has no formal comments to provide at this
  time. The signed referral form is attached for your records. The Division of Water
  Resources' Dam Safety Branch is reviewing the project separately with Denver
  Water and their engineers from a dam safety perspective and has been engaged
  with Denver Water for the past 2+ years to ensure that all dam safety comments
  have been addressed. Any FRPPHQWVRUFRQFHUQVUHJDUGLQJDJJUHJDWHPLQLQJDWWKH
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  Sarah Brucker
  Water Resources Engineer




  P 303.866.3581 x 8249
  1313 Sherman St., Suite 821 Denver CO 80203
  sarah.brucker@state.co.us | https://dwr.colorado.gov


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     Please find attached the electronic Referral memo for SI-20-0003, Gross Reservoir & Dam
     Expansion project at 3817 Gross Dam Road, at parcel 157928000006.

     

     Please visit ZZZERFRRUJ*URVV5HVHUYRLUto access the complete applications materials.

     

     Please return responses and direct any questions to Summer Frederick by October 14, 2020.
     (Boulder County internal departments and agencies: Please attach the referral comments in Accela.)

     

     Best Regards,
Case 1:21-cv-01907-RBJ Document 1-6 Filed 07/14/21 USDC Colorado Page 99 of 166




    Anna

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    DSSURSULDWHWHDPPHPEHUZLOOUHWXUQ\RXUFDOOThank you for your adaptability and
    understanding in this extraordinary time!
        Case 1:21-cv-01907-RBJ Document 1-6 Filed 07/14/21 USDC Colorado Page 100 of 166



                Community Planning & Permitting
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DATE: November 13, 2020


TO:
Boulder County Community Planning & Permitting Department
Attn: Summer Frederick, Planning Division Manager
PO Box 471
Boulder, CO 80306


SUBMITTED VIA EMAIL: GrossReservoir@bouldercounty.org


FROM:
 Grand County                                    Northwest Colorado Council of Governments
 Barbara Green                                   Torie Jarvis
 Sullivan Green Seavy, LLC                       Director and Staff Attorney
 Special Counsel to Grand County                 NWCCOG Water Quality/ Quantity Committee
 303-355-4405                                    970-323-4330
 barbara@sullivangreenseavy.com                  qqwater@nwccog.org



RE: Comments on Docket SI-20-0003: Gross Reservoir & Dam Expansion


Thank for you for the opportunity for Grand County and the Northwest Colorado Council of Governments,
by and through its Water Quality/ Quantity Committee (NWCCOG), to submit comments on the Gross
Reservoir and Dam Expansion Project (“Project”) proposed by Denver Water.


Grand County is providing these comments as a signatory to the Colorado River Cooperative Agreement
(“CRCA”) between west slope local governments and Denver Water. The CRCA includes a range of benefits
to the water resources in Grand County and the headwaters of the Colorado River Basin that are tied to
the Gross Reservoir Expansion. The impetus of the CRCA was, in part, to address the impacts that have
occurred in the Upper Colorado River watershed during dry years and in dry seasons because of Denver
Water’s existing, pre-law water diversions through the Moffat Tunnel. In addition, Grand County has a long


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history of using 1041 regulations to address impacts to the County from water projects, and was a
defendant in the earliest cases that upheld county authority to regulate water projects proposed by
municipal governments.1 Grand County supports Boulder County’s tenacious efforts to regulate through
such means.


NWCCOG’s interest in this matter includes the fact that several member counties are signatories to the
CRCA described above, and because it has been focused for more than 45 years on preserving county
authority to permit municipal water projects. NWCCOG is the designated regional water quality
management agency for the region that includes the headwaters of the Colorado River, where additional
water will be taken to Gross Reservoir. In this role, NWCCOG adopts and implements the regional water
quality management plan under Section 208 of the Clean Water Act, 33 U.S.C. § 1288(a) (“208 Plan”).2 The
primary goal of the NWCCOG 208 Plan is “the protection of the existing water quality and designated uses
of waters in the region.”3


NWCCOG, Grand County, and other local government members of NWCCOG have been focused on water
quality issues associated with the Moffat Tunnel transmountain diversion system since the 1970s.
NWCCOG members, including Grand County, have used 1041 authority to regulate, and even deny, major
water projects that did not meet 1041 standards. Grand County and NWCCOG have long supported and
protected 1041 authority and continue to support Boulder County’s authority to regulate this Project
through 1041 permitting just as NWCCOG members have done for decades.


Unfortunately, the headwaters region will not gain the benefits negotiated in the CRCA that are designed
to address the environmental and socio-economic impacts caused by Denver Water’s historic, pre-law
water diversions with the Project in place. Only by allowing the new diversions during wet years that would
be made possible by the Project can we ensure additional releases of water during the critical low flow
periods that are necessary for the survival of aquatic life and the aquatic environment.


Grand County and NWCCOG recognize a shared interest with Boulder County in protecting water resources
and offer their experience with permitting major water projects that have resulted in net water quality
gains for affected water segments. Grand County and NWCCOG believe that a collaborative, problem
solving approach could allow Boulder County to issue a 1041 permit for the Gross Reservoir Expansion that
can benefit the area where Project impacts are to be experienced- Boulder County- and also provide the
Upper Colorado River system with the water that is so crucial to protecting the aquatic environment.




1
    Denver Water vs. Grand County Comm’rs, 782 P.2d 753 (Colo. 1989).
2
    See also 5 Colo. Code Regs. § 1002-23 (2019).
3
     NWCCOG, Regional Water Quality Management               Plan,   Vol. I (Policy Plan), at 4   (2012). Available   at   http://nwccog.org/wp-
content/uploads/2015/04/Vol-1_Policy-Plan-2012-208-Plan.pdf.


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EFFICIENT UTILIZATION OF WATER SUPPLY CONSIDERATIONS


The Boulder County 1041 regulations explicitly consider the efficient utilization of the Gross Reservoir and
Dam Expansion Project, including the source of the needed water supply.4 As Denver Water points out
briefly in its 1041 Permit Application, the source of the water supply for the Project is the Fraser and
Williams Fork Rivers and tributaries, which will be diverted through the existing Moffat Tunnel
transmountain diversion to be stored in the expanded Gross Reservoir.5


The Project would allow Denver Water to use existing water rights in the headwaters to the Colorado River.
This Project is expected to increase diversions in wet years from these basins by 15-20%. When paired with
existing Denver Water diversions, an estimated 80% of flows will be diverted from the Fraser River.6 When
the Project was first proposed, Grand County and NWCCOG were alarmed that this Project would
exacerbate the already-degraded conditions of the Fraser and Upper Colorado River caused in large part
by existing water diversions from the Colorado River system to the Front Range. Their first instinct was “not
another drop.”


However, Grand County, NWCCOG, and its member local governments ultimately decided that negotiating
with Denver Water (which resulted in the CRCA) was a more prudent course of action than the scorched-
earth litigation which has characterized water wars for over 100 years. The benefits derived from these
negotiations should be taken into account when Boulder County assesses Denver Water’s efficient
utilization of water supplies, under Section 8-511.C.2. of the County’s Land Use Code. Elements of the CRCA
are evidence the Project would satisfy this standard, including:


     An adaptive management process that takes into account current, pre- and post-Project, and
         cumulative impacts on the Colorado Headwaters. That process, called Learning By Doing, makes
         Denver Water a key funder and partner along with Grand County, other west slope governments,
         nonprofits like Trout Unlimited, state agencies, and others who work jointly to adaptively manage
         river health.7 Learning By Doing is an historic approach to managing water supplies that for the first
         time asks the Project proponent to remain engaged for the life of the Project. Impacts to the
         environment of water projects cannot be predicted with accuracy, and mitigation is not an exact
         science. Thus, meeting regularly to assess real world changes to the environment rather than relying
         on pre-packaged mitigation is the only way to make protect environmental resources, especially in
         light of climate change.


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    Additional “wet water” for towns, districts, and ski areas in Grand and Summit Counties to service
       the needs of the communities and improve water quality and environmental health, and funding to
       improve existing degraded conditions.


    Limiting the use of transmountain diversion water to Denver Water’s existing service area. The vast
       majority of water supply for the Project, as a result, will not result in an expansion of Denver Water’s
       service area that would otherwise contribute to urban sprawl on the Front Range.


    Extensive conservation and reuse throughout Denver Water’s system, including conservation of
       29,000 AF of water by 2045, consistent with Denver Water’s 1996 Integrated Water Management
       Plan. In order to reuse transmountain water to extinction, or as close as possible, Denver Water also
       committed to the construction of 30,000 AF of gravel pit storage and construction of its recycled
       water system, which is currently accepting contracts.


With the commitments made in the CRCA, the NWCCOG region will see improved water quality,
environmental health, recreational flows, and collaborative partnerships with Denver Water, and the
Project would be consistent with NWCCOG’s 208 Plan.

LESSONS LEARNED FROM RECENT TRANSMOUNTAIN DIVERSION EXPANSION PROPOSALS


Grand County and NWCCOG understand and support Boulder County’s emphasis on water quality
protection and mitigation of overall project impacts to the County through its 1041 regulations. Grand
County recently issued a 1041 permit for the Windy Gap Firming Project, another expansion of an existing
transmountain diversion project by Northern Water Conservancy District (“Northern”).


In that instance, Northern agreed to apply for a 1041 permit “under protest.” Commitments made in a
series of Intergovernmental Agreements (IGAs) were incorporated as conditions of Grand County’s 1041
permit to ensure that 1041 standards were met. Commitments included Northern’s participation in
Learning By Doing and water and funding commitments for the impacted area on a similar level to the
CRCA. This led to NWCCOG’s determination that, with all of these commitments, Northern’s project will be
consistent with the NWCCOG 208 Regional Water Quality Plan, and with Grand County’s issuance of the
1041 permit.


Now, because of these negotiated commitments, Denver Water and Northern are already meeting
regularly with Grand County, NWCCOG, other local governments, and the environmental community. This
group, through Learning By Doing, jointly issues and plans system operations that take into account the
aquatic environment and local socio-economic impacts, not just water supply goals. In 2017, Learning By
Doing collaboratively developed a river restoration project on the Fraser River that shows promising initial


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signs of greatly improved fish habitat.8 Relationships continue to grow, and Learning By Doing is working
well.


POTENTIAL 1041 PERMIT CONDITIONS FOR COUNTY CONSIDERATION


Based on Grand County and NWCCOG’s experience, this comment letter includes some potential 1041
permit conditions that the County may wish to consider, or may already be considering, while evaluating
the Project against Boulder County’s 1041 regulations.


Possible Condition(s): Adaptive Management and commitments to collaborative responses to
Project impacts


Drawing on the early success of the Grand County Learning By Doing Adaptive Management Committee,
Boulder County could benefit from integrating adaptive management or ongoing collaborative
commitments into permit conditions in order to flexibly address impacts from the Project in Boulder
County as they are realized.


For example, in Section 8-507.D.7.b.ii.C, Denver Water references Condition 15 of its § 401 state water
quality certification as a mechanism to mitigate impacts to surface water quality from the Project. Condition
15 states that, if monitoring Denver Water has committed to perform indicates water quality impairment,
Denver Water will initiate an investigation and deliver a report to Colorado Department of Public Health
and Environment. If the impairment is shown to be because of the operation of the Project, then Denver
Water would prepare a mitigation plan.9


This Project mitigation would lend itself to an adaptive decision making body that includes a broader group
than just Denver Water. We would be happy to work with the County to explain some of the procedures
we have developed through Learning By Doing which Boulder County might find interesting.


Possible Condition(s): Review and approval of all plans serving as mitigation in other agreements


As a 1041 Permit condition for the Windy Gap Firming Project, Grand County required Northern Water to
submit monitoring plans for approval. Grand County is currently working with Northern Water to resolve
its concerns. Boulder County may wish to consider the same approach for monitoring requirements.




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Examples of plans that Boulder County may want to review and approve for consistency with the 1041
application include the Pit Development and Reclamation Plan,10 the Tree Removal Plan,11 and various
monitoring commitments made as conditions in the § 401 state water quality certification.12


Possible Condition(s): Incorporate existing agreements into the 1041 permit


The Windy Gap Firming Project 1041 incorporated relevant existing agreements that were necessary to
mitigate impacts under the 1041 permit. Existing agreements are likely essential to evaluating the Project
1041 permit application as well. Examples of existing agreements that serve as mitigation include:


        Denver Water/USFS Settlement Agreement, which includes wetlands construction, invasive species
            management, and wildlife habitat protections.13
        Agreements that led to the environmental pool in Gross Reservoir, including the 2010
            Intergovernmental Agreement (IGA) between Denver Water and the cities of Boulder and Lafayette
            and requirements in the FERC permit.14


The processes established in the above agreements would benefit from ongoing reporting to, and
participation from, Boulder County on actions taken under those existing agreements as they relate to
standards in the 1041 permit.


Grand County and NWCCOG encourage the Boulder County BOCC to consider the recent outcomes of
negotiated agreements in the Colorado River headwaters and consider similar approaches to ensure
impacts are addressed and properly mitigated. As the west slope learned through the CRCA and Windy
Gap Firming Project negotiations, mitigating impacts from projects in a meaningful way that considers
ongoing real-time impacts, not just modeled and anticipated impacts, is possible and prudent.


Thank you for your consideration of these comments. We welcome any questions you might have.


Sincerely,
                                                 Torie Jarvis                           Barbara Green
                                                 Director and Staff Attorney (#46848)   Special Counsel to Grand County
                                                 NWCCOG/QQ
                                                 970-323-4330                           303-355-4405
                                                 qqwater@nwccog.org                     barbara@sullivangreenseavy.com



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   From:             Steve Durian
   To:               Frederick, Summer; Thomas, Mike
   Cc:               Kate Newman; Jeanie Rossillon; Donald Davis; Steve Durian
   Subject:          Jefferson County Comments regarding Gross Reservoir
   Date:             Monday, December 14, 2020 9:41:19 AM


   Summer and Mike,

   Thank you for reaching out to me last week to review the truck routing related to the tree clearance
   and construction being planned at Gross Reservoir. This project is currently in a Boulder County Land
   Use Review process. The issues of concern from our meeting were:
      1. There will be as many as 228 truck trips per day or 17 to 25 trucks per day accessing the site
         during different phases of the project between 2024 and 2026.
      2. Denver Water has stated that truck traffic will not utilize routes through the city of Boulder to
         access a processing site in Longmont. The number of trucks accessing Longmont will be fewer
         than 20% of the total truck trips. All other traffic will access the landfill site at SH93 just south
         of SH 72.
      3. Alternative routes to between Gross Reservoir and Longmont that do not enter the city of
         Boulder could impact other municipal and unincorporated areas both within and outside of
         Jefferson County.
      4. There is no specific plan described in the application for truck routing other than a broad
         statement that tucks will be utilizing SH 72 (Coal Creek Canyon) and SH 93.
      5. All truck traffic within Jefferson County will use CDOT-maintained roads and CDOT has limited
         authority to dictate the route of legally-loaded, non-oversized trucks.

   Please let me know if I am incorrect in describing any of these facts. In response to your request for
   comments related to the land use case for the Gross Reservoir expansion, please see the following
   Jefferson County comment:

   Jefferson County requests more specific information about the planned routing of trucks accessing
   Gross Reservoir to and from both the east and west sides of the project. Jefferson County’s concerns
   include the noise and traffic impact of trucks to unincorporated areas of Jefferson County and
   incorporated areas including the cities of Golden, Arvada, and Wheat Ridge. If routing of trucks will
   occur through incorporated areas within Jefferson County, the applicant should conduct outreach to
   staff at those cities.

   ………………………………………………………………….
   Steve Durian, PE, AICP
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   Jefferson County
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   From:            Jana Easley
   To:              Frederick, Summer
   Subject:         Referral memo for SI-20-0003, Gross Reservoir & Dam Expansion project at 3817 Gross Dam Road, at parcel
                    157928000006.
   Date:            Wednesday, September 30, 2020 5:34:43 PM



   Hello Summer,
   No comments or concerns from Lafayette on this referral.
   Thanks,
   Jana

   Jana Easley
   AICP | Interim Planning & Building Director
   City of Lafayette
   (303) 661-1271 (office)
   (720) 595-0450 (cell)
   jana.easley@cityoflafayette.com
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                         City of Boulder Open Space & Mountain Parks
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            Water quality is a critical health, economic and aesthetic concern. The city and county
            have been protecting, maintaining and improving water quality and overall health within


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          the Boulder Valley watersheds as a necessary component of existing ecosystems and as a
          critical resource for the human community. The city and county will continue to reduce
          point and nonpoint sources of pollutants, protect and restore natural water systems and
          conserve water resources. Special emphasis will be placed on regional efforts, such as
          watershed planning, and priority will be placed on pollution prevention over treatment
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          Water resource planning efforts will be regional in nature, consider climate change and
          incorporate the goals of water quality protection as well as surface and groundwater
          conservation. The city will use a variety of strategies, such as water conservation,
          demand management, reuse and acquisition of additional water supplies to meet the
          adopted municipal water supply reliability goals while balancing in-stream flow
          maintenance and preservation of sustainable agriculture. The city will seek to minimize
          or mitigate the environmental, agricultural and economic impacts to other jurisdictions
          and seek to prevent the permanent removal of land from agricultural production
          elsewhere in the state in its acquisition of additional municipal water rights. The city and
          county may continue to acquire water rights for Open Space purposes.
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          The city will pursue expansion of the existing in-stream flow program consistent with
          applicable law and manage stream flows to protect riparian and aquatic ecosystems
          within the Boulder Creek watershed.
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          DSSURYDOWKDWZRXOGFRQIOLFWZLWKWKHRSHUDWLRQRIWKHHQYLURQPHQWDOSRRO
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  %RXOGHU&UHHNEDVLQZDWHUULJKWVLQWKHHQYLURQPHQWDOSRRODQGFRRUGLQDWHUHOHDVHVWRPHHW
  WDUJHWVWUHDPIORZVLQ6RXWK%RXOGHU&UHHN%RXOGHULVDOVRSDUW\WRD,QWHUJRYHUQPHQWDO
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  LPSDFWVWRWKHDTXDWLFUHVRXUFHVLQ6RXWK%RXOGHU&UHHNDVVRFLDWHGZLWKWKH*URVV5HVHUYRLU
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         GRFXPHQWVDQGSHUPLWVDVQHFHVVDU\WRLQFOXGHWKHIROORZLQJVHQWHQFH³,IKHDY\
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                 Parks & Open Space
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                 UHVRXUFHV%&326VWDIIFRQFHQWUDWHGRXUDWWHQWLRQWRVHFWLRQVRIWKHDSSOLFDWLRQWKDW
                 GHVFULEHGZHWODQGVULSDULDQDUHDVDQGRWKHUYHJHWDWLYHDQGIRUHVWUHVRXUFHVDVZHOODV
                 WHUUHVWULDODQGDTXDWLFOLIH$ORQJZLWKWKRVHQDWXUDOUHVRXUFHVVWDIIUHYLHZHGWKHDSSOLFDWLRQ
                 IRULWVGLVFXVVLRQRILPSDFWVWRWKHHQYLURQPHQWDOUHVRXUFHVLGHQWLILHGE\WKH%RXOGHU&RXQW\
                 &RPSUHKHQVLYH3ODQ %&&3 WKDWRFFXULQWKHDUHD:LQLJHU5LGJH(QYLURQPHQWDO
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                 UHVRXUFHVDQGUHFUHDWLRQLPSDFWVHVSHFLDOO\DVWKDWDSSOLHVWRQHDUE\FRXQW\RSHQVSDFH
                 SURSHUWLHV)LQDOO\VWDIISURYLGHGFRPPHQWVRQIRUHVWU\DVSHFWVRIWKHSURMHFW6HYHUDO
                 DWWDFKPHQWVWRWKHUHIHUUDOSURYLGHPRUHGHWDLO%&326:LOGOLIH6WDII¶VFRPPHQWVDERXW
                 3UHEOH¶V0HDGRZ-XPSLQJ0RXVH%&326:LOGOLIH6WDII¶VFRPPHQWVDERXWWKH7ROO
                 0LWLJDWLRQSURSHUW\%&326:LOGOLIH6WDII¶VFRPPHQWVRQWKH(QYLURQPHQWDO5HVRXUFH
                 LPSDFWVRIWKHSURMHFW%&3263ODQW(FRORJ\6WDII¶VFRPPHQWVRQWKHSURSRVDO
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                 RIIRUHVWHGODQGVVRPHRIWKHPRUHFULWLFDOHQYLURQPHQWDOUHVRXUFHLPSDFWVDUHWRUHODWLYHO\
                 VPDOODUHDVWKDWDUHDOUHDG\XQFRPPRQLQWKHRYHUDOOODQGVFDSH\HWRIWHQSURYLGHKDELWDW
                 YDOXHVFULWLFDOWRDQLPDOVSHFLHVWKDWUDQJHLQWRRWKHUSRUWLRQVRIWKHUHJLRQLQFOXGLQJPRUH
                 FRPPRQIRUHVWW\SHV)RUH[DPSOHWKLVSURMHFWZLOOGLUHFWO\LPSDFWIRXUDFUHVRIULSDULDQ
                 KDELWDWVUHSUHVHQWLQJOHVVWKDQRQHSHUFHQWRIWKHWRWDODUHDDIIHFWHG+RZHYHUWKH
                 LPSRUWDQFHRIWKRVHIRXUDFUHVWRWKHHFRV\VWHPZLWKLQWKHSURMHFWDUHDH[WHQGVRXWVLGHWKRVH
                 ORVWDFUHVDQGLQWRWKHKDELWDWW\SHVRIWKHVXUURXQGLQJDQGDGMDFHQWIRUHVWDVPDQ\WHUUHVWULDO
                 DQLPDOVDUHGUDZQWRWKRVHDUHDVDWFULWLFDOWLPHVGXULQJWKHLUOLIHKLVWRULHV$GGLWLRQDOO\
                 VRPHRIWKHVHUHODWLYHO\VPDOODUHDVVXFKDVZHWODQGVDQGULSDULDQ]RQHVDUHKDELWDWIRU
                 PDQ\UDUHDQGVHQVLWLYHVSHFLHVRIIORUDDQGIDXQDWKH6SUHQJOH¶VVHGJHFRPPXQLW\IRU
                 H[DPSOH7KHVHDUHDVKDUERUFUXFLDOELRGLYHUVLW\WRWKHDUHD:KLOHWKHDSSOLFDWLRQ¶V
                 WUHDWPHQWRIWKHSURMHFWHIIHFWVRQWKHVHVPDOOVLWHVZLOOEHGLVFXVVHGEHORZVWDIIILQGVWKH
                 LPSDFWVWRVRPHRIWKHDIIHFWHGUHVRXUFHVWREHHLWKHUVLJQLILFDQWRUXQNQRZQDWWKLVWLPH
                 UDLVLQJLPSRUWDQWFRQFHUQVDERXWWKHSURMHFW

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        :KLOHVRPHRIWKHPRVWFULWLFDOHQYLURQPHQWDOUHVRXUFHVDQGSUHGLFWHGSURMHFWLPSDFWVDUHRQ
        WKRVHXQFRPPRQHOHPHQWVRIELRGLYHUVLW\VWDIIILQGVWKDWRWKHUSURMHFWLPSDFWVDUHEHVW
        YLHZHGWKURXJKDUHJLRQDO³JHRJUDSKLFDUHD´OHQV$WWKLVPRUHORFDOVFDOHORVVHVRIWKH
        HIIHFWLYHKDELWDWRIWKHVLWHDUHEHWWHUJDXJHGWRDVVHVVWKHUHDOLPSDFWWRZLOGOLIHDQGQDWXUDO
        FRPPXQLWLHV)RUH[DPSOHWKHDSSOLFDWLRQQRWHVWKDWWKHSURMHFWZLOOUHVXOWLQWKHORVVRI
        DFUHVRIHIIHFWLYHKDELWDWRQ86)RUHVW6HUYLFH 86)6 ODQGVZKLFKLVDYHU\VPDOO
        FKDQJHLQWKHRYHUDOODFUHDJHZKHQYLHZHGDWWKHIRUHVWZLGHSHUVSHFWLYH²WKH$UDSDKRDQG
        5RRVHYHOW1DWLRQDO)RUHVW $51) WRWDOVDSSUR[LPDWHO\DFUHVRIHIIHFWLYHKDELWDW
        DFFRUGLQJWRDSSOLFDWLRQGRFXPHQWV+RZHYHUZKHQYLHZHGORFDOO\WKLVUHSUHVHQWVDQRWDEOH
        UHGXFWLRQIURPWRLQWKHHIIHFWLYHKDELWDWRIWKH7KRURGLQ*HRJUDSKLF$UHD²WKH
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        LQWHUIDFHODQGVFDSHVXFKDVWKLVLPSDFWVWRHIIHFWLYHKDELWDWKLJKELRGLYHUVLW\DUHDVDQG
        HQYLURQPHQWDOFRQVHUYDWLRQDUHDVZLOOKDYHVLJQLILFDQWHIIHFWVVLQFHWKHORFDOSODQWDQG
        DQLPDOFRPPXQLWLHVZLOOUHVSRQGWRLPSDFWVDWWKHVHVPDOOHUJHRJUDSKLFFRPSRQHQWVRIWKH
        ODQGVFDSH7KHVHHIIHFWVDUHFRPSRXQGHGEHFDXVHWKHUHDUHPDQ\H[LVWLQJLPSDFWVWRWKH
        ODQGVFDSHXSRQZKLFKWKLVSURMHFWZLOODGGWRLQDFXPXODWLYHPDQQHU6WDIIFRQFOXGHVWKDW
        WKHORFDOLPSDFWRIWKHSURSRVDOGRHVUHSUHVHQWDVLJQLILFDQWORVVRIZLOGOLIHKDELWDWIRU
        VSHFLHVUHPDLQLQJLQWKHDUHD
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        WKHSURMHFW¶VLPSDFWVXSRQWKHPDQGWKHQLQDVHFRQGSDUWWRDVVHVVWKRVHLPSDFWVZLWK
        FRPSOLDQFHWRWKH%RXOGHU&RXQW\&RPSUHKHQVLYH3ODQDQGWKHHQYLURQPHQWDOUHVRXUFHV
        VHFWLRQVRIWKH6WDQGDUGVRI$SSURYDO&RPPHQWVDUHLQFOXGHGLQHDFKVHFWLRQRIWKLV
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        DQGUHFRPPHQGVWKDWWKHVHVLWHVEHUHVXUYH\HGSULRUWRFRQVWUXFWLRQWRGRFXPHQWDQ\
        FKDQJHVVLQFHWKHLULQLWLDOPDSSLQJ7KHUHODWLYHO\VPDOODPRXQWRIZHWODQGDFUHDJHLPSDFWHG
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        ZHWODQGKDELWDWVDUHIRXQGDORQJVWUHDPFRXUVHV7KH86$UP\&RUSVRI(QJLQHHUV
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        &RPPHQWV
           1. An updated wetland survey prior to project commencement would provide the most
               accurate wetland acreage impacts.
           2. A description of how the proposed wetlands mitigation addresses wetland impacts to the
               project area is critical to properly assess the project impacts.

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        %&326VWDIIDFNQRZOHGJHVWKDWWKHSURMHFWZLOOUHVXOWLQWKHSHUPDQHQWORVVRIDFUHVRI
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        XQSUHFHGHQWHGIRUDVLQJOHSURMHFWDFULWLFDODVSHFWRIWKLVLPSDFWLVWKHORVVRIDFUHVRI
        VHQVLWLYHSODQWFRPPXQLWLHV7KHDSSOLFDQWVWDWHVWKDWQRIHGHUDORUVWDWHWKUHDWHQHGDQG
        HQGDQJHUHGSODQWVDUHSURMHFWHGWREHLPSDFWHG+RZHYHUWKHUHDUHLPSDFWVWRVSHFLDOVWDWXV
        SODQWVDQGEHFDXVHWKHDSSOLFDQWKDVQRWFRPSOHWHGIXOOVXUYH\VIRU&1+3DQG%RXOGHU
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        FRPPXQLWLHVLVXQNQRZQDWWKLVWLPH7KH86$&(FRQVLGHUHGWKHULSDULDQLPSDFWVRIWKH
        SURSRVDOWREH³PDMRU´7KHVHQVLWLYHSODQWFRPPXQLWLHVDOVRLQFOXGHGDERXWRQHDFUHRI
        SRQGHURVDSLQHROGJURZWK SHUFHQWRIWKHWRWDOROGJURZWKRQWKHZKROH$51) DQG
        LPSDFWVWR6SUHQJOH¶V6HGJH DVSHFLDOVWDWXVSODQW 7KHDSSOLFDQWSURSRVHVWKDWWKH
        SURWHFWLRQRIWKH7ROO3URSHUW\ZKLFKLQFOXGHVDFUHVRIULSDULDQZRRGODQGVVKRXOG
        RIIVHWLPSDFWVDWWKH*URVV5HVHUYRLUVLWH$GGLWLRQDOO\WKHDSSOLFDQWKDVSURSRVHGWKDWLI
        VHQVLWLYHSODQWVSHFLHVDUHHQFRXQWHUHGWKHUHZRXOGEHDQHIIRUWWRUHORFDWHLQGLYLGXDOSODQWV
        WRRWKHUORFDWLRQV6WDIIUHFRJQL]HVWKHVLJQLILFDQWFKDOOHQJHVZLWKWKHVHNLQGVRIHIIRUWVDQG
        JLYHQWKHLUW\SLFDOXQVXFFHVVIXORXWFRPHVGRHVQRWFRQVLGHUWKLVDQDSSURSULDWHPLWLJDWLRQ
        UDWKHUDODVWGLWFKHIIRUWWRVDYHSODQWVWKDWZRXOGRWKHUZLVHEHGHVWUR\HG6WDIIUHFRPPHQGV
        WKHDSSOLFDQWSURYLGHDVSHFLILFSODQLQRUGHUWRJXDUDQWHHJUHDWHUVXFFHVVRIDWUDQVSODQWLQJ
        HIIRUWDQGGRFXPHQWRWKHUORFDWLRQVZKHUHVXFKUHORFDWLRQVKDYHEHHQVXFFHVVIXOLQWKHVHPL
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        DVLJQLILFDQWORVVIURPDFXPXODWLYHLPSDFWVVWDQGSRLQWSDUWLFXODUO\IRUORZHOHYDWLRQVWDQGV
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        SHUFHQWRIH[LVWLQJROGJURZWKRQWKHHQWLUH$51)LVSRQGHURVDSLQH²DUDUHKDELWDWWKDWZLOO
        ORVHDVLJQLILFDQWDPRXQWRIIXWXUHDFUHDJHZLWKWKLVSURSRVDO
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        &RPPHQWV
           1. In order for staff to fully assess the impacts of the project, it must be determined if Boulder
               County and CNHP special plant or plant communities are present in the project area and if
               they will be impacted. Staff is expecting this information will be supplied by the applicant.
           2. If special plant or plant communities will be impacted, staff expects that the applicant
               should propose methods for successfully mitigating those impacts.
           3. While not viewed as adequate mitigation, staff recommends that the applicant prepare a
               specific plan for the relocation of individual rare and sensitive plant species in order to
               improve chances of success in this effort.
           4. Staff recommends that an Invasive Plant and Noxious Weed Species Management Plan be
               prepared for Denver Water lands inside the project area.
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        7KHDSSOLFDWLRQGHVFULEHVRYHUDOOLPSDFWVDQGKDELWDWORVVIRUPDPPDOVUDSWRUVRWKHUELUGV
        DQGUHSWLOHVDQGDPSKLELDQV6DOLHQWSRLQWVIURPWKHDSSOLFDWLRQQRWHWKDWWKHPRYHPHQWVRI
        VRPHRIWKHVHVSHFLHVZLOOEHDIIHFWHGWKURXJKWKHPRGLILFDWLRQDQGORVVRIDYDULHW\RI
        ZLOGOLIHKDELWDWVLQFOXGLQJROGJURZWKIRUHVWHGDQGRSHQFRUULGRUVDQGLQWHULRUIRUHVWV7KH
        DSSOLFDWLRQFLWHVWKHILQDO(,6IRUWKHSURMHFWZKLFKIRXQGWKDWLQXQGDWLRQRIWKHHQODUJHG
        UHVHUYRLUIRRWSULQWZRXOGUHVXOWLQPRGHUDWHGLUHFWORQJWHUPHIIHFWVRQZLOGOLIHDQG
        DVVRFLDWHGKDELWDWWKURXJKWKHSHUPDQHQWORVVRUPRGLILFDWLRQRIUDQJHPLJUDWLRQFRUULGRU
        XVHDQGZLQWHUFRQFHQWUDWLRQDUHDVIRUODUJHPDPPDOVVXFKDVHON,WIRXQGWKDWWHPSRUDU\
        ZLOGOLIHGLVSODFHPHQWGXULQJFRQVWUXFWLRQHVSHFLDOO\RQWKHHDVWVLGHRIWKHUHVHUYRLUZRXOG
        RFFXUEXWWKDWWKHVHHIIHFWVZRXOGQRWOLNHO\DGYHUVHO\RUSHUPDQHQWO\DIIHFWRYHUDOOZLOGOLIH
        SRSXODWLRQV1HVWLQJDYLDQVSHFLHVFRXOGEHDIIHFWHGGXULQJFRQVWUXFWLRQEXWWKHVHHIIHFWV
        ZRXOGEHPLQRUDQGVKRUWWHUP$QGILQDOO\DOWKRXJKVRPHPLQRUORQJWHUPORVVRIKDELWDW
        IRUIRUHVWELUGVZRXOGRFFXURSHUDWLRQRIWKHUHVHUYRLUZRXOGSURYLGHEHQHILFLDOORDILQJDQG
        IRUDJLQJKDELWDWIRUUHVLGHQWDQGPLJUDWRU\ZDWHUIRZO
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        ,QWHUPVRIVSHFLHVRIFRQFHUQWKHDSSOLFDWLRQQRWHVWKDWIRU&RORUDGR1DWXUDO+HULWDJH
        3URJUDP &1+36SHFLHV VSHFLHVSUHVHQFHKDVQRWEHHQGRFXPHQWHG,WLVXQFOHDULIDVXUYH\
        ZDVFRPSOHWHGIRUVXFKVSHFLHVRUKRZPDQ\VSHFLHVDUHEHLQJFRQVLGHUHGDV³&1+3
        6SHFLHV´&1+3WUDFNHGLQYHUWHEUDWHVSHFLHVWKDWZHUHQRWVXUYH\HGLQFOXGHIRUH[DPSOH
        UKHVXVVNLSSHUKRSVIHHGLQJD]XUHPRWWOHGGXVN\ZLQJDQG0RVV¶VHOILQ7KHVHVSHFLHV¶
        SODQWKRVWVDUHDOOIRXQGLQWKHDUHD±EOXHJUDPDZLOGKRSVCeanothus spDQGSedum sp
        UHVSHFWLYHO\7KHVHLPSDFWVDUHRISDUWLFXODUQRWHVLQFHWKH&RORUDGR1DWXUDO+HULWDJH
        3URJUDPKDVGHVLJQDWHGD3RWHQWLDO&RQVHUYDWLRQ$UHDDW:LQLJHU*XOFKDQGWKHSURMHFW
        ZRXOGLPSDFWDFUHVRURILWVWRWDODUHD
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        :KLOH%&326DJUHHVZLWKVRPHRIWKHDVVHVVPHQWVIRUWKHVSHFLHVH[DPLQHGWKHUHDUHIRXU
        LPSRUWDQWDUHDVZKHUHVWDIIGLVDJUHHVZLWKWKHDSSOLFDQW¶VDVVHUWLRQVDERXWWHUUHVWULDODQLPDO
        LPSDFWV)LUVWVXFFHVVIXOWUDSSLQJUHVXOWVIRU3UHEOH¶VPHDGRZMXPSLQJPLFHRQWKHQHDUE\
        :DONHU5DQFK2SHQ6SDFHKDYHOHGVWDIIWRUHTXHVWWKDWWKHDSSOLFDQWFRQGXFWVXUYH\VRIWKH
        SURMHFWDUHDWRGHWHUPLQHLIWKLVIHGHUDOO\WKUHDWHQHGVSHFLHVRFFXUVWKHUH VHH$WWDFKPHQW 
        7KLV\HDU%&326VWDIIFRQGXFWHGDUHFRQQDLVVDQFHRIWKHSURMHFWDUHDDQGFRQILUPVWKDW
        VXLWDEOHKDELWDWGRHVH[LVWIRUWKLVVSHFLHVLQWKHSURMHFWDUHDDQGWKDWWKHSUR[LPLW\WRWKH
        NQRZQSRSXODWLRQVRQFRXQW\RSHQVSDFHZDUUDQWDILHOGVXUYH\RIWKHVLWH7KHSURMHFW¶V
        SRWHQWLDOLPSDFWVWRDWKUHDWHQHGVSHFLHVDUHRIFULWLFDOLPSRUWDQFHLQRUGHUWRIXOO\DVVHVVWKH
        SURMHFW¶VHQYLURQPHQWDOHIIHFWV
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        6HFRQGVWDIIFORVHO\UHYLHZHGWKHSURMHFWHGLPSDFWVWRHONDQGILQGVWKHPVLJQLILFDQW
        7KHSURMHFWZLOOFDXVHWKHORVVRIDFUHVRIERWKVHYHUHZLQWHUUDQJHDQGPLJUDWLRQ
        FRUULGRUDVZHOODVDFUHVRIZLQWHUFRQFHQWUDWLRQDUHD7KLVUHVXOWVLQWKHGLUHFWKDELWDW
        ORVVRIRQHWRWZRSHUFHQWRIZLQWHUFRQFHQWUDWLRQDUHDDQGVHYHUHZLQWHUUDQJHFXUUHQWO\
        XVHGE\WKHKHUGXQLW6HYHUHZLQWHUUDQJHLVWKHPRVWLPSRUWDQWDQGPRVWOLPLWLQJW\SHRI
        HONUDQJHLQWKHFRXQW\DQGLQWKHRYHUDOOVWDWH3UHYLRXVDQGRQJRLQJORVVHVRIVHYHUHZLQWHU
        UDQJHLQ&RORUDGRKDYHEHHQGRFXPHQWHGE\&3:DORQJZLWKWKHLULPSDFWV7KHDSSOLFDWLRQ
        VWDWHVWKDWDERXWVHYHQSHUFHQWRIWKHPLJUDWLRQFRUULGRUZRXOGEHORVW7KHDSSOLFDQWQRWHV
        WKDWWKHSURMHFWZRXOGOHDGWRFKDQJHGXVHSDWWHUQVLQZLQWHUKDELWDWVDQGFRXOGSRWHQWLDOO\
        UHVXOWLQLQFUHDVHGFRQIOLFWVEHWZHHQELJJDPHDQGSULYDWHODQGRZQHUV:KLOHVWDIIDJUHHWKDW
        WKHVHLPSDFWVDUHQRWOLNHO\WRUHVXOWLQWKHORVVRIWKHHONLQWKHDUHDHQWLUHO\VWDIIIHHOVWKDW
        WKHSURMHFWDGGVWRWKHFXPXODWLYHLPSDFWVWRWKHVHKDELWDWVDQGGRHVQRWILQGWKHVHSUHGLFWHG
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        HIIHFWVWREHFRQVLVWHQWZLWK86)6RU&RORUDGR3DUNVDQG:LOGOLIH &3: PDQDJHPHQWJRDOV
        IRUWKHDUHDZKLFKDFFRUGLQJWRWKHDSSOLFDWLRQDUHWRPDLQWDLQDQGHQKDQFHWKHIORUDDQG
        IDXQDLQWKH:LQLJHU5LGJHFULWLFDOHONZLQWHUUDQJH7KHSURMHFWQHLWKHUPDLQWDLQVQRU
        HQKDQFHVEXWZRXOGUDWKHUVLJQLILFDQWO\UHGXFHDQGGHJUDGHWKLVFULWLFDOHONZLQWHUUDQJH
        &RXSOHGZLWKWKHRWKHUFXPXODWLYHLPSDFWV±VXFKDVWKHH[WHQVLYHFRXQW\DQG86)6URDG
        V\VWHPZDWHULQIUDVWUXFWXUHWUDLOVLQWKHUHJLRQDQGWKHLPSDFWVRIKXPDQDFWLYLWLHVIURP
        KRXVHVLWHVLQWKHORFDOH LQFOXGLQJIUHHUDQJLQJSHWGRJV ±WKHDGGLWLRQDORQHSHUFHQWRI
        SHUPDQHQWLPSDFWWRWKLVUHVRXUFHLVVXEVWDQWLDO
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        7KLUGDFULWLFDODVSHFWRIWKHSURSRVDO¶VLPSDFWVRQWHUUHVWULDODQLPDOVLQWKHSURMHFWDUHDLV
        LWVUHGXFWLRQRIHIIHFWLYHKDELWDW:KLOHPRVWDUHDVRIHIIHFWLYHKDELWDWUHPDLQLQWKHRYHUDOO
        SURMHFWDUHDDFUHVRQ86)6ODQGVDUHORVWGXHWRLQXQGDWLRQ²DORVVRIRIWKH
        HIIHFWLYHKDELWDWRQ86)6ODQGVLQWKHSURMHFWDUHD7KLVUHSUHVHQWVDUHGXFWLRQIURPWR
        LQWKHHIIHFWLYHKDELWDWRIWKH7KRURGLQ*HRJUDSKLF$UHDDORFDOLPSDFWWKDW
        UHSUHVHQWVDYHU\LPSRUWDQWORVVRIZLOGOLIHKDELWDWIRUVSHFLHVUHPDLQLQJLQWKLVSRUWLRQRI
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        WKHSRWHQWLDOIRUWKHLURFFXUUHQFHLQWKHSURMHFWDUHD ([KLELWRIWKHDSSOLFDWLRQ
        GRFXPHQWV $SSDUHQWO\PRVWRIWKHVHVSHFLHVDVVHVVPHQWVZHUHEDVHGRQSXEOLVKHG
        OLWHUDWXUHFLWHGLQWKHH[KLELWDQGWKDWWKHUHZHUHQRILHOGLQYHQWRULHVFRQGXFWHGIRUDODUJH
        QXPEHURIWKHVHVSHFLHVHYHQWKHRQHVWKDW([KLELWVKRZVWKDWDUH³NQRZQRUOLNHO\WR
        RFFXU´,QWKHLQVWDQFHVWKDWILHOGZRUNZDVFRPSOHWHGIRUVSHFLHVWKHVXUYH\VIRUPDQ\RI
        WKRVHDSSHDUWREHDERXW\HDUVROG WKHUHZHUHILHOGLQYHQWRULHVIRUDPLQLPXPQXPEHURI
        VHOHFWVSHFLHVDWODWHUGDWHVHJQRUWKHUQJRVKDZNDQGRWKHUUDSWRUV 7KHUHDUHDOVRQR
        FRQFOXVLRQVRUHYHQGLVFXVVLRQVDERXWWKHSURMHFW¶VOLNHO\LPSDFWVRQWKHFRXQW\¶VZLOGOLIH
        VSHFLHVRIFRQFHUQ:LWKRXWWKLVLQIRUPDWLRQVWDIILVXQDEOHWRDVVHVVWKHIXOOLPSDFWRIWKLV
        SURMHFW2QHH[DPSOHLVEDWVSHFLHVZKHUHWKHDSSOLFDWLRQPHQWLRQVWKDWWKHSULPDU\LPSDFWV
        ZRXOGEHDORVVRIURRVWLQJWUHHVDURXQGWKHSHULPHWHURIWKHUHVHUYRLUIRUWKHDFUHVRI
        LPSDFWDUHDPDQ\EDWVSHFLHVDUHGHFOLQLQJDQGFRQVLGHUHGVSHFLHVRIFRQFHUQEXWWKH
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               1.       Based on the confirmation of occupied habitat by Preble’s meadow jumping mouse
               in close proximity to Gross Reservoir and confirmed suitable habitat within Winiger Gulch,
               BCPOS disagrees with the determination by the applicant and concurrence by U.S. Fish and
               Wildlife Service (in the 2006 Biological Opinion) that ‘project activities impacting these sites
               should not have direct adverse effects to Preble's or Preble's habitat.’ Please see the
               attached 1041 review document (Attachment 1) by BCPOS staff for details.
               2.       Given that additional information regarding Preble’s, as outlined above, has become
               available, the county should require the applicant re-initiate consultation with USFSW in
               accordance with the 2006 Biological Opinion.
               3.       Staff also reviewed the Habitat Conservation Plan for PMJM provided by Denver
               Water and provides comments and recommendations for the applicant on the management
               of Leyden Gulch and Ralston Creek to improve conditions for PMJM.
               4.       If Preble’s are found in the area, the applicant would need to detail impacts and
               propose mitigation.
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               5.      In order for staff to assess the true environmental impacts of this project, the
               applicant must provide information about all of the Boulder County species of concern,
               whether they occur on the site, if they will be impacted by the proposal, and whether any
               impacts are to be mitigated.
               6.      Many of the studies included in the application are several years old now. Staff is
               concerned that the proposal could have environmental impacts on resources that have
               changed.
               7.      The application notes that many county species of concern (both flora and fauna)
               may occur in the project area but that the applicant has not surveyed for their presence.
               There are also no conclusions or even discussions about the project’s likely impacts on the
               county species of concern. Without these species being surveyed for and the project’s
               impacts assessed on their presence, BCPOS is unable to assess the environmental impacts of
               the project on these elements of the landscape that provide crucial biodiversity to the area.
               8.      While the application finds that the project will have an impact on elk, BCPOS staff
               concludes that the impact will be significant. The applicant has not proposed mitigation for
               these effects such as increased conflicts with private landowners as noted in the application.


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        DGGHGWRWKRVHDOUHDG\HVWDEOLVKHG7KLVLVFRQVLVWHQWZLWKWKH6RXWK%RXOGHU&UHHN
        PLWLJDWLRQSODQDQGORFDOVWUHDPUHVWRUDWLRQIRUQDWLYHILVK,QWURGXFHGJDPHILVKDUHWKH
        SULPDU\WKUHDWDORQJZLWKORZPLQLPXPVWUHDPIORZVWRWKHVXUYLYDORIVWDWHOLVWHGQDWLYH
        ILVKVSHFLHV(VFDSHPHQWGRZQVWUHDPDQGPLJUDWLRQXSVWUHDPRIWKHVHQHZO\LQWURGXFHG
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               1.      Staff requests that no new gamefish species be added to those already established
               in the existing reservoir.

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        YLVXDOUHQGHULQJZDVLQFOXGHGLQWKHPDLQDSSOLFDWLRQH[KLELWV%DVHGRQWKHDSSOLFDWLRQLW
        GRHVDSSHDUWKDWWKHSURMHFWDQGDVVRFLDWHGDFWLYLWLHVZLOOQRWEHVLJQLILFDQWO\YLVLEOHWR
        YLVLWRUVRIWUDLOVDW:DONHU5DQFK+RZHYHUWKHUHZLOOEHLPSDFWVYLVLEOHWRYLVLWRUVRI
        :DONHU5DQFKWKDWYHQWXUHLQWRRSHQDUHDVRIWKHSURSHUW\WKDWDUHRIIWUDLO0RUHYLVXDO
        LPSDFWUHQGHULQJVIURPYDULRXVORFDWLRQVDUHQHFHVVDU\WREHWWHUDVVHVVWKHYLVXDOLPSDFWRI
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        SODQVRIWKHWZRDJHQFLHVWRDFFRPPRGDWHWKHQHZUHVHUYRLUGRQRWFKDQJHUHFUHDWLRQDO
        RSSRUWXQLWLHVLQWKHORQJWHUPLQWKHDUHD5DWKHUWKHSURSRVDOLVWRSULPDULO\UHORFDWHDQG
        UHSOLFDWHWKHIDFLOLW\W\SHVDQGFDSDFLWLHV7KHDSSOLFDWLRQLGHQWLILHVWKHH[LVWLQJUHFUHDWLRQ
        DUHDVDWWKHUHVHUYRLUDQGJHQHUDOO\VWDWHVWKDWWKHDSSOLFDQWZRXOGNHHSDVPDQ\RIWKHVH
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        VLWHVDQGDPHQLWLHVRSHQDVIHDVLEOHGXULQJWKHFRQVWUXFWLRQWLPHIUDPHDQGUHLQVWDOODVPDQ\
        RIWKHPLQORFDWLRQVDERYHWKHZDWHUOLQHRIWKHH[SDQGHGUHVHUYRLU$VHULHVRIH[KLELWVLQWKH
        DSSOLFDWLRQVKRZWKHSODQVIRUWKHQHZUHFUHDWLRQDUHDV7KHDWWULEXWHVRIHDFKH[LVWLQJ
        IDFLOLW\DWWKHUHVHUYRLUDUHPHQWLRQHGLQWKHDSSOLFDWLRQEXWWKHGLVFXVVLRQSULPDULO\
        DGGUHVVHVWHPSRUDU\FORVXUHVGXULQJFRQVWUXFWLRQ7KHDSSOLFDWLRQQRWHVWKDWUHFUHDWLRQ
        RSSRUWXQLWLHVRYHUDOORQERWK86)6DQG'HQYHU:DWHUODQGVZLOOEHXQFKDQJHGXQGHUDQ
        XSGDWHG5HFUHDWLRQ0DQDJHPHQW3ODQ 503 +RZHYHUDQXSGDWHKDVQRWEHHQVXEPLWWHG
        DQGQRFRQVXOWDWLRQRQLWIURPVWDNHKROGHUVLQFOXGLQJ%&326LVQRWHG7KHDSSOLFDWLRQ
        LQGLFDWHVWKDWQRDGGLWLRQDOGHYHORSHGUHFUHDWLRQVLWHVDUHSURSRVHG:KLOHWKHSODQVDUH
        SUHOLPLQDU\DWWKLVWLPHWKHIDFLOLWLHVLQFOXGHSDUNLQJVSDFHVLQWRWDOIRUDOORIWKH'HQYHU
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        'HQYHU:DWHU*URVV5HVHUYRLUSXEOLFIDFLOLWLHVDQG86)6ODQGVLQRUGHUWREHWWHUDVVHVVWKH
        LPSDFWVRIWKLVDVSHFWRIWKHSURMHFW6WDIIVXSSRUWVWKHLQFOXVLRQRIWKH)(5&UHTXLUHG
        UHFUHDWLRQPDQDJHPHQWPHDVXUHVIRU86)6ODQGVVXFKDVWKH+XPDQ%HDU,QWHUDFWLRQ3ODQ
        DQG5HFUHDWLRQ$GDSWLYH0DQDJHPHQW3ODQ+RZHYHUVWDIIUHFRPPHQGVWKDWWKHDSSOLFDQW
        WDNHVDIRUZDUGORRNLQJDSSURDFKWRDGGUHVVLQJYLVLWDWLRQDQGVLWHFDSDFLW\LVVXHVWKDWDUH
        OLNHO\WRDULVHDWWKHH[SDQGHGUHVHUYRLU)RUH[DPSOHGXULQJWKLVODVWVSULQJDQGVXPPHUWKH
        DGMDFHQW:DONHU5DQFK2SHQ6SDFHH[SHULHQFHGLWVKLJKHVWYLVLWDWLRQUDWHVHYHU FHUWDLQO\LQ
        SDUWGXHWRWKHSDQGHPLF DWWLPHVSDUNLQJGHPDQGIDUH[FHHGHGWKHDYDLODEOHVSDFH
        FDSDFLW\DWWKHSURSHUW\
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        $GGLWLRQDOO\EHFDXVHRIWKHSUR[LPLW\RIWKHWZRVLWHV*URVV5HVHUYRLUDQG:DONHU5DQFK
        LQGLUHFWLPSDFWVFRXOGDQGSRVVLEO\ZRXOGEHVXEVWDQWLDORQERWKSURSHUWLHV,QFUHDVHGSXEOLF
        XVHRIWKHUHVHUYRLULVOLNHO\WREHVLJQLILFDQWDQGWKDWLQFUHDVHLQUHFUHDWLRQDOYLVLWVWRWKH
        DUHDZRXOGOLNHO\UDLVHYLVLWDWLRQUDWHVDW:DONHU5DQFKHVSHFLDOO\VLQFHDFFHVVWRUHFUHDWLRQ
        DUHDVRQWKHQRUWKVLGHRI*URVV5HVHUYRLULVSURYLGHGSULPDULO\IURP)ODJVWDII5RDG WKH
        PDLQDFFHVVWR:DONHU5DQFKWUDLOKHDGV DQ\LQFUHDVHLQYLVLWRUXVHDW*URVV5HVHUYRLULV
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               1. In order to assess the visual impacts of the project, additional visual renderings and
                   discussion shall be provided by the applicant.
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               2. The applicant shall update the Recreation Management Plan for the area and address:
                   how the future recreation sites in the project area will accommodate increased
                   visitation; measures to reduce traffic on local roads by recreationists; input from local
                   stakeholders including BCPOS; and the proposed BCCP regional trail in the area.
               3. BCPOS will provide the applicant with updated visitation information for Walker Ranch
                   so that any potential recreation and visitation impacts to Walker Ranch can be better
                   determined.

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               1.      The harvesting plan should be run on the current version of LOGCOST, 12.0 to
               accurately reflect corrected calculations & current conditions.
               2.      Ground-based operations with wheeled equipment should be limited to areas with
               less than 30-35% slope maximum due to the unstable soils located within the project area.
               3.      Cable yarding units should be limited due to the extensive temporary road
               construction required.
               4.      Aerial yarding would be highly preferred for harvesting units where ground-based
               operations are not feasible/desired due to site damage potential.
               5.      Boulder County requests that a BMP plan as it relates to vegetation removal &
               water quality plan be submitted for review.
               6.      Boulder County is opposed to the use of Air Curtain Destructors as proposed as a
               primary means of residue disposal due to the volume over duration and the subsequent
               effect on the airshed.
               7.      The project should explore every avenue, within reason, for utilization of the
               harvested material. Following the example of the USFS Stewardship contract is
               recommended.
               8.      Applicant should ensure that the associated impacts with the proposed primary haul
               routes and secondary roads for the Tree Removal Plan are factored into the overall project
               transportation impacts.

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           1.     The application notes the importance of the 539-acre Toll Property as an off-license
                   agreement environmental mitigation site. BCPOS needs more information to
                   understand and assess the value of the property as mitigation. The applicant shall
                   submit a report and map that outlines the specifics of the property, which lands are part
                   of the OLA and how they will be managed in the long-term to ensure that the important
                   environmental resources identified on them would be protected for the term of the OLA
                   and project, if not in perpetuity.
           2.     As there is no enforcement condition as part of many of the proposed mitigations, the
                   County would like to see a mechanism that ensures progress and implementation of the
                   variety of mitigation measures and enhancement agreements. This could be
                   implemented as a monitoring and reporting agreement showing progress towards
                   establishment, spending and completion of the variety of restoration and mitigation
                   progress as agreed to in this 1041 application. Land in Boulder County is being impacted
                   directly by this development, and so, it is in the county interest to know that the variety
                   of resource mitigations both within and outside of Boulder County are on track to be
                   completed.

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            1. BCPOS staff finds the project to have major, significant impacts on environmental resources
                identified in the BCCP.
            2. The application does not provide information about many critical elements of Boulder
                County’s BCCP-identified environmental resources—especially county wildlife and plant
                species of concern. Without this information, BCPOS staff cannot fully assess the project’s
                impact on these important and crucial components of the area’s biodiversity.

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        GHJUDGHWKHTXDOLW\RIWHUUHVWULDODQGDTXDWLFOLIHEDVHGRQWKHDERYHGLVFXVVLRQVRI HON
        PLJUDWLRQFRUULGRUV HONZLQWHUFRQFHQWUDWLRQDUHDV HONVHYHUHZLQWHUUDQJH WKH
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        IUDJPHQWDWLRQIURPWKHLPSDFWRIHQODUJLQJWKHUHVHUYRLUWRVPDOODQGPHGLXPVL]HG
        PDPPDOVUHSWLOHVDQGDPSKLELDQV)XUWKHULWLVXQNQRZQZKDWLPSDFWVZRXOGRFFXUWR
        QXPHURXVWHUUHVWULDODQGDTXDWLFFRXQW\ZLOGOLIHVSHFLHVRIFRQFHUQ ([KLELW WKDWKDYHQRW
        EHHQLQYHQWRULHGQRUDGGUHVVHGLQWKHDSSOLFDWLRQ
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        FDQEHPHW5HIHUHQFLQJWKHDERYHGLVFXVVLRQVDOOWKUHHRIWKHHONKDELWDWW\SHV PLJUDWLRQ
        FRUULGRUZLQWHUFRQFHQWUDWLRQDUHDVDQGVHYHUHZLQWHUUDQJH DUHFULWLFDOHONKDELWDWV<HWWKH
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        FRQVXOWDWLRQZLWKWKH86)6ZRXOGPHHWWKLVVWDQGDUG\HWQHLWKHUWKH0RQLWRULQJ3ODQRU
        0DQDJHPHQW3ODQKDVEHHQVXEPLWWHGQRUUHYLHZHGE\WKHFRXQW\:LWKRXWWKHSODQVWDIILV
        XQDEOHWRDVVHVVLIVLPSO\FRPSOHWLQJVXFKDSODQZRXOGEHDGHTXDWHWRPHHWWKLVVWDQGDUG
        7KHUHVHUYRLUGRHVUHSUHVHQWDVXEVWDQWLDOSRWHQWLDOKRVWVLWHWRVHYHUDOLQYDVLYHVSHFLHV
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        Attachment 1

        Preble’s Meadow Jumping Mouse Gross Reservoir Expansion 1041 Review and Suggested
        Mitigation Measures

        Susan Spaulding, Senior Wildlife Biologist, Boulder County Parks and Open Space

        Tim Shafer, Wildlife Biologist, Boulder County Parks and Open Space

        Based on the confirmation of Preble’s Meadow Jumping Mouse (Preble’s) occupied habitat in close
        proximity to Gross Reservoir and confirmed suitable habitat within Winiger Gulch, Boulder County
        disagrees with the determination by Denver Water and concurrence by U.S. Fish and Wildlife Service
        (2006 Biological Opinion) that ‘project activities impacting these sites should not have direct adverse
        affects to Preble's or Preble's habitat.’
        Excerpt from USFWS Biological Opinion dated 9/14/06-

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                UHTXHVWLQJUHYLHZRIWZRUHSRUWVUHJDUGLQJWKH3UHEOH¶VPHDGRZMXPSLQJPRXVHZapus
                hudsoniuspreblei 3UHEOH V DVUHODWHGWRWKH0RIIDW&ROOHFWLRQ6\VWHP3URMHFW7KH\DUH 
                DWUDSSLQJVXUYH\DW/H\GHQ*XOFK-HIIHUVRQ&RXQW\&RORUDGR 6HFWLRQ7RZQVKLS
                6RXWK5DQJH:HVW DQG DKDELWDWHYDOXDWLRQRIWKUHHVWUHDPV )RUV\WKH*XOFK
                :LQLJHU*XOFKDQG6RXWK%RXOGHU&UHHN WKDWDUHWULEXWDULHVWR*URVV5HVHUYRLU%RXOGHU
                &RXQW\&RORUDGR 6HFWLRQ7RZQVKLS6RXWK5DQJH:HVWDQG6HFWLRQ7RZQVKLS
                6RXWK5DQJH:HVW 7KHIROORZLQJFRPPHQWVDUHSURYLGHGXQGHUWKHDXWKRULW\
                FRQIHUUHGWRWKH6HUYLFHE\WKH(QGDQJHUHG6SHFLHV$FWRI (6$ DVDPHQGHG 
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                VXEMHFWDUHDV7KHUHIRUHWKH6HUYLFHFRQFOXGHVWKDWSURMHFWDFWLYLWLHVLPSDFWLQJWKHVHVLWHV
                VKRXOGQRWKDYHGLUHFWDGYHUVHDIIHFWVWR3UHEOH VRU3UHEOH VKDELWDW
                6KRXOGDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJOLVWHGRUSURSRVHGVSHFLHVEHFRPHDYDLODEOHWKLV
                GHWHUPLQDWLRQPD\EHUHFRQVLGHUHGXQGHUWKH(6$
        The above referenced habitat assessment of Forsythe Gulch, Winiger Gulch and South Boulder
        Creek (Ensight Technical Services Inc., 2005), concluded that suitable Preble’s habitat exists within
        Winiger Gulch, but stated that this suitable habitat was disconnected from occupied habitat with the
        construction of Gross Dam and any potential historic PMJM populations therefore were isolated and
        likely no longer in existence. USFWS concurred with this assessment in their 2006 BO, with the
        caveat that if additional information regarding listed or proposed species become available, their
        determination may be reconsidered under the ESA.

        Subsequent to this determination, small mammal trapping was conducted in Tom Davis Gulch,
        which is located 0.75 miles east of the eastern shore of Gross Reservoir (Figure 2). This trapping
        effort was conducted by the Colorado Natural Heritage Program in 2007 and resulted in the positive
        capture of one individual. Trapping occurred August 20-21, 2007, and the captured Preble’s was a
        lactating female.

        In 2015, BCPOS biologists conducted additional small mammal trapping to further assess Preble’s
        population status within Tom Davis Gulch. The post-fire recovery (Walker Ranch Fire 2000) of
        vegetative conditions both within Tom Davis Gulch, and in the surrounding uplands had resulted in
        increased shrub and willow development, as well as a more diverse and dense understory
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        herbaceous cover. This trapping effort resulted in the capture of 33 individuals. Trapping occurred
        August 4-6, 2015.

        As a result of the increased population numbers of Preble’s found in 2015, small mammal trapping
        was conducted further north in Meyers Gulch in 2018. This trapping was conducted to determine
        connectivity through less suitable habitat contiguous to suitable habitat between Tom Davis Gulch
        and Meyers Gulch. This effort lead to the capture of two Preble’s mice. Of note, Meyers Gulch and
        Tom Davis Gulch are separated by Flagstaff Road, so it appears Preble’s can navigate roadways in
        dispersal movements.

        Prior to the Walker Ranch Fire in 2000, no Preble’s trapping had occurred in Tom Davis Gulch or
        Meyers Gulch. However, suitable habitat did exist within the burned area. It is possible therefore
        that individual mice within the fire footprint were displaced or killed. The fire burned 1,100 acres
        including the entire length of Tom Davis Gulch and part of Meyers Gulch. The subsequent
        documented captures and then increased presence could be considered as evidence of their
        resiliency and ability to disperse and move either away from, or back into areas with changed
        conditions. As referenced in the U.S. Fish and Wildlife Preble’s Recovery Plan, dispersal has been
        documented via telemetry studies, as follows:


                7KHVXEVSHFLHVKDVDOVRGLVSOD\HGDQDELOLW\WRWUDYHOORQJGLVWDQFHVERWKDORQJULSDULDQDUHDV
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                GRFXPHQWHGSHUFHQWRIDOOMXPSLQJPLFHWDJJHGDORQJ0RQXPHQW&UHHNPRYLQJDWOHDVW
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                IURPLWVSRLQWRIRULJLQDOFDSWXUHLQ5RFN&UHHNSHUSHQGLFXODUO\LQWRDWULEXWDU\LQDKRXU
                SHULRGLQGLFDWLQJOLNHO\RYHUODQGPRYHPHQW


        The habitat conditions and quality of Meyers Gulch and parts of Tom Davis Gulch are similar to that
        found in Winiger Gulch, as confirmed by a site visit conducted at Winiger Gulch on October 15, 2020
        by BCPOS biologists Tim Shafer and Susan Spaulding (Figure 1 and photos 1-4). Site conditions
        include a well-established understory comprised of a multi-storied, native composite (snowberry,
        rose, grasses). Overstory is comprised of native willows, alder and tall shrubs. Additionally, the areas
        separating less suitable stretches between suitable areas is similar, related to connectivity and
        potential Preble’s dispersal. All assessed habitat in Winiger Gulch occurred below approximately
        7,600’ in elevation.

        Winiger Gulch is part of a Colorado Natural Heritage Program designated High Biodiversity Area (B3-
        High Biodiversity Significance) in their survey of critical biological resources in Boulder County. As
        such, additional information on plant composition and associations is available due to their
        assessment of the area. The habitat description is as follows:

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                7KHUHLVDPL[HGXQGHUVWRU\DORQJWKHVWUHDPZLWKPHVLFIRUEVGRPLQDWLQJLQVRPHDUHDVDQG
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        It is therefore reasonable to conclude that Preble’s could be present in Winiger Gulch, as evidenced
        by known populations in close proximity, as well as more current information on dispersal distances
        including upland movements. Winiger Gulch is potentially connected Tom Davis Gulch and Meyers
        Gulch via ephemeral drainages, and undeveloped upland areas. The habitat condition and specific
        plant composition within Winiger Gulch, as confirmed both by the site visit on 10/15/20, and the
        detailed assessment by CNHP, reconfirm the suitability for occupation by Preble’s. Additionally, the
        documented response of Preble’s to disturbance events, and their subsequent re-colonization
        and/or recovery after the Walker Ranch Fire shows their ability to disperse to suitable habitat from
        source populations, or to recover in population size after disturbance.

        Notification of Trapping Results Provided to Denver Water:

        Information on Boulder County’s trapping results was presented to Denver Water on June 19, 2019
        during a meeting with Denver Water representatives. Information was also conveyed to Denver
        Water during the Draft EIS public comment period in 2010. (Comment #779-21, ID 5035).

        Comment #779-21 (ID 5035): The Draft EIS analysis of potential impacts to Preble’s Meadow
        Jumping Mouse should be revised to consider new information concerning potential Preble’s
        existence at higher elevations, including those drainages feeding Gross Reservoir from the west. A
        new Determination of Effect should be undertaken that considers this new information.[28]
        FOOTNOTE: [28] See id. at Chap. 3, pages 171 - 196; Chap. 4, page 290.

        Recommendations:

        Given that additional information regarding Preble’s, as outlined above, has become available,
        Boulder County requests Denver Water re-initiate consultation with USFSW in accordance with the
        2006 Biological Opinion.

        Denver Water’s HCP and Recommended Mitigation Measures:

        Denver Water completed a Preble’s Habitat Conservation Plan in 2003 (Denver Water, 2003). HCPs
        are required for activities having the potential to impact threatened and endangered species under
        the authority of section 10 of the Endangered Species Act (ESA) of 1973, as amended. Denver
        Water’s HCP for Preble's provides guidance for Denver Water's operations and management
        decisions for a thirty-year timeframe. It was based on the most current scientific knowledge
        available at the time. It is acknowledged within this HCP that modifications to the HCP might be
        necessary based on new information over time.

        Excerpts from Denver Water’s HCP:

        Section 5. a. ii Biological Goals
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        (c) To the extent practicable, protect corridor linkages (between separate drainages) for populations
        or potential populations of Preble’s on Denver Water and neighboring properties; (d) To the extent
        practicable, provide habitat connections to existing Occupied or Potential Habitat on Denver Water
        and neighboring properties;

        This stated goal outlines protections measures for habitat connections or corridor linkages within
        Denver Water’s ownership and adjacent neighboring properties.

        Trapping efforts conducted by Jefferson County Open Space on Coal Creek in 2019 resulted in
        confirmed Preble’s captures within approximately 1.4 miles of Leyden Gulch. This area is located
        directly adjacent to Denver Water owned property located south of Highway 73, and west of
        Highway 93. This property contains Leyden Gulch, which is referenced in Denver Water’s HCP as
        follows:

        XI. Adaptive Management

        D. Habitat Suitability Determinations

        2. Leyden Gulch, Platte Canyon Reservoir, and Ralston Creek below Ralston Reservoir

        Leyden Gulch, Platte Canyon Reservoir, and Ralston Creek below Ralston Reservoir currently have
        Unsuitable Habitat based on negative trapping surveys, although all three sites have vegetative
        conditions suitable for Preble's. It is possible that these sites may become Potential or Occupied
        Habitat in the future. If Denver Water has future projects at these sites that may affect habitat, a site
        evaluation will be conducted. If the evaluation determines that vegetative conditions are suitable for
        Preble's, a trapping survey will be conducted according to the latest FWS guidelines. A negative
        survey demonstrates Unsuitable Habitat for a minimum of 3 years.

        Leyden Gulch has been trapped for Preble’s presence by Ensight Technical Services. These trapping
        efforts occurred in 1997 and were repeated in 2005. (Ensight, 1997, 2005). As outlined in these two
        separate trapping efforts conducted by Ensight Technical Services, Inc., there was a significant
        decline in riparian condition, and resultant decline in small mammal abundance and diversity
        between the 1997 and 2005 efforts. This decline in riparian condition was attributed to ‘heavy’
        impacts from cattle grazing. At present, it is unknown if Leyden Gulch has any areas fenced off from
        cattle grazing, but observations of the site indicate that when cows are present, they have full
        access to all riparian areas, including wetlands and riparian corridors.

        It is recommended that Denver Water adhere to their stated objectives in the HCP and make efforts
        towards improving Leyden Gulch habitat values, as riparian corridors are critical for several species,
        and general development along the foothills transition zone along the Front Range has impacted
        many riparian corridors. Further, improvement of the habitat conditions along Leyden Gulch could
        off-set losses of suitable habitat in Winiger Gulch with inundation caused by the expansion project.
        Additionally, as Preble’s were documented in 2019, just 1.5 miles north and within dispersal
        distance to Leyden Gulch, protecting and enhancing this habitat is consistent with stated objectives
        in the Denver Water HCP.

        Further, current active construction (North System Renewal) by Denver Water adjacent to Ralston
        Creek below Ralston Dam has impacted upland habitat adjacent to Ralston Creek. Ralston Creek is
        known to be occupied by Preble’s, although farther west than the disturbance footprint of this
        project. However, due to this permanent alteration of land adjacent to Ralston Creek, improvement
        or enhancement of Leyden Gulch and the surrounding upland areas is of increased importance.
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        Boulder County has achieved successful enhancement of riparian and upland areas by removing
        cattle grazing practices. On some properties, installation of riparian corridor fencing with an upland
        buffer, to exclude cattle, has been implemented with success as well. As per Denver Water’s stated
        objectives (Denver Water HCP), this effort seems to qualify as realistically ‘practicable’ on behalf of
        Preble’s.



          Figure 1- Area at Winiger Gulch Assessed for Habitat Values 10/15/20- Susan Spaulding and Tim
                                                      Shafer
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         Photo 1- Winiger Gulch Site Visit 10/15/20
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         Photo 2- Winiger Gulch Site Visit 10/15/20
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         Photo 3- Winiger Gulch Site Visit 10/15/20
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         Photo 4- Winiger Gulch Site Visit 10/15/20
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             Figure 2- Occupied Preble’s Habitat- Tom Davis Gulch/Meyers Gulch and Potential Riparian and
                                         Overland Connectivity to Winiger Gulch




        References:

        Denver Water. 2003. Habitat Conservation Plan for the Preble’s Meadow Jumping Mouse. Prepared
        for the City and County of Denver’s Board of Water Commissioners. 106 pages.

        Ensight Technical Services, Inc., 2005. Habitat Evaluation of Potential Preble’s Meadow Jumping
        Mouse Habitat at Gross Reservoir, Boulder County, Colorado.

        Ensight Technical Services, Inc., 2005. Presence or Absence Survey for Preble’s Meadow Jumping
        Mouse at Leyden Gulch, Jefferson County Colorado.

        Ensight Technical Services, Inc., 1997 Presence or Absence Survey for Preble’s Meadow Jumping
        Mouse at Leyden Gulch, Jefferson County Colorado.

        Neid, S., J. Lemly, K. Decker and D. Culver. 2009. Final Report: Survey of Critical Biological Resources
        in Boulder County 2007-2008. Colorado Natural Heritage Program, Fort Collins, CO.

        Schorr RA. 2003. Meadow jumping mice (Zapus hudsonius preblei) on the U.S. Air Force Academy, El
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        Attachment 2. Review of Proposed Toll Property Mitigation

        Susan Spaulding, Senior Wildlife Biologist, Boulder County Park and Open Space

        Mitigations per land swap as referenced in the 1041 Areas and Activities of State Interest
        Application, Table 6 Mitigation Measures:

        Denver Water references a 539-acre land conveyance (Toll Property) to the USFS multiple times as
        mitigation for lost acres due to inundation by the expansion project. The 539-acres is centered
        around the CNHP designated Mammoth Gulch PCA (Figure 1), which encompasses areas of rare or
        imperiled plant associations as well as a historic occurrence record of boreal toads. However,
        according to the Gilpin County Assessors information, parcels 170723100003 (account R012135)
        (Figure 3) and 170712400002 (account R012136) (Figure 2) are in the City and County of Denver’s
        ownership as of 2/3/2015. These parcels comprise the heart of the CNHP designated Mammoth PCA
        including Teller Lake and the Mammoth Creek reservoir area and the majority of the Mammoth
        Gulch drainage. Additionally, parcel 170723100003 (Mammoth Placer) encompasses almost the
        entire length of Mammoth Creek, so seems to represent a configuration conducive to future water
        conveyance planning efforts (last sale date denotes 6/18/2017, per Gilpin County Assessors
        Records).

        Recommended Mitigation Measures:

        It is unclear why Denver Water has retained the two parcels noted and has not conveyed them to
        the USFS as part of the Denver Water/USFS Settlement Agreement. Multiple reference is made
        regarding the 539-acre land conveyance surrounding these two parcels as the main mitigation
        measure undertaken by Denver Water to off-set habitat loss due to the implementation of the
        Moffat Collection System Project. However, the two parcels containing the most valuable habitat
        features within the Mammoth Gulch PCA were not conveyed to the USFS. As such, Boulder County
        requests that Denver Water make firm commitments to maintain or enhance the habitat values
        within these parcels, long-term. Steps towards habitat enhancement or maintenance can be
        accomplished by consulting with CPW or USFS aquatic biologists towards creating habitat conditions
        that could support the recolonization or relocation of boreal toads to the Mammoth Creek drainage,
        including the ponds around Teller Lake. Additionally, protecting these parcels from human
        disturbance in the form of social trails, dispersed camping or motorized vehicles is strongly
        encouraged.

        Additional mitigation measures recommended include encouraging Denver Water’s continued
        partnership with the USFS, both through the Forests to Faucets program, but also through
        consideration of funding additional USFS staff positions. The USFS is critically challenged by a lack of
        staff positions. As the conveyance of the 539 acres is referenced as the main mitigation measure to
        offset habitat loss, it is imperative to acknowledge that the USFS lacks the resources to ‘protect’
        these areas. Increased recreational pressure within USFS lands has become difficult for the agency
        to manage, due to this lack of staffing. It is therefore unclear if this land conveyance will result in the
        enhanced protections of this area, based on a lack of staffing resources available to ensure these
        protections.
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         Figure 1- Mammoth Gulch PCA
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         Figure 2- Parcel ID- 170712400002- Manilla Placer containing Teller Lake, Mammoth Gulch
         Reservoir area, and small ponds.
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         Figure 3- Parcel ID- 170723100003- Mammoth Placer- contains the majority of the Mammoth
         Creek drainage.




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        $WWDFKPHQW
        Gross Dam Expansion -Wildlife Impact Mitigation Memo, Mac Kobza, 11/10/20

        RE: (1) CNHP Winiger Gulch PCA, (2) CNHP Targeted Inventory Areas (Upland, Wetland, Zoology) and
        (3) Boulder County ECA #6, Wildlife Migration Corridor #95 and Natural Landmark #26, (4) Fish
        Stocking, (5) Assurance of mitigations.

             1. Winiger Gulch PCA – expansion will damage a significant natural area
        In 2006-2009, the Colorado Natural Heritage Program (CNHP) “systematically identified the locations
        of rare species and significant natural plant communities in Boulder County, and also identified and
        prioritized areas of critical habitat (Potential Conservation Areas) for these species and communities”
        to, among other reasons, “provide data for development review purposes through the Boulder County
        Land Use Department” (CNHP, 2009).

        The Winiger Gulch Potential Conservation Area (PCA) was identified as a “B3”, or High Biodiversity
        area of Significance – having among the highest priority for conservation actions. This site represents
        an area which CNHP recommends for protection in order to “preserve the natural heritage of Boulder
        County”.

        As of 2009, this PCA was given a Protection Urgency of “P2”, meaning “Protection actions may be
        needed within 5 years”. It was estimated, in 2009, that current stresses may reduce the viability of
        the elements in the PCA within 5 years. Winiger Gulch was also assigned a Management Urgency of
        “M2”, meaning that “new management actions may be needed within 5 years to prevent the loss of
        the element occurrences within the PCA”. These rankings were based on the anticipated Gross Dam
        expansion, and potential recreation impacts.




               Figure 1. CNHP-designated Winiger Gulch High Biodiversity Area (B3), High Biodiversity
                                                  Significance.
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             2. Winiger Gulch Targeted Inventory Areas – requires assessment of significant natural
                 resources
        CNHP designates Targeted Inventory Areas (TIAs) at locations likely to have a high probability of
        harboring significant biological resources. There are six (6) TIAs located nearby to Gross Reservoir.
        Three TIAs are located along the western region of Gross Reservoir, and two of these have not been
        visited. An Upland Ecology TIA along Winiger gulch, and a Wetland Ecology TIA along South Boulder
        Creek remain to be assessed.

        These TIAs are areas having the highest potential for supporting rare or imperiled species or significant
        plant communities, and are the largest, least fragmented, and relatively free of visible disturbances
        such as roads, trails, fences, and quarries. CNHP had limited time, and other constraints, to complete
        the assessment of these TIAs at Gross Reservoir. Therefore, CNHP recommended, and staff request,
        that subsequent surveys be made in Boulder County to assess and verify the resources at these TIAs,
        especially at these sites which have a known and high degree of imperilment.




                         Figure 2. CNHP-designated Targeted Inventory Areas (CNHP, 2009).
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             3. Winiger Ridge Environmental Conservation Area #6, Wildlife Migration Corridor #95, and
                Natural Landmark #26
        The Environmental Resource Element of the Boulder County Comprehensive Plan establishes
        Environmental Conservation Areas (ECA), Critical Wildlife Habitats (CWH) and Migration Corridors,
        and Natural Landmarks as critical planning tools for preserving native species and natural ecosystems
        and for protecting scenic resources for the citizens of Boulder County. ECAs are large and less
        developed areas of the County that possess a high degree of naturalness, high quality or unique
        landscape features, and have significant restoration potential. They remain our best planning tool to
        address landscape and habitat fragmentation. Wildlife Migration Corridors are Critical Wildlife
        Habitats that preserve vital habitat that is required to complete the life cycle of migrating species.
        Natural Landmarks are a landscape feature designated solely for its visual and scenic prominence that
        distinguishes a specific locality in Boulder County.

        The Winiger Ridge ECA #6 contains the Winiger Ridge CWH #95, Winiger Ridge Natural Landmark #26,
        and the Winiger Gulch CNHP-PCA. Impacts associated with the Gross Dam expansion will directly
        impact the quality and uniqueness of each of these important conservation areas. The extensive
        inundation of Forsythe Canyon and Winiger Gulch will significantly impact the elk migration corridor
        and force animals to traverse closer to developed areas near county road 68 and more high-use
        recreation areas along FSR 359, and perhaps the use of less-optimal migration habitat. The associated
        disturbance with this project will be a serious impact to the health of the migrating elk and
        overwintering elk herd for the duration of the project. Overwintering elk are already stressed, so it is
        vital that the project consider impacts and mitigations.

        The tree cutting and removal methods associated with the Gross Dam expansion will require the
        development of haul roads and skid roads. These roads, unless fully mitigated by long-term,
        monitored reclamation, will increase fragmentation in an area that is currently relatively undisturbed.

        The aspiration of the Winiger Ridge ECA #6 is to limit or reverse habitat fragmentation and allow free
        movement of wildlife. The effective core preserve of this ECA is jeopardized by the scope and
        magnitude of the Gross Dam expansion project.

        Recommended Mitigations:

        As the Winiger Gulch PCA is currently relatively undisturbed, Boulder County requests that recreation
        remains an emphasis on the east side of Gross Reservoir and is not emphasized on the west side.
        Although the west side of Gross Reservoir is open to the public, it currently has limited recreation
        occurring. The concern with the addition of several skid roads and haul routes associated with the
        tree removals is that these temporary roads often lead to the development of social trails and more
        access. If recreation increases due to the implementation of the Gross Dam expansion, the habitat
        values for wildlife such as elk will decrease and will lead to an amplification of impacts over time.
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                      Figure 3. BCCP-ERE designated “Winiger Ridge” ECA #6 (BCCP, 2013).




          Figure 4. BCCP-ERE designated “Winiger Ridge Elk Herd” CWH-Migration Corridor (BCCP, 2013).
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                  Figure 5. BCCP-ERE designated “Winiger Ridge” Natural Landmark (BCCP, 2013).



            4. Fish stocking in Gross Reservoir
        The 1041 application materials noted that “additional fish species” may be established at Gross
        Reservoir after completion of expansion. Staff requests that no “new” gamefish species be added to
        those already established. This is in keeping with the South Boulder Creek mitigation and stream
        restoration for native fish. Introduced game fish are the primary threat, along with low minimum
        stream flows, to the survival of state-listed native fish species. Escapement downstream, and
        migration upstream, of these newly introduced species of non-native game fish will only serve to
        exacerbate the threats to native fish of county and state concern.

             5. Assurance of Mitigations
        As there is no enforcement condition as part of many of the proposed mitigations, the County would
        like to see a mechanism that ensures progress and implementation of the variety of mitigation
        measures and enhancement agreements. This could be implemented as a monitoring and reporting
        agreement showing progress towards establishment, spending and completion of the variety of
        restoration and mitigation progress as agreed to in this 1041 application. Land in Boulder County is
        being impacted directly by this development, and so, it is in the county interest to know that the
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        variety of resource mitigations both within and outside of Boulder County are on track to be
        completed.

        Boulder County Land Use Department. 2013. Boulder County Comprehensive Plan, Environmental
        Resource Element. Land Use Department, Boulder, CO. https://www.bouldercounty.org/property-
        and-land/land-use/planning/boulder-county-comprehensive-plan/update/environmental-resources-
        element/ (Accessed 11/10/2020).

        Neid, S., J. Lemly, K. Decker and D. Culver. 2009. Final Report: Survey of Critical Biological Resources
        in Boulder County 2007-2008. Colorado Natural Heritage Program, Fort Collins,
        CO.https://cnhp.colostate.edu/wp-
        content/uploads/download/documents/2009/BoulderCoReportFINAL_6-26-2009.pdf                      Accessed
        11/10/2020).

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        Attachment 4. Boulder County Plant Ecology Review of Plant Species of Concern and Significant
        Natural Communities

        Plant Ecology staff reviewed Exhibit 18 of the 1041, (Boulder County Plant Species of Interest Boulder
        County Rare Plant Species and Significant Natural Communities Species of Special Concern List), with
        a focus on species and communities that may be present on within the project site. Denver Water
        ranked each of these species and communities with a likelihood to occur of 1 to 5. One being ‘not
        present’ and a five noting ‘known or likely to occur; key habitat features present’. In general we
        agreed with much of their assessment, though we did make some slight upward changes for a few
        species and communities, utilizing internal data from vegetation mapping, herbarium records via
        SEINnet, and I-Naturalist observations.

        The majority of those shifts were slight, just one rank upward. A shift from 1 to 2 (not present to
        unlikely) would not require any further assessment, whereas a shift from 2 to 3 (unlikely to
        potentially present) or a 3 to 4 (potentially present to known or likely to occur) may require some
        further assessment. A species or community ranked 4 or a 5 seem to be fairly synonymous as
        known or very likely to occur and are not included for further assessment.

        Per our assessment, ten species shifted from a 2 to 3 or a 3 to 4. They include:



                                                                                CNHP           CNHP       Potential for
                   State Scientific Name            State Common Name           Global         State    Occurrence in the   POS Rank
                                                                                Rank*         Rank*    Project Area**


          Botrychium virginianum (Botrypus          Rattlesnake fern                G5          S1             2               3
          virginianus ssp.
          europaeus )
          Calypso bulbosa                           fairy slipper orchid            G5                       3               4

          Carex oreocharis                          grassyslope sedge               G3          S1             2               3

          Carex torreyi                             Torrey sedge                    G4          S1             2               3
          Lilium philadelphicum                     wood lily                       G5         S3S4            2               3
          Malaxis brachypoda (M. monophyllos ssp.   white adder mouth               G4Q         S1             2               3
          brachypoda )                              orchid
          Piperia unalascensis                      slender-spire orchid                                  2               3
          Potentilla ambigens                       silkyleaf cinquefoil            G3         S1S2            2               3

          Pyrola picta                              whiteveined                 G4G5           S3S4            2               3
                                                    wintergreen, pictureleaf
                                                    wintergreen
          Selaginella weatherbiana                  Weatherby feets Spike-      G3G4           S3S4            3               4
                                                    moss



        Many of these species have records of occurrence within OSMP lands east of the project area,
        including three species found on Green Mountain. That location is well known to harbor unusual
        and relict plant species and provides habitat that may not be wholly present within the project area.
        However, due to its proximity to the project area, those species, and others found at similar
        elevations in Jefferson or Boulder County deserve a “potential to occur” ranking of 3.
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        Two of those species increased from a 3 to a 4 ranking, including Calypso bulbosa, which has been
        seen within the project area by a BCPOS plant ecologist, though perhaps above the new proposed
        water level, and Selaginella weatherbiana, which has multiple collection records south of the project
        area in Jefferson County and would appear to have appropriate habitat.

        It is noted that the 1041 application includes an assessment of Other Special Status Plant Species
        (Table 51; 1041 Application). That list includes USFS Region 2 sensitive species, ARNF plant species
        of local concern, and CNHP-listed species. However, this list is missing 32 of the species listed on the
        County’s list in Exhibit 18, including many that do have a CNHP ranking. It does not appear if any of
        these 32 species were formally assessed or surveyed for within the project area as perhaps those
        within Table 51 were. Of those 32 species, 13 could possibly occur (ranking 3 or more) within the
        project site, including:

          Argyrochosma fendleri                      )HQGOHUIHHWVIDOVHFORDNIHUQ    *6
          Astragalus sparsiflorus                    )URQWUDQJHPLONYHWFK             *"6"
          Calypso bulbosa                            )DLU\VOLSSHURUFKLG              *
          Carex oreocharis                           *UDVV\VORSHVHGJH                 *6
          Carex saximontana                          5RFN\0RXQWDLQ6HGJH              *6
          Mirabilis linearis                         1DUURZOHDIIRXURFORFN            *6
          Packera pseudaurea var. flavula            )DOVHJROGJURXQGVHO               *77615
          Pediocactus simpsonii                      0RXQWDLQEDOOFDFWXV              *
          Phacelia denticulata                       5RFN\0RXQWDLQSKDFHOLD           *615
          Potentilla ambigens                        6LON\OHDIFLQTXHIRLO              *66
          Selaginella weatherbiana                   :HDWKHUE\IHHWVVSLNHPRVV        **66
          Sidalcea neomexicana                       6DOWVSULQJFKHFNHUEORRP         *"615
          Smilax lasioneura                          %OXHULGJHFDUULRQIORZHU          *66

        The Sidalcea neomexicana, for example, was noted to be present along South Boulder Creek, below
        the dam, within sample point SBC-1 (FEIS, 3-316). Despite having no State ranking and a global rank
        of G4 (secure), this species and the others, if present could be included as part of the proposed
        relocation plan to be developed with USFS, or a separate similar plan developed with BCPOS.

        CNHP has updated some of the species rankings above since the last update to the Boulder County
        list of species of concern. Some, such as Mirabilis linearis and Packera pseudaurea are no longer on
        the list. Others, such as Calypso bulbosa and Pediocactus simpsonii are also no longer on the CNHP
        list, but are of continued concern to Boulder County, namely due to threats from illegal collection.
        Of the seven USFS sensitive species included in the proposed relocation plan only one is tracked by
        CNHP (Carex sprengelii G5/S2), highlighting the fact that inclusion on the current CNHP, list is not
        the only criteria given to the species of concern.

        In all, 14 species of ARNF sensitive plant species were found in the project area (8 flowering plants
        and 6 fern species) all of which were associated with riparian areas and associated lower slopes of
        Winiger and Forsythe Gulch and other tributaries, highlighting the importance of those riparian
        habitats.

        Additionally, as widely discussed there are significant vegetative communities present on the site,
        particularly in the Winiger Gulch PCA, which the application acknowledges “supports a good
        (B-ranked) occurrence of a globally rare (G3/S3) thinleaf alder (Alnus incana) / mesic
        forb community, an excellent (A-ranked) occurrence of the state rare (G5?/S2S3)
        Sprengel's sedge (Carex sprengelii) and a good (B-ranked) occurrence of a state rare
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        (G4?/S2) Betula occidentalis / Maianthemum stellatum riparian shrubland.” Unlike other wetland
        communities that may be able to re-establish along a new high water elevation, depending on the
        topography present at that line, these riparian communities will not be able to move up in elevation,
        due to the fact that that landscape is already occupied and may preclude establishment of the
        community of species impacted.

        Additional state rare communities likely exist on site in the uplands, and are denoted as such with an
        occurrence ranking of 4, such as the G3/S3 ranked Pinus ponderosa/Leucopoa kingii woodland,
        which is present on nearby Walker Ranch, and the State imperiled G4G5/S2 Pinus
        ponderosa/Muhlenbergia montana woodland. The FEIS, Chapter 3, mentions Ponderosa pine with
        an understory of grasses, including mountain muhly (Muhlenbergia montana), which may correlate
        to the latter community. It does not appear that these communities, which could potentially occupy
        a significant amount of acres are mitigated in any way other than the Toll property acquisition.

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                                Parks & Open Space Advisory Committee
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  Approval of the August 27, 2020 Meeting Minutes
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  Presentations

  Study Session on Gross Reservoir & Dam Expansion Docket SI-20-000
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  Open Space-Related Midterm Updates to the Boulder Valley Comprehensive Plan
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  Director's Update

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        Community Planning & Permitting
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                                                 Wildfire Mitigation Team

                                                           MEMO

        TO:               Summer Frederick, AICP, Planning Division Manager
        FROM:             Kyle McCatty, Wildfire Mitigation Specialist
        DATE:             December 10, 2020
        RE:               Referral for SI-20-0003, Gross Reservoir & Dam Expansion project at 3817 Gross
                          Dam Road, at parcel 157928000006

        Thank you for the referral. We have the following comments for the applicants:

        Decades of catastrophic wildfires, research, and case studies have shown that extreme wildfires are
        inevitable in the forests of Boulder County and across the Western US, but loss of life and property
        does not have to be inevitable. The conditions that principally determine if a structure ignites occur
        within 100 feet of the structure, including the structure itself. That is why Boulder County has such
        strong wildfire mitigation requirements in our Land Use and Building Code, and why Boulder
        County encourages all property owners to voluntarily take responsibility to mitigate their own
        home and/or structure’s risk of igniting in a wildfire through Wildfire Partners.

        The biggest risk to loss of life and property in a wildfire is the increase and intensity of activity that
        could start a wildfire. As such, all regulations involving fire prevention, including following Fire Bans,
        must be followed. Also, all existing and new structures on Denver Water property, or on National
        Forest Service land and used by Denver Water for this project, will need to have a Wildfire Partners
        certificate. All roads on Denver Water property, or on National Forest Service land and used by
        Denver Water for this project, the forest must be thinned within at least 30 feet of either side of
        the roads for safer ingress/egress according to the Colorado State Forest Service publication
        Protecting Your Home from Wildfire: Creating Wildfire-Defensible Zones – 2012 Quick Guide
        (strongly recommend using Fuelbreak Guidelines for Forested Subdivisions & Communities, but
        that would require the forest to be thinned approximately 150 feet on either side of the road).

        Timeline

        After applying for, but prior to issuance of any permits associated with this project, a Boulder
        County Wildfire Mitigation Specialist will contact you to schedule a Wildfire Partners assessment
        and defensible space marking.

        Before scheduling rough framing inspections, the defensible space of the plan must be
        implemented and inspected. All trees marked for removal must be cut and all slash, cuttings, and
        debris must be removed and/or properly disposed.

        At the time of final inspection, all remaining required items in the Wildfire Partners Assessment
        report are to be fully implemented and inspected. Ground surfaces within three feet of both
        existing and new structures, and at least 2 feet beyond the driplines of decks, bay windows, and
        other eaves and overhangs, must be covered with an allowable non-combustible ground cover over
        a weed barrier material.
        Deb Gardner&RXQW\&RPPLVVLRQHUElise Jones&RXQW\&RPPLVVLRQHUMatt Jones&RXQW\&RPPLVVLRQHU
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        If the applicants should have questions or need additional information, we’d be happy to work with
        them toward solutions that meet minimum land use and building code requirements. I can be
        reached at 720.564.2625 or via e-mail at kmccatty@bouledercounty.org.
